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                        Exhibit A

                      Proposed Order
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                 Chapter 11

    BOY SCOUTS OF AMERICA AND                              Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                           (Jointly Administered)
                           Debtors.


    BOY SCOUTS OF AMERICA,

                           Plaintiff,                      Adv. Pro. No. 20-50527 (LSS)

                v.
                                                           Re: Adv. Docket Nos. 54, 72, 77, __
                 2
    A.A., et al.,

                            Defendants.


    ORDER APPROVING THIRD STIPULATION BY AND AMONG THE BOY SCOUTS
     OF AMERICA, THE OFFICIAL COMMITTEE OF SURVIVORS OF ABUSE, AND
     THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS MODIFYING THE
      CONSENT ORDER GRANTING THE BSA’S MOTION FOR A PRELIMINARY
       INJUNCTION PURSUANT TO 11 U.S.C. §§ 105(A) AND 362 AND FURTHER
       EXTENDING THE TERMINATION DATE OF THE STANDSTILL PERIOD

             This Court having considered the Third Stipulation By and Among the Boy Scouts of

America, the Official Committee of Survivors of Abuse, and the Official Committee of Unsecured

Creditors Modifying the Consent Order Granting the BSA’s Motion for a Preliminary Injunction

Pursuant to 11 U.S.C. §§ 105(A) and 362 and Further Extending the Termination Date of the



1
 The Debtors in the chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
2
  A full list of the Defendants in this adversary proceeding was included in redacted form on Exhibit A to the BSA’s
Verified Complaint for Injunctive Relief [Adv. Docket No. 1] to protect the privacy interests of abuse victims. A
revised proposed redacted version of the Complaint and Exhibit A thereto was filed on or about February 26, 2020
[Adv. Docket No. 14-1]. An unredacted version of the Complaint and Exhibit A thereto have been served on each
Defendant’s counsel.
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Standstill Period (the “Third Stipulation”),3 a copy of which is attached hereto Exhibit 1, and

upon the record of this case and due deliberation thereon, and good and sufficient cause

appearing therefor,

        IT IS HEREBY ORDERED that:

        1.       The Third Stipulation is approved, and the terms and conditions of the Third

Stipulation are incorporated in this Order as if fully set forth herein.

        2.       The Debtors, the TCC and the UCC are authorized to take all actions necessary or

desirable to effectuate the relief granted pursuant to, and in accordance with, this Order and the

Third Stipulation.

        3.       The terms and conditions of this Order and the Third Stipulation shall be

immediately effective and enforceable upon entry of this Order.

        4.       This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation and enforcement of this Order and/or the Third

Stipulation.




3
 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
Third Stipulation.
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                         Exhibit 1

                     Third Stipulation
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                 Chapter 11

    BOY SCOUTS OF AMERICA AND                              Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                           (Jointly Administered)
                            Debtors.


    BOY SCOUTS OF AMERICA,

                            Plaintiff,                     Adv. Pro. No. 20-50527 (LSS)

                v.
                                                           Re: Adv. Docket Nos. 54, 72, 77
                  2
    A.A., et al.,

                            Defendants.


   THIRD STIPULATION BY AND AMONG THE BOY SCOUTS OF AMERICA,
 THE OFFICIAL COMMITTEE OF SURVIVORS OF ABUSE, AND THE OFFICIAL
COMMITTEE OF UNSECURED CREDITORS MODIFYING THE CONSENT ORDER
GRANTING THE BSA’S MOTION FOR A PRELIMINARY INJUNCTION PURSUANT
      TO 11 U.S.C. §§ 105(A) AND 362 AND FURTHER EXTENDING THE
           TERMINATION DATE OF THE STANDSTILL PERIOD

             This third stipulation (this “Third Stipulation”) modifying certain terms of the Consent

Order Pursuant to 11 U.S.C. §§ 105(a) and 362 Granting the BSA’s Motion for a Preliminary

Injunction [Adv. Docket No. 54] (the “Consent Order”)3 and further extending the Termination


1
 The Debtors in the chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
2
  A full list of the Defendants in this adversary proceeding was included in redacted form on Exhibit A to the BSA’s
Verified Complaint for Injunctive Relief [Adv. Docket No. 1] to protect the privacy interests of abuse victims. A
revised proposed redacted version of the Complaint and Exhibit A thereto was filed on or about February 26, 2020
[Adv. Docket No. 14-1]. An unredacted version of the Complaint and Exhibit A thereto have been served on each
Defendant’s counsel.
3
  Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in Consent
Order or the Motion for a Preliminary Injunction Pursuant to Sections 105(a) and 362 of the Bankruptcy Code
[Adv. Docket No. 6], as applicable.
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Date of the Standstill Period thereunder is made and entered into by and among the Boy Scouts

of America (the “BSA”), the non-profit corporation that is, along with its affiliate, Delaware

BSA, LLC, a debtor and debtor in possession in the above-captioned chapter 11 cases, the

official committee of survivors of abuse (the “TCC”), and the official committee of unsecured

creditors (the “UCC” and, together with the TCC, the “Committees”), by and through their

respective undersigned counsel.

                                           RECITALS

       WHEREAS, on March 30, 2020, after notice and a hearing, the Bankruptcy Court entered

the Consent Order.

       WHEREAS, the Consent Order stayed, up to and including May 18, 2020 (the

“Termination Date”), each of the Pending Abuse Actions and Further Abuse Actions identified

on Schedule 1 to the Consent Order with respect to the BSA Related Parties identified on

Schedule 2 to the Consent Order. The time period from the Petition Date to and including the

Termination Date, as extended from time to time, is referred to as the “Standstill Period.”

       WHEREAS, on May 18, 2020, the Bankruptcy Court entered the Stipulation and Agreed

Order By and Among the Boy Scouts of America, the Official Committee of Survivors of Abuse,

and the Official Committee of Unsecured Creditors Extending the Termination Date of the

Standstill Period Under the Consent Order Granting the BSA’s Motion for a Preliminary

Injunction Pursuant to 11 U.S.C. §§ 105(a) and 362 [Adv. Docket No. 72], which extended the

Termination Date of the Standstill Period up to and including June 8, 2020.

       WHEREAS, on June 9, 2020, the Bankruptcy Court entered the Second Stipulation and

Agreed Order By and Among the Boy Scouts of America, the Official Committee of Survivors of

Abuse, and the Official Committee of Unsecured Creditors Modifying the Consent Order




                                                2
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Granting the BSA’s Motion for a Preliminary Injunction Pursuant to 11 U.S.C. §§ 105(A) and

362 and Further Extending the Termination Date of the Standstill Period [Adv. Docket No. 77]

(the “Second Stipulation and Agreed Order”), which extended the Termination Date of the

Standstill Period up to and including November 16, 2020.

       WHEREAS, the Second Stipulation and Agreed Order deleted Paragraph 12 of the

Consent Order and replaced it with the following provision pertaining to the procedures for

obtaining further extensions of the Termination Date of the Standstill Period:

       The Termination Date may be extended by either (1) mutual agreement among the
       BSA, the UCC and the TCC, which shall be memorialized in a stipulation filed
       with the Court (an “Extension Notice”); or (2) motion filed by the BSA (an
       “Extension Motion”), which, in either case, shall be filed no later than twenty-five
       (25) days prior to the Termination Date and served on plaintiffs to Pending Abuse
       Actions or, as the case may be, Further Abuse Actions (through their counsel of
       record in any such Pending Abuse Action or Further Abuse Action) and any other
       party served with notice thereof. Any plaintiff in a Pending Abuse Action or
       Further Abuse Action may object to such extension of the Termination Date as to
       such plaintiff’s Pending Abuse Action or Further Abuse Action by filing with the
       Bankruptcy Court, within fourteen (14) days of the date of an Extension Notice or
       Extension Motion, an objection setting forth the basis for its objection (an
       “Extension Objection”). An Objecting Party shall serve any Extension Objection
       on the undersigned counsel to the TCC, the UCC and the BSA, and counsel to any
       affected BSA Related Party or Additional BSA Related Party or their counsel of
       record. No more than seven (7) days following the deadline by which Extension
       Objections must be filed, the BSA, the UCC, the TCC, and Local Council
       Committee shall be authorized to file a single omnibus reply to any Extension
       Objections filed with the Bankruptcy Court. Notwithstanding the filing of an
       Extension Objection by any plaintiff, the Termination Date shall be extended as to
       any plaintiff who does not object to the Extension Notice.

       WHEREAS, on April 30, 2020, July 2, 2020, August 7, 2020, September 11, 2020, and

October 13, 2020, pursuant to Paragraph 11 of the Consent Order, the BSA filed further amended

versions of Schedule 1 to the Consent Order identifying the then-current Pending Abuse Actions

and Further Abuse Actions. See Adv. Docket Nos. 68, 81, 91, 96.




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       WHEREAS, on August 7, 2020 and September 25, 2020, pursuant to Paragraph 10 of the

Consent Order, the BSA filed further amended versions of Schedule 2 to the Consent Order

identifying the then-current BSA Related Parties. See Adv. Docket Nos. 92, 97.

       WHEREAS, the BSA must continue to protect the estates from sales and transfers of

assets by Local Councils in derogation of any contingent and/or reversionary interest of the BSA

in those assets as set forth in Article VI of the Bylaws of the Boy Scouts of America, as amended

through June 2020, and any other means by which Local Council assets could become property

of the BSA’s bankruptcy estate.

       WHEREAS, the TCC has filed the Motion of the Official Tort Claimants’ Committee

Pursuant to Bankruptcy Rule 2004 and Local Rule 2004-1 for an Order Authorizing the Issuance

of Subpoenas for Discovery from Debtors and Certain Local Councils, Case No. 20-10343 (LSS)

(Bankr. D. Del. June 9, 2020) [Docket No. 1379] (the “Rule 2004 Motion”), which requests

responses from the BSA and certain Local Councils to certain documents requests and

interrogatories.

       WHEREAS, the Ad Hoc Committee of Local Councils of the Boy Scouts of America

(the “Ad Hoc Committee”) has asked each Local Council to conduct a reasonable search for

evidence of potentially applicable insurance coverage and provide additional information to the

BSA regarding its restricted assets, as set forth in that certain letter dated October 6, 2020 from

Richard G. Mason, Chair of the Ad Hoc Committee, to each Local Council, a true and correct

copy of which is attached hereto as Exhibit 1 (the “October 6 Letter”).

       WHEREAS, the BSA and the Committees wish to extend the Termination Date of the

Standstill Period on the terms set forth herein.




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       NOW THEREFORE, THE PARTIES, BY AND THROUGH THEIR RESPECTIVE

UNDERSIGNED         COUNSEL,       HEREBY      STIPULATE       AND     AGREE,      AND     THE

BANKRUPTCY COURT HEREBY ORDERS, AS FOLLOWS:

       1.      Effectiveness. This Third Stipulation shall become effective upon execution by

counsel for each of the BSA, the TCC, and the UCC and entry of an order of the Bankruptcy

Court approving this Third Stipulation, and every term hereof shall be effective as if expressly

set forth in the Consent Order.

       2.      Extension Notice.    This Third Stipulation constitutes the Extension Notice

contemplated by Paragraph 12 of the Consent Order, as modified by Paragraph 8 of the Second

Stipulation and Agreed Order, by which the BSA, the TCC and the UCC may agree to extend the

Termination Date of the Standstill Period.

       3.      Extension of Termination Date of Standstill Period. In accordance with the terms

of the Consent Order, as modified by the Second Stipulation and Agreed Order and this Third

Stipulation, and without prejudice to future requests for further extensions of the Termination

Date of the Standstill Period consistent with the terms thereof, the Pending Abuse Actions and

the Further Abuse Actions identified on Schedule 1 attached hereto (as such schedule may be

further amended from time to time) are hereby stayed as to the BSA Related Parties identified on

Schedule 2 attached hereto (as such schedule may be further amended from time to time) up to

and including March 19, 2021 (the “Extended Termination Date”).

       4.      Objections and Replies. Pursuant to Paragraph 12 of the Consent Order, as

modified by Paragraph 8 of the Second Stipulation and Agreed Order, objections, if any, to this

Third Stipulation must be: (a) in writing and served on or before November 5, 2020 at 4:00 p.m.

(prevailing Eastern Time) (the “Objection Deadline”); (b) filed with the Clerk of the




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Bankruptcy Court, 824 N. Market Street, 3rd Floor, Wilmington, Delaware 19801; and (c) served

so as to be received on or before the Objection Deadline by the undersigned counsel to the BSA,

the TCC, and the UCC, and counsel to any affected BSA Related Party or Additional BSA

Related Party or their counsel of record. Reply papers may be filed by November 12, 2020 at

4:00 p.m. (prevailing Eastern Time), and the Bankruptcy Court will hear any such objections at

the omnibus hearing scheduled for November 18, 2020 at 10:00 a.m. (prevailing Eastern Time)

or, if such hearing is rescheduled or adjourned, the next omnibus hearing scheduled in the BSA’s

chapter 11 case.

       5.      Acknowledgment and Agreement. The terms of the form of Acknowledgment

and Agreement, attached to the Second Stipulation and Agreed Order as Exhibit 4, are

incorporated by reference herein and shall continue to apply with full force and effect until the

Extended Termination Date of the Standstill Period.

       6.      Preservation of Rosters. The BSA and the Local Councils shall make diligent and

reasonable efforts to preserve and keep intact all historical troop and camp rosters (as defined in

accordance with the definition in the Rule 2004 Motion and shall include camp rosters

collectively, the “Rosters”) in all locations where they may be found in the manner in which

Rosters were collected or created and filed in the ordinary course of operations. If the BSA or

any Local Council routinely deletes, discards or destroys Rosters, the BSA and any Local

Council shall cease doing so immediately. If the BSA or any Local Council has deleted,

discarded or destroyed any Rosters after the Petition Date, it shall inform counsel to the TCC via

email, copying counsel to the BSA and the Mediators, on or before November 30, 2020.

       7.      Roster Request in Advance of Revival Window Expiration. Notwithstanding

anything to the contrary in the Consent Order, as modified by this Third Stipulation:




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               (a)     If a U.S. state or territory has revived a statute of limitations, claim

presentation deadline, or other time limit that acts as a defense to the filing of a cause of action

for damages relating to sexual conduct or sexual contact (a “Revival Window”) and the Revival

Window will expire before the Extended Termination Date, then the TCC may, as soon as

practicable, provide notice to a Local Council and the BSA via email, copying counsel to the

BSA and the Ad Hoc Committee and the Mediators, of a Roster Request (as defined below).

               (b)     A “Roster Request” is a request by an abuse survivor (or authorized

counsel on behalf of an abuse survivor, provided that counsel represents that he or she has been

retained by the abuse survivor) for a copy of the Rosters maintained by the Local Council

affiliated with the abuse survivor’s Scouting unit or the BSA to the extent the BSA has such

Rosters in its possession, custody or control, solely with respect to the information set forth on

the Rosters that pertains to such abuse survivor, which will include “above the line” information

(i.e., information that is not personally identifiable information with respect to any youth

Scouting participant) and “below the line” information (i.e., personally identifiable information)

only to the extent it specifically relates to the requesting survivor (the “Responsive Rosters”). In

making a Roster Request, the abuse survivor and his or her counsel, if any, shall use best efforts

to provide as much detail as possible to assist the Local Council in locating Responsive Rosters

through a reasonable search as set forth in subparagraph (d) below, including, without limitation,

the geographic location of the Scouting unit, the unit number, the name of the sexual abuser, the

abuser’s position or title within Scouting, the type of Scouting the survivor was involved with,

and/or the name and location of the organization that chartered or sponsored the Scouting unit.

               (c)     To mitigate the administrative burden associated with processing multiple

Roster Requests, the TCC shall use best efforts to collect and consolidate Roster Requests from




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abuse survivors and their counsel before sending such requests to a Local Council in accordance

with subparagraph (a) above.

               (d)    Subject to subparagraph (e) below, the Local Council shall, within twenty-

one (21) days of its receipt of the Roster Request from the TCC, complete a reasonable search

for Responsive Rosters. If the Local Council locates Responsive Rosters, it shall promptly

provide a redacted copy to the TCC (the redaction(s) will protect against the disclosure of any

information that does not pertain to the abuse survivor who submitted the Roster Request). For

the avoidance of doubt, all personally identifiable information that relates to any youth Scouting

participant other than the abuse survivor who submitted the Roster Request listed on the

Responsive Rosters shall be redacted. If there are no Responsive Rosters, the BSA or the Local

Council, as applicable, shall certify to the TCC promptly upon the completion of its reasonable

search that no Responsive Rosters could be located.

               (e)    The BSA or the Local Council to which a Roster Request is directed may

object to a Roster Request on the basis that the information set forth on the Rosters is not

necessary for the abuse survivor to file a Further Abuse Action. If the BSA or the Local Council

wishes to object to the Roster Request, it shall, within five days of receipt, provide a written

objection to the TCC by email, copying the Mediators and counsel to the Ad Hoc Committee,

containing a particularized statement explaining the legal and/or factual reasons why the

information set forth on the Rosters is not necessary for the abuse survivor to file a Further

Abuse Action. If the BSA or the Local Council timely provides a written objection to the Roster

Request in accordance with the immediately preceding sentence, the parties shall promptly meet

and confer in a good-faith effort to resolve the objection and involve the Mediators to the extent

necessary. If after five days the parties are unable to resolve the objection, then the objecting




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party shall promptly file with the Court and serve a written objection, and the matter shall be

scheduled for adjudication by the Court at the next scheduled hearing in these chapter 11 cases,

unless an expedited hearing is sought and obtained by a party.

               (f)     Parties reserve their rights to seek an order for the production of un-

redacted Rosters and to object to such request. If an abuse claim is subject to a claim objection,

a Roster Request shall not prejudice a survivor’s right to seek discovery in connection with the

objection, including, but not limited to, the production of unredacted Roster(s).

       8.      BSA Response to Rule 2004 Discovery. The BSA shall use its best efforts to

(a) conduct a reasonable search and produce Documents that respond to Request Nos. 1 through

5 as set forth on Exhibit C to the Rule 2004 Motion and that are within the BSA’s possession,

custody, or control, and (b) answer Interrogatories 1 and 2 as set forth on Exhibit C to the Rule

2004 Motion. Such production shall be made on a rolling basis with such production to the

Committees to be completed on or before November 16, 2020.

       9.      Ad Hoc Committee Members’ Responses to Rule 2004 Discovery. Each member

of the Ad Hoc Committee shall each use its best efforts to conduct a reasonable search for

evidence of potentially applicable insurance coverage as requested in the October 6 Letter, and

complete the Local Council Asset Chart referenced in the October 6 Letter, and all such

documents and information identified or prepared in response to such efforts (collectively,

“Responsive Documents”) shall be produced and made available to the BSA and the Committees

on or before November 16, 2020.

       10.     Local Councils’ Responses to October 6 Letter. Each Local Council shall (a) use

its best efforts to conduct a reasonable search for evidence of potentially applicable insurance

coverage as requested in the October 6 Letter, (b) complete the Local Council Asset Chart




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referenced in the October 6 Letter, and (c) cause all Responsive Documents to be produced and

made available to the BSA and the Committees on or before November 16, 2020 (subject to a

limited extension of time upon cause shown, which limited extension shall not be unreasonably

withheld by the Committees), together with a certificate attesting to its compliance, in the form

attached hereto as Exhibit 2. If a Local Council (including, for the avoidance of doubt, a

member of the Ad Hoc Committee) locates any Responsive Documents later than November 16,

2020 despite having used its best efforts to conduct a reasonable search for and produce all

Responsive Documents prior to such date, the Local Council’s failure to locate and produce the

later-found Responsive Documents on or before November 16, 2020 shall not impair or

prejudice such Local Council’s ability to use the later-found Responsive Documents in

subsequent litigation, provided that the Local Council produces and makes such Responsive

Documents available within a reasonable time to the BSA and the Committees promptly upon

locating such Responsive Documents so that such parties have sufficient time to review and

respond to such Responsive Documents in connection with any matter they might be used.

       11.     Rule 2004 Motion. The Rule 2004 Motion shall be deemed withdrawn, without

prejudice, upon the effectiveness of this Third Stipulation pursuant to Paragraph 1 hereof.

       12.     Transfers of Local Council Assets. Unless and until the preliminary injunction is

terminated as to a Local Council, no Local Council shall (a) sell, transfer, or encumber any real

or personal property or other assets unless it receives value that is reasonably equivalent to the

value of the property or assets that it sells, transfers, or encumbers or (b) sell, transfer, or

encumber any real or personal property or other assets with actual intent to hinder, delay, or

defraud creditors or the estates (or their creditors). For the avoidance of doubt, the transfer of

property or assets to a trust, foundation, charity or non-profit, or any asset protection or asset




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shielding vehicle for inadequate consideration is expressly prohibited under this provision

without regard to the rationale for such transfer.4 The Local Councils shall make diligent and

reasonable efforts to preserve and keep intact all documents and information relating to any

transfers of real or personal property or other assets made during the pendency of the Debtors’

chapter 11 cases.

        13.      Designation of Assets. Local Councils shall not designate unrestricted assets as

restricted by board resolution or otherwise, including the proceeds from sale of assets.

        14.      Termination of Preliminary Injunction.                  The preliminary injunction shall

terminate automatically upon (a) the filing by the TCC of a notice of termination and

corresponding certification of counsel of a proposed order and entry by the Bankruptcy Court of

an order terminating the preliminary injunction as to any Local Council that violates the

Acknowledgment and Agreement, fails to timely complete the actions required under Paragraphs

5, 6, 7, 9, or 10, or violates the terms of Paragraph 12 or 13 of this Third Stipulation or (b) the

filing by the UCC of a notice of termination and corresponding certification of counsel of a

proposed order and entry by the Bankruptcy Court of an order terminating the preliminary

injunction as to any Local Council that violates the Acknowledgment and Agreement, fails to

timely complete the actions required under Paragraphs 5, 9, or 10, or violates the terms of

Paragraph 12 or 13 of this Third Stipulation; provided, however, that, before filing any such

termination notice and proposed order with the Court, the TCC/UCC will provide five (5)

business days’ notice via email to the Notice Parties (as defined below) and the Mediators and an

opportunity for Local Council to cure such failure. For the avoidance of doubt, the Notice

Parties agree to not object to the TCC’s and/or UCC’s submission of a proposed order under

4
  Notwithstanding anything in this paragraph, nothing herein shall prejudice any party’s right to assert that the
transfer of any assets to any of the entities identified in the foregoing sentence is an actual fraudulent transfer,
without regard to the adequacy or value of consideration provided.


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certification of counsel terminating the preliminary injunction as it relates to any Local Council

in   accordance      with    this     paragraph.        The       “Notice     Parties”     are    (a)        the     BSA

(SE.Legal@scouting.org),            with    a    copy        to    counsel,     Jessica      C.         K.         Boelter

(jessica.boelter@whitecase.com), Michael C. Andolina (mandolina@whitecase.com) and

Matthew      E.     Linder     (mlinder@whitecase.com);               (b)     the     Ad     Hoc         Committee

(Local_Council_Committee@wlrk.com); and (c) the Local Council implicated by the applicable

notice of termination. The TCC shall also provide any notice pursuant to this paragraph to the

UCC, and the UCC shall provide any notice given pursuant to this paragraph to the TCC.

       15.        Immediate Effect.        Notwithstanding Bankruptcy Rule 6004(h), the terms and

conditions of this Third Stipulation are immediately effective and enforceable upon entry of an

order of the Bankruptcy Court approving this Third Stipulation.

       16.        Authorization to File.        The BSA is authorized to file a copy of this Third

Stipulation (including the schedules and exhibits hereto) with any court in which a Pending

Abuse Action or Further Abuse Action is or may hereafter become pending as proof that such

action is stayed and enjoined as set forth herein and in the Consent Order.

       17.        Reservation of Rights. Nothing herein shall be construed to limit or affect any

party’s right to seek appropriate relief from this Court to the extent necessary to respond to any

actions by a court in which a Pending Abuse Action or Further Abuse Action is pending, which,

but for the stay provided herein and in the Consent Order, would require a party to act before the

Extended Termination Date of the Standstill Period.

       18.        Retention of Jurisdiction.       This Court shall retain jurisdiction to hear and

determine all matters arising from or related to the implementation, interpretation and/or

enforcement of this Third Stipulation and the Consent Order.




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       19.     Headings. Headings of the decretal paragraphs of this Third Stipulation have

been inserted for convenience of reference only and are not intended to be a part of or to affect

the interpretation of Third Stipulation.

       20.     Filing with Clerk. This Third Stipulation shall be promptly filed in the clerk’s

office and entered into the record.



                           [Remainder of Page Intentionally Left Blank]




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CONSENTED TO BY:

WHITE & CASE LLP                                      PACHULSKI STANG ZIEHL & JONES LLP
Jessica C. K. Boelter (admitted pro hac vice)         /s/ James E. O’Neill
1221 Avenue of the Americas                           James I. Stang (admitted pro hac vice)
New York, New York 10020                              Robert B. Orgel (admitted pro hac vice)
Telephone: (212) 819-8200                             John A. Morris (admitted pro hac vice)
Email: jessica.boelter@whitecase.com                  James E. O’Neill (No. 4042)
                                                      John W. Lucas (admitted pro hac vice)
– and –                                               919 N. Market Street, 17th Floor
                                                      P.O. Box 8705
WHITE & CASE LLP                                      Wilmington, DE 1999-8705 (Courier 19801)
Michael C. Andolina (admitted pro hac vice)           Telephone: (302) 652-4100
Matthew E. Linder (admitted pro hac vice)             Facsimile: (302) 652-4400
111 South Wacker Drive                                Email: jstang@pszjlaw.com
Chicago, Illinois 60606                                       rorgel@pszjlaw.com
Telephone: (212) 881-5400                                     jmorris@pszjlaw.com
Email: mandolina@whitecase.com                                joneill@pszjlaw.com
       mlinder@whitecase.com                                  jlucas@pszjlaw.com

– and –                                               Attorneys for the Official Tort Claimants’ Committee

MORRIS, NICHOLS, ARSHT & TUNNELL LLP                  REED SMITH LLP
                                                      /s/ Kurt F. Gwynne
 /s/ Derek C. Abbott                                  Kurt F. Gwynne (No. 3951)
Derek C. Abbott (No. 3376)                            Katelin A. Morales (No. 6683)
Andrew R. Remming (No. 5120)                          1201 North Market Street, Suite 1500
Eric W. Moats (No. 6441)                              Wilmington, DE 19801
Paige N. Topper (No. 6470)                            Telephone: (302) 778-7500
1201 North Market Street, 16th Floor                  Facsimile: (302) 778-7575
P.O. Box 1347                                         Email: kgwynne@reedsmith.com
Wilmington, Delaware 19899-1347                               kmorales@reedsmith.com
Telephone: (302) 658-9200
Email: dabbott@mnat.com                               – and –
         aremming@mnat.com
                                                      KRAMER LEVIN NAFTALIS
         emoats@mnat.com
                                                      & FRANKEL LLP
         ptopper@mnat.com
                                                      Thomas Moers Mayer, Esquire
                                                      Rachael Ringer, Esquire
Counsel and Proposed Co-Counsel to the
                                                      Jennifer Sharret, Esquire
Boy Scouts of America
                                                      Megan Wasson, Esquire
                                                      1177 Avenue of the Americas
                                                      New York, NY 10036
                                                      Telephone: (212) 715-9100
                                                      Facsimile: (212) 715-8000
                                                      Email: tmayer@kramerlevin.com
                                                               rringer@kramerlevin.com
                                                               dblabey@kramerlevin.com
                                                               jsharret@kramerlevin.com
                                                               mwasson@kramerlevin.com

                                                      Attorneys for the Official Committee of Unsecured
                                                      Creditors



                                                 14
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                    Amended Schedule 1
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    Schedule 1
    Pending Abuse Actions


                                     Underlying Plaintiff(s)
          Non-Debtor Defendants(s)   (last, first)             Case Caption                            Case Number         Court or Agency
1         Quapaw Area Council        [Redacted]                [Redacted] v. Boy Scouts of America,    4:20-cv-159         United States
          Incorporated of the Boy                              and Quapaw Area Council Incorporated                        District Court for
          Scouts of America                                    of the Boy Scouts of America                                the Eastern District
                                                                                                                           of Arkansas,
                                                                                                                           Central Division
2         Quapaw Area Council        [Redacted]                [Redacted] v. Boy Scouts of America,    5:20-cv-05034-TLB   United States
          Incorporated of the Boy                              and Quapaw Area Council Incorporated                        District Court for
          Scouts of America                                    of the Boy Scouts of America                                the Western
                                                                                                                           District of
                                                                                                                           Arkansas,
                                                                                                                           Fayetteville
                                                                                                                           Division
3         Greater Los Angeles Area   John Doe 1                JOHN DOE 1, an individual v. BOY        2:20-cv-01551       United States
          Council; Does 1 through                              SCOUTS OF AMERICA; BOY                                      District Court for
          100                                                  SCOUTS OF AMERICA GREATER                                   the Central District
                                                               LOS ANGELES AREA COUNCIL, and                               of California,
                                                               DOES 1 through 100                                          Western Division
4         DOE DEFENDANT 1;           [Redacted]                [Redacted] v. DOE DEFENDANT 1;          30-2020-01122410-   Superior Court of
          DOE DEFENDANT 2;                                     DOE DEFENDANT 2; DOES 3                 CU-PO-CJC           the State of
          DOES 3 THROUGH 10                                    THROUGH 10, INCLUSIVE                                       California, County
                                                                                                                           of Orange
5         DOE DEFENDANT 1;           [Redacted]                [Redacted] v. DOE DEFENDANT 1;          37-2020-00000007-   Superior Court of
          DOE DEFENDANT 2;                                     DOE DEFENDANT 2; DOES 3                 CU-PO-CTL           the State of
          DOES 3 THROUGH 10                                    THROUGH 10, INCLUSIVE                                       California, County
                                                                                                                           of San Diego,
                                                                                                                           Central District
6         California Inland Empire   John Doe; [Redacted].     JOHN DOE, a minor, an individually      5:20-cv-00314       United States
          Council; Does 1 through                              and by his Guardian Ad Litem,                               District Court for
          100                                                  [Redacted] v. BOY SCOUTS OF                                 the Central District
                                                               AMERICA; BOY SCOUTS OF
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                                     Underlying Plaintiff(s)
     Non-Debtor Defendants(s)        (last, first)              Case Caption                              Case Number      Court or Agency
                                                                AMERICA, CALIFORNIA INLAND                                 of California,
                                                                EMPIRE COUNCIL, and DOES 1                                 Eastern Division
                                                                through 100
7    Silicon Valley Monterey         [Redacted]                 [Redacted] v. Boy Scouts of America;      5:20-cv-1202     United States
     Bay Council, Inc.; Learning                                Silicon Valley Monterey Bay Council;                       District Court for
     for Life, Inc.; Does 7-100                                 Learning for Life, Inc.; Joseph Alvarado;                  the Northern
                                                                and Does 7-100                                             District of
                                                                                                                           California
81   Town of Trumbull;               Jane Doe                   JANE DOE v. TOWN OF                       20-05004 (JAM)   United States
     Learning for Life, Inc.;                                   TRUMBULL; LEARNING FOR LIFE                                Bankruptcy Court
     William Ruscoe; Thomas                                     INC.; BOY SCOUTS OF AMERICA                                for the District of
     Kiely; Timothy Fedor                                       CORPORATION; WILLIAM                                       Connecticut
                                                                RUSCOE; THOMAS KIELY;
                                                                TIMOTHY FEDOR
9    Fairfield County Council of John Doe #1; John Doe          JOHN DOE #1; JOHN DOE #2; JOHN            20-05005 (JAM)   United States
     Boy Scouts of America,       #2; John Doe #3; John         DOE #3; JOHN DOE #4 v. BOY                                 Bankruptcy Court
     Inc.; Connecticut Yankee     Doe #4                        SCOUTS OF AMERICA                                          for the District of
     Council, Inc., Boy Scouts of                               CORPORATION; FAIRFIELD                                     Connecticut
     America                                                    COUNTY COUNCIL OF BOY
                                                                SCOUTS OF AMERICA, INC.;
                                                                CONNECTICUT YANKEE COUNCIL,
                                                                INC., BOY SCOUTS OF AMERICA
10   Fairfield County Council of [Redacted]                     [Redacted] v. FAIRFIELD COUNTY            20-05006         United States
     Boy Scouts of America,                                     COUNCIL OF BOY SCOUTS OF                                   Bankruptcy Court
     Inc.; Connecticut Yankee                                   AMERICA, INC., CONNECTICUT                                 for the District of
     Council, Inc., Boy Scouts of                               YANKEE COUNCIL, INC., BOY                                  Connecticut
     America                                                    SCOUTS OF AMERICA and BOY
                                                                SCOUTS OF AMERICA
                                                                CORPORATION
11   Connecticut Rivers Council,     [Redacted]                 [Redacted] v. CONNECTICUT                 20-02004         United States
     Inc., Boy Scouts of                                        RIVERS COUNCIL, INC., BOY                                  Bankruptcy Court
     America                                                    SCOUTS OF AMERICA, and BOY

      1
          Pending Abuse Action 8 is stayed only with respect to non-debtor Defendant Learning for Life.
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                                    Underlying Plaintiff(s)
     Non-Debtor Defendants(s)       (last, first)             Case Caption                                Case Number      Court or Agency
                                                              SCOUTS OF AMERICA                                            for the District of
                                                              CORPORATION                                                  Connecticut
12   Connecticut Rivers Council,    [Redacted]                [Redacted] v. CONNECTICUT                   20-02003         United States
     Inc., Boy Scouts of                                      RIVERS COUNCIL, INC., BOY                                    Bankruptcy Court
     America                                                  SCOUTS OF AMERICA, and BOY                                   for the District of
                                                              SCOUTS OF AMERICA                                            Connecticut
                                                              CORPORATION
13   Darwyn Azzinaro                [Redacted]                [Redacted] v. DARWYN AZZINARO               SC 20309         Supreme Court
                                                              and BOY SCOUTS OF AMERICA                                    State of
                                                              CORP.                                                        Connecticut
14   North Florida Council, Inc.,   [Redacted]                [Redacted] v. THE BOY SCOUTS OF             6:20-cv-00275    United States
     Boy Scouts of America;                                   AMERICA, a corporation authorized to                         District Court for
     Central Florida Council,                                 do business in Florida, the NORTH                            the Middle District
     Inc., Boy Scouts of                                      FLORIDA COUNCIL, INC., BOY                                   of Florida, Orlando
     America                                                  SCOUTS OF AMERICA, a corporation                             Division
                                                              authorized to do business in Florida, and
                                                              the CENTRAL FLORIDA COUNCIL,
                                                              INC., BOY SCOUTS OF AMERICA, a
                                                              corporation authorized to do business in
                                                              Florida
15   North Florida Council, Inc.,   [Redacted]                [Redacted] v. THE BOY SCOUTS OF             5:20-cv-00069    United States
     Boy Scouts of America;                                   AMERICA, a corporation authorized to                         District Court for
     Silver Springs Shores                                    do business in Florida, the NORTH                            the Middle District
     Presbyterian Church, Inc.                                FLORIDA COUNCIL, INC., BOY                                   of Florida, Ocala
                                                              SCOUTS OF AMERICA, a corporation                             Division
                                                              authorized to do business in Florida, and
                                                              SILVER SPRINGS SHORES
                                                              PRESBYTERIAN CHURCH, INC, a
                                                              corporation authorized to do business in
                                                              Florida
16   Stephen Zanetti; Linda         [Redacted]                [Redacted] v. BOY SCOUTS OF                 0:20-cv-60351-   United States
     Jensen; Aaron Moore                                      AMERICA, a foreign non-profit               XXXX             District Court for
                                                              corporation, MARK KERN,                                      the Southern
                                                              individually, STEPHEN ZANETTI,                               District of Florida,
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                                   Underlying Plaintiff(s)
     Non-Debtor Defendants(s)      (last, first)             Case Caption                                Case Number          Court or Agency
                                                             individually, LINDA JENSEN,                                      Fort Lauderdale
                                                             individually and AARON MOORE                                     Division
                                                             individually
17   Coastal Georgia Council,      John Doe                  JOHN DOE, a pseudonym v. BOY                4:20-cv-00033-RSB-   United States
     Inc. (f/k/a) Coastal Empire                             SCOUTS OF AMERICA (CORP),                   CLR                  District Court for
     Council, Inc.; City of                                  COASTAL GEORGIA COUNCIL,                                         the Southern
     Bloomingdale                                            INC. f/k/a COASTAL EMPIRE                                        District of Georgia,
                                                             COUNCIL, INC., and CITY OF                                       Savannah Division
                                                             BLOOMINGALE
18   Northeast Georgia Council,    [Redacted]                [Redacted] v. BOY SCOUTS OF                 3:20-cv-00021-CDL    United States
     Inc.; Green Acres Baptist                               AMERICA, INC.; NORTHEAST                                         District Court for
     Church; First Baptist                                   GEORGIA COUNCIL, INC., GREEN                                     the Middle District
     Church of Athens; Betty                                 ACRES BAPTIST CHURCH; FIRST                                      of Georgia, Athens
     Boland, as the                                          BAPTIST CHURCH OF ATHENS and                                     Division
     Administrator of the Estate                             BETTY BOLAND, AS THE
     of Ernest Boland                                        ADMINISTRATOR OF THE ESTATE
                                                             OF ERNEST BOLAND
19   Northeast Georgia Council,    Dennis Doe                DENNIS DOE, individually and on             3:20-cv-00022-CDL    United States
     Inc.; Green Acres Baptist                               behalf of the General Public of the State                        District Court for
     Church; Beech Haven                                     of Georgia v. BOY SCOUTS OF                                      the Middle District
     Baptist Church; First                                   AMERICA, INC.; NORTHEAST                                         of Georgia, Athens
     Baptist Church of Athens;                               GEORGIA COUNCIL, INC., GREEN                                     Division
     Betty Boland, as the                                    ACRES BAPTIST CHURCH; BEECH
     Administrator of the Estate                             HAVEN BAPTIST CHURCH; FIRST
     of Ernest Boland                                        BAPTIST CHURCH OF ATHENS and
                                                             BETTY BOLAND, AS THE
                                                             ADMINISTRATOR OF THE ESTATE
                                                             OF ERNEST BOLAND
20   Northeast Georgia Council,    William Doe               WILLIAM DOE, individually and on            3:20-cv-00024-CAR    United States
     Inc.; Green Acres Baptist                               behalf of the General Public of the State                        District Court for
     Church; Beech Haven                                     of Georgia v. BOY SCOUTS OF                                      the Middle District
     Baptist Church; First                                   AMERICA, INC.; NORTHEAST                                         of Georgia, Athens
     Baptist Church of Athens;                               GEORGIA COUNCIL, INC., GREEN                                     Division
     Betty Boland, as the                                    ACRES BAPTIST CHURCH; BEECH
                                     Case 20-50527-LSS          Doc 107-1      Filed 10/22/20       Page 24 of 165




                                   Underlying Plaintiff(s)
     Non-Debtor Defendants(s)      (last, first)             Case Caption                                Case Number         Court or Agency
     Administrator of the Estate                             HAVEN BAPTIST CHURCH; FIRST
     of Ernest Boland                                        BAPTIST CHURCH OF ATHENS and
                                                             BETTY BOLAND, AS THE
                                                             ADMINISTRATOR OF THE ESTATE
                                                             OF ERNEST BOLAND
21   Northeast Georgia Council,    Timothy Doe               TIMOTHY DOE, individually and on            3:20-cv-00023-CDL   United States
     Inc.; Green Acres Baptist                               behalf of the General Public of the State                       District Court for
     Church; Beech Haven                                     of Georgia v. BOY SCOUTS OF                                     the Middle District
     Baptist Church; First                                   AMERICA, INC.; NORTHEAST                                        of Georgia, Athens
     Baptist Church of Athens;                               GEORGIA COUNCIL, INC., GREEN                                    Division
     Betty Boland, as the                                    ACRES BAPTIST CHURCH; BEECH
     Administrator of the Estate                             HAVEN BAPTIST CHURCH; FIRST
     of Ernest Boland                                        BAPTIST CHURCH OF ATHENS and
                                                             BETTY BOLAND, AS THE
                                                             ADMINISTRATOR OF THE ESTATE
                                                             OF ERNEST BOLAND
22   Northeast Georgia Council,    John Doe                  JOHN DOE, individually and on behalf        3:20-cv-00025-CAR   United States
     Inc.; Green Acres Baptist                               of the General Public of the State of                           District Court for
     Church; Beech Haven                                     Georgia v. BOY SCOUTS OF                                        the Middle District
     Baptist Church; First                                   AMERICA, INC.; NORTHEAST                                        of Georgia, Athens
     Baptist Church of Athens;                               GEORGIA COUNCIL, INC., GREEN                                    Division
     Betty Boland, as the                                    ACRES BAPTIST CHURCH; BEECH
     Administrator of the Estate                             HAVEN BAPTIST CHURCH; FIRST
     of Ernest Boland                                        BAPTIST CHURCH OF ATHENS and
                                                             BETTY BOLAND, AS THE
                                                             ADMINISTRATOR OF THE ESTATE
                                                             OF ERNEST BOLAND
23   Northeast Georgia Council,    Robert Doe                ROBERT DOE, individually and on             3:20-cv-00026-CAR   United States
     Inc.; Green Acres Baptist                               behalf of the General Public of the State                       District Court for
     Church; Beech Haven                                     of Georgia v. BOY SCOUTS OF                                     the Middle District
     Baptist Church; First                                   AMERICA, INC.; NORTHEAST                                        of Georgia, Athens
     Baptist Church of Athens;                               GEORGIA COUNCIL, INC., GREEN                                    Division
     Betty Boland, as the                                    ACRES BAPTIST CHURCH; BEECH
     Administrator of the Estate                             HAVEN BAPTIST CHURCH; FIRST
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                                   Underlying Plaintiff(s)
     Non-Debtor Defendants(s)      (last, first)             Case Caption                                Case Number     Court or Agency
     of Ernest Boland; R.                                    BAPTIST CHURCH OF ATHENS;
     Fleming Weaver, Jr                                      BETTY BOLAND, AS THE
                                                             ADMINISTRATOR OF THE ESTATE
                                                             OF ERNEST BOLAND, and R.
                                                             FLEMING WEAVER, JR.
24   Boy Scouts of America         [Redacted]                [Redacted] v. BOY SCOUTS OF                 1:20-cv-00011   United States
     Aloha Counsel Chamorro                                  AMERICA, A CONGRESSIONALLY                                  District Court for
     District; Capuchin                                      CHARTERED CORPORATION,                                      the District of
     Franciscans; Capuchin                                   AUTHORIZED TO DO BUSINESS IN                                Guam
     Franciscans Province of St.                             GUAM; BOY SCOUTS OF AMERICA
     Mary; Capuchin                                          ALOHA COUNSEL CHAMORRO
     Franciscans Custody of Star                             DISTRICT; CAPUCHIN
     of the Sea; Doe Entities 1-5;                           FRANCISCANS; CAPUCHIN
     And Doe-Individuals 6-47,                               FRANCISCANS PROVINCE OF ST.
     Inclusive                                               MARY; CAPUCHIN FRANCISCANS
                                                             CUSTODY OF STAR OF THE SEA;
                                                             DOE ENTITIES 1-5; AND DOE-
                                                             INDIVIDUALS 6-47, INCLUSIVE
25   Boy Scouts of America         [Redacted]                [Redacted] v. BOY SCOUTS OF                 1:20-cv-00010   United States
     Aloha Council Chamorro                                  AMERICA; BOY SCOUTS OF                                      District Court for
     District; The School Sisters                            AMERICA, ALOHA COUNCIL                                      the District of
     of Notre Dame, Milwaukee                                CHAMORRO DISTRICT; THE                                      Guam
     Province, Inc.; School                                  SCHOOL SISTERS OF NOTRE
     Sisters of Notre Dame                                   DAME, MILWAUKEE PROVINCE,
     Central Pacific Province,                               INC.; SCHOOL SISTERS OF NOTRE
     Inc.; School Sisters of Notre                           DAME CENTRAL PACIFIC
     Dame, Region of Guam;                                   PROVINCE, INC.; SCHOOL SISTERS
     John Does 1-20                                          OF NOTRE DAME, REGION OF
                                                             GUAM; and JOHN DOES 1-20
26   Boy Scouts of America         [Redacted]                [Redacted] v. BOY SCOUTS OF                 1:20-cv-00013   United States
     Aloha Council Chamorro                                  AMERICA, a congressionally chartered                        District Court for
     District; Capuchin                                      corporation, authorized to do business in                   the District of
     Franciscans; Capuchin                                   Guam; BOY SCOUTS OF AMERICA                                 Guam
     Franciscans Province of St.                             ALOHA COUNCIL CHAMORRO
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                                   Underlying Plaintiff(s)
     Non-Debtor Defendants(s) (last, first)                  Case Caption                                Case Number     Court or Agency
     Mary; Capuchin                                          DISTRICT; CAPUCHIN
     Franciscans Custody of Star                             FRANCISCANS; CAPUCHIN
     of the Sea; Doe Entities 1-5;                           FRANCISCANS PROVINCE OF ST.
     and Doe-Individuals 6-47,                               MARY; CAPUCHIN FRANCISCANS
     Inclusive                                               CUSTODY OF STAR OF THE SEA;
                                                             DOE ENTITIES 1-5; and DOE-
                                                             INDIVIDUALS 6-47, inclusive
27   Boy Scouts of America         [Redacted]                [Redacted] v. BOY SCOUTS OF                 1:20-cv-00014   United States
     Aloha Council Chamorro                                  AMERICA, a congressionally chartered                        District Court for
     District; Capuchin                                      corporation, authorized to do business in                   the District of
     Franciscans; Capuchin                                   Guam; BOY SCOUTS OF AMERICA                                 Guam
     Franciscans Province of St.                             ALOHA COUNCIL CHAMORRO
     Mary; Capuchin                                          DISTRICT; CAPUCHIN
     Franciscans Custody of Star                             FRANCISCANS; CAPUCHIN
     of the Sea; Doe Entities 1-5;                           FRANCISCANS PROVINCE OF ST.
     and Doe-Individuals 6-47,                               MARY; CAPUCHIN FRANCISCANS
     Inclusive                                               CUSTODY OF STAY OF THE SEA;
                                                             DOE ENTITIES 1-5; and DOE-
                                                             INDIVIDUALS 6-47, inclusive
28   Boy Scouts of America          [Redacted]               [Redacted] v. CAPUCHIN                      1:20-cv-00012   United States
     Aloha Council Chamorro                                  FRANCISCANS; CAPUCHIN                                       District Court for
     District; Capuchin                                      FRANCISCANS, PROVINCE OF ST.                                the District of
     Franciscans; Capuchin                                   MARY; BOY SCOUTS OF AMERICA,                                Guam
     Franciscans, Province of St.                            a congressionally chartered corporation
     Mary; Doe-Entities 1-5; and                             authorized to do business in Guam;
     Doe-Individuals 6-10,                                   BOY SCOUTS OF AMERICA ALOHA
     Inclusive                                               COUNCIL CHAMORRO DISTRICT;
                                                             DOE-ENTITIES 1-5; and DOE-
                                                             INDIVIDUALS 6-10, inclusive
29   Boy Scouts of America,         John Doe No. 120         JOHN DOE NO. 120 v. BOY SCOUTS              1:20-cv-00077   United States
     Aloha Council; Gary L.                                  OF AMERICA; BOY SCOUTS OF                                   District Court for
     Strain; Jane Does 1-10; Doe                             AMERICA, ALOHA COUNCIL;                                     the District of
     Corporations 1-10; Doe                                  GARY L. STRAIN; JANE DOES 1-10;                             Hawaii
     Partnerships 1-10; Doe                                  DOE CORPORATIONS 1-10; DOE
                                    Case 20-50527-LSS          Doc 107-1      Filed 10/22/20       Page 27 of 165




                                  Underlying Plaintiff(s)
     Non-Debtor Defendants(s)     (last, first)             Case Caption                                Case Number       Court or Agency
     Non-Profit Entities 1-10;                              PARTNERSHIPS 1-10; DOE NON-
     and Doe Governmental                                   PROFIT ENTITIES 1-10; and DOE
     Entities 1-10                                          GOVERNMENTAL ENTITIES 1-10
30   Hawkeye Area Council,        John Doe                  JOHN DOE v. THE BOY SCOUTS OF               1:20-cv-00019     United States
     Boy Scouts of America                                  AMERICA, a congressionally chartered                          District Court for
                                                            corporation, authorized to do business in                     the Northern
                                                            Iowa and HAWKEYE AREA                                         District of Iowa,
                                                            COUNCIL, BOY SCOUTS OF                                        Cedar Rapids
                                                            AMERICA, an Iowa corporation                                  Division
31   Chicago Area Council, Inc., [Redacted]                 [Redacted] v. BOY SCOUTS OF                 1:20-cv-01176     United States
     Boy Scouts of America;                                 AMERICA, a congressionally chartered                          District Court for
     Pathway to Adventure                                   corporation, authorized to do business in                     the Northern
     Council, Inc., Boy Scouts of                           Illinois, CHICAGO AREA COUNCIL,                               District of Illinois,
     America                                                INC. BOY SCOUTS OF AMERICA,                                   Eastern District
                                                            CHICAGO AREA COUNCIL, BOY
                                                            SCOUTS OF AMERICA, INC., and
                                                            PATHWAY TO ADVENTURE
                                                            COUNCIL, INC., BOY SCOUTS OF
                                                            AMERICA
32   Lincoln Heritage Council,    [Redacted]                [Redacted] v. TIMOTHY FLEMING               3:20-cv-126-CHB   United States
     Inc., Boy Scouts of                                    AND THE BOY SCOUTS OF                                         District Court for
     America; Audubon Baptist                               AMERICA AND AUDUBON                                           the Western
     Church; Timothy Fleming                                BAPTIST CHURCH AND LINCOLN                                    District of
                                                            HERITAGE COUNCIL, INC., BOY                                   Kentucky
                                                            SCOUTS OF AMERICA
33   Robert Bulens                [Redacted]                [Redacted] v. BOY SCOUTS OF                 1:20-cv-10319     United States
                                                            AMERICA, CORP.; and ROBERT                                    District Court for
                                                            BULENS                                                        the District of
                                                                                                                          Massachusetts
34   Gamehaven Council, Inc.,     Doe 386                   Doe 386 v. The Boy Scouts of America,       0:20-cv-00542     United States
     Boy Scouts of America; St.                             Gamehaven Council, Inc., Boy Scouts of                        District Court for
     Pius X Catholic Church of                              America and St. Pius X Catholic Church                        the District of
     Rochester, Minnesota                                   of Rochester, Minnesota                                       Minnesota
                                     Case 20-50527-LSS          Doc 107-1      Filed 10/22/20     Page 28 of 165




                                   Underlying Plaintiff(s)
     Non-Debtor Defendants(s)      (last, first)              Case Caption                             Case Number     Court or Agency
35   Gamehaven Council, Inc.,      Doe 384                    Doe 384 v. The Boy Scouts of America,    0:20-cv-00537   United States
     Boy Scouts of America; St.                               Gamehaven Council, Inc., Boy Scouts of                   District Court for
     Pius X Catholic Church of                                America; and St. Pius X Catholic                         the District of
     Rochester, Minnesota                                     Church of Rochester, Minnesota                           Minnesota
36   Gamehaven Council, Inc.,      Doe 383                    Doe 383 v. The Boy Scouts of America,    0:20-cv-00536   United States
     Boy Scouts of America; St.                               Gamehaven Council, Inc., Boy Scouts of                   District Court for
     Pius X Catholic Church of                                America; and St. Pius X Catholic                         the District of
     Rochester, Minnesota                                     Church of Rochester, Minnesota                           Minnesota
37   Gamehaven Council, Inc.,      Doe 583                    Doe 583 v. The Boy Scouts of America,    0:20-cv-00544   United States
     Boy Scouts of America; St.                               Gamehaven Council, Inc., Boy Scouts of                   District Court for
     Pius X Catholic Church of                                America; and St. Pius X Catholic                         the District of
     Rochester, Minnesota                                     Church of Rochester, Minnesota                           Minnesota
38   Gamehaven Council, Inc.,      Doe 382                    Doe 382 v. The Boy Scouts of America,    0:20-cv-00535   United States
     Boy Scouts of America; St.                               Gamehaven Council, Inc., Boy Scouts of                   District Court for
     Pius X Catholic Church of                                America and St. Pius X Catholic Church                   the District of
     Rochester, Minnesota                                     of Rochester, Minnesota                                  Minnesota
39   Gamehaven Council, Inc.,      Doe 385                    Doe 385 v. The Boy Scouts of America,    0:20-cv-00540   United States
     Boy Scouts of America; St.                               Gamehaven Council, Inc., Boy Scouts of                   District Court for
     Pius X Catholic Church of                                America; and St. Pius X Catholic                         the District of
     Rochester, Minnesota                                     Church of Rochester, Minnesota                           Minnesota
40   Gamehaven Council, Inc.,      Doe 555                    Doe 555 v. The Boy Scouts of America,    0:20-cv-00543   United States
     Boy Scouts of America; St.                               Gamehaven Council, Inc., Boy Scouts of                   District Court for
     Pius X Catholic Church of                                America; and St. Pius X Catholic                         the District of
     Rochester, Minnesota                                     Church of Rochester, Minnesota                           Minnesota
41   Greater St. Louis Area        John Doe                   JOHN DOE by and through his Next         4:20-cv-00273   United States
     Council, Boy Scouts of                                   Friend LINDA HOUSEKNECHT v.                              District Court for
     America, Inc.; Samuel                                    GREATER ST. LOUIS AREA                                   the Eastern District
     Christian Carleton                                       COUNCIL, BOY SCOUTS OF                                   of Missouri,
                                                              AMERICA, INC., and BOY SCOUTS                            Eastern Division
                                                              OF AMERICA, and SAMUEL
                                                              CHRISTIAN CARLETON
42   St. Louis County, Missouri;   Minor John Doe, by         MINOR JOHN DOE by [Redacted]as           4:20-cv-00272   United States
     Steve Stenger; Chief Of       [Redacted]as next friend   next friend v. ST. LOUIS COUNTY,                         District Court for
                                                              MISSOURI; STEVE STENGER;                                 the Eastern District
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                                  Underlying Plaintiff(s)
     Non-Debtor Defendants(s)     (last, first)             Case Caption                                Case Number         Court or Agency
     Police Jon Belmar; Eric R.                             CHIEF OF POLICE JON BELMAR;                                     of Missouri,
     Parks                                                  BOY SCOUTS OF AMERICA; AND                                      Eastern Division
                                                            ERIC R. PARKS
43   Heat of America Council,     [Redacted]                [Redacted] v. TERRY WRIGHT and              4:20-cv-00110-FJG   United States
     Boy Scouts of America;                                 HEART OF AMERICA COUNCIL,                                       District Court for
     Terry Wright                                           BOY SCOUTS OF AMERICA and                                       the Western
                                                            BOY SCOUTS OF AMERICA                                           District of
                                                                                                                            Missouri, Western
                                                                                                                            Division
44   Montana Council, Boy         [Redacted]                [Redacted] v. THE BOY SCOUTS OF             4:20-cv-00008-      United States
     Scouts of America                                      AMERICA, a congressionally chartered        BMM                 District Court for
                                                            corporation, authorized to do business in                       the District of
                                                            Montana; and MONTANA COUNCIL,                                   Montana
                                                            BOY SCOUTS OF AMERICA, a
                                                            Montana non-profit corporation
45   Montana Council, Boy         [Redacted]                [Redacted] v. THE BOY SCOUTS OF             4:20-cv-00010-      United States
     Scouts of America; John                                AMERICA, a congressionally chartered        BMM                 District Court for
     Does I and II                                          corporation, authorized to do business in                       the District of
                                                            Montana; and MONTANA COUNCIL,                                   Montana
                                                            BOY SCOUTS OF AMERICA, a
                                                            Montana non-profit corporation, and
                                                            JOHN DOES I and II
46   Montana Council, Boy         [Redacted]                [Redacted] v. THE BOY SCOUTS OF             4:20-cv-00009-      United States
     Scouts of America                                      AMERICA, a congressionally chartered        BMM                 District Court for
                                                            corporation, authorized to do business in                       the District of
                                                            Montana; and MONTANA COUNCIL,                                   Montana
                                                            BOY SCOUTS OF AMERICA, a
                                                            Montana non-profit corporation
47   Daniel Webster Council,      John Doe AM, John Doe     JOHN DOE AM, JOHN DOE DS,                   1:20-cv-00252       United States
     Boy Scouts of America        DS, John Doe DZ, John     JOHN DOE DZ, JOHN DOE DN,                                       District Court for
                                  Doe DN, John Doe PJ,      JOHN DOE PJ, and JOHN DOE PT v.                                 the District of New
                                  and John Doe PT           BOY SCOUTS OF AMERICA, AND                                      Hampshire
                                                            DANIEL WEBSTER COUNCIL, BOY
                                                            SCOUTS OF AMERICA
                                       Case 20-50527-LSS          Doc 107-1      Filed 10/22/20       Page 30 of 165




                                     Underlying Plaintiff(s)
     Non-Debtor Defendants(s)        (last, first)             Case Caption                               Case Number     Court or Agency
48   Jersey Shore Council, Inc.,     [Redacted]                [Redacted] v. THE NATIONAL BOY             1:20-cv-01744   United States
     Boy Scouts of America,                                    SCOUTS OF AMERICA                                          District Court for
     f/k/a Atlantic Area Council,                              FOUNDATION d/b/a THE BOY                                   the District of New
     Inc., Boy Scouts of                                       SCOUTS OF AMERICA; JERSEY                                  Jersey
     America, a/k/a Atlantic                                   SHORE COUNCIL, INC., BOY
     Area Council No. 331;                                     SCOUTS OF AMERICA, f/k/a
     ABC Entity, its directors,                                ATLANTIC AREA COUNCIL, INC.,
     officers, employees, agents,                              BOY SCOUTS OF AMERICA, a/k/a
     servants, representatives                                 ATLANTIC AREA COUNCIL NO.
     and/or volunteers, is a                                   331; ABC ENTITY, its directors,
     fictitious name of an entity                              officers, employees, agents, servants,
     believed to have employed                                 representatives and/or volunteers, is a
     and/or supervised Angelo                                  fictitious name of an entity believed to
     "Skip" Dellomo; and John                                  have employed and/or supervised
     Does 1-5, individually, and                               Angelo "Skip" Dellomo; and JOHN
     in their capacity as a former                             DOES 1-5, individually, and in their
     and/or current director,                                  capacity as a former and/or current
     officer, employee, agent,                                 director, officer, employee, agent,
     servant, representative                                   servant, representative and/or volunteer
     and/or volunteer of the                                   of the defendants, are persons whose
     defendants, are persons                                   identities are unknown to Plaintiff
     whose identities are
     unknown to Plaintiff
49   Essex County Council of         [Redacted]                [Redacted] v. BOY SCOUTS OF                20-cv-01743     United States
     the Boy Scout of America;                                 AMERICA; ESSEX COUNTY                                      District Court for
     Northern New Jersey                                       COUNCIL OF THE BOYS SCOUTS                                 the District of New
     Council of the Boy Scouts                                 OF AMERICA; NORTHERN NEW                                   Jersey
     of America; Boy Scout                                     JERSEY COUNCIL OF THE BOY
     Troop #64; XYZ Entities 1-                                SCOUTS OF AMERICA; BOY SCOUT
     100 (fictitious                                           TROOP #64; XYZ ENTITIES 1-100
     designations); and JOHN                                   (fictitious designations); and JOHN
     Does 1-200 (fictitious                                    DOES 1-200 (fictitious designations)
     designations)
                                    Case 20-50527-LSS         Doc 107-1   Filed 10/22/20   Page 31 of 165




                                  Underlying Plaintiff(s)
     Non-Debtor Defendants(s)     (last, first)             Case Caption                       Case Number      Court or Agency
50   Essex County Counsel of      [Redacted]                [Redacted] v. BOY SCOUTS OF        2:19-cv-17954-   United States
     the Boy Scouts of America;                             AMERICA, a Congressionally         BRM-JAD          District Court for
     Xyz Corporation 1-100                                  Chartered Corporation, ESSEX                        the District of New
                                                            COUNTY COUNSEL OF THE BOY                           Jersey
                                                            SCOUTS OF AMERICA and XYZ
                                                            CORPORATION 1-100
51   Northern New Jersey          Jack Doe                  JACK DOE v. BOY SCOUTS OF          3:20-cv-01735    United States
     Council Boy Scouts of                                  AMERICA, NORTHERN NEW                               District Court for
     America, Inc. ; ABC                                    JERSEY COUNCIL BOY SCOUTS OF                        the District of New
     Corporations 1-10, and                                 AMERICA, INC., ABC                                  Jersey
     John Does 1-10                                         CORPORATIONS 1-10, AND JOHN
                                                            DOES 1-10
52   The Pingry School; Thad      [Redacted]                [Redacted] v. THE PINGRY SCHOOL,   2:20-cv-01721    United States
     Alton, and John Does 1-50,                             BOY SCOUTS OF AMERICA, THAD                         District Court for
     and ABC Corporations 1-50                              ALTON, and JOHN DOES 1-50, and                      the District of New
                                                            ABC CORPORATIONS 1-50                               Jersey
53   John Does 1-10               [Redacted]                [Redacted] v. BOY SCOUTS OF        3:20-cv-01739    United States
                                                            AMERICA; JOHN DOES 1-10                             District Court for
                                                                                                                the District of New
                                                                                                                Jersey
54   Northern New Jersey          [Redacted]                [Redacted] v. BOY SCOUTS OF        3:20-cv-01741    United States
     Council; John Does 1-10                                AMERICA; NORTHERN NEW                               District Court for
                                                            JERSEY COUNCIL; JOHN DOES 1-10                      the District of New
                                                                                                                Jersey
55   Northern New Jersey          [Redacted]                [Redacted] v. BOY SCOUTS OF        3:20-cv-01740    United States
     Council; John Does 1-10                                AMERICA; NORTHERN NEW                               District Court for
                                                            JERSEY COUNCIL; JOHN DOES 1-10                      the District of New
                                                                                                                Jersey
56   Monmouth Council; John       [Redacted]                [Redacted] v. BOY SCOUTS OF        20-01106         United States
     Does 1-10                                              AMERICA; MONMOUTH COUNCIL;                          Bankruptcy Court
                                                            JOHN DOES 1-10                                      for the District of
                                                                                                                New Jersey
                                      Case 20-50527-LSS         Doc 107-1    Filed 10/22/20   Page 32 of 165




                                    Underlying Plaintiff(s)
     Non-Debtor Defendants(s)       (last, first)             Case Caption                       Case Number     Court or Agency
57   Jersey Shore Council; John     [Redacted]                [Redacted] v. BOY SCOUTS OF        T20-1117        United States
     Does 1-10                                                AMERICA; JERSEY SHORE                              Bankruptcy Court
                                                              COUNCIL; JOHN DOES 1-10                            for the District of
                                                                                                                 New Jersey
58   Monmouth Council; John         [Redacted]                [Redacted] v. BOY SCOUTS OF        20-01110        United States
     Does 1-10                                                AMERICA; MONMOUTH COUNCIL;                         Bankruptcy Court
                                                              JOHN DOES 1-10                                     for the District of
                                                                                                                 New Jersey
59   Monmouth Council; John         [Redacted]                [Redacted] v. BOY SCOUTS OF        20-01111        United States
     Does 1-10                                                AMERICA; MONMOUTH COUNCIL;                         Bankruptcy Court
                                                              JOHN DOES 1-10                                     for the District of
                                                                                                                 New Jersey
60   Monmouth Council; John         [Redacted]                [Redacted] v. BOY SCOUTS OF        20-01103        United States
     Does 1-10                                                AMERICA; MONMOUTH COUNCIL;                         Bankruptcy Court
                                                              JOHN DOES 1-10                                     for the District of
                                                                                                                 New Jersey
61   Northern New Jersey            [Redacted]                [Redacted] v. BOY SCOUTS OF        3:20-cv-01713   United States
     Council; John Does 1-10                                  AMERICA; NORTHERN NEW                              District Court for
                                                              JERSEY COUNCIL; JOHN DOES 1-10                     the District of New
                                                                                                                 Jersey
62   Patriots’ Path Council; John   [Redacted]                [Redacted] v. BOY SCOUTS OF        20-01105        United States
     Does 1-10                                                AMERICA; PATRIOTS' PATH                            Bankruptcy Court
                                                              COUNCIL; JOHN DOES 1-10                            for the District of
                                                                                                                 New Jersey
63   Northern New Jersey            [Redacted]                [Redacted] v. BOY SCOUTS OF        3:20-cv-01742   United States
     Council; John Does 1-10                                  AMERICA; NORTHERN NEW                              District Court for
                                                              JERSEY COUNCIL; JOHN DOES 1-10                     the District of New
                                                                                                                 Jersey
64   Northern New Jersey            [Redacted]                [Redacted] v. BOY SCOUTS OF        1:20-cv-01733   United States
     Council; John Does 1-10                                  AMERICA; NORTHERN NEW                              District Court for
                                                              JERSEY COUNCIL; JOHN DOES 1-10                     the District of New
                                                                                                                 Jersey
                                      Case 20-50527-LSS         Doc 107-1    Filed 10/22/20   Page 33 of 165




                                    Underlying Plaintiff(s)
     Non-Debtor Defendants(s)       (last, first)             Case Caption                       Case Number     Court or Agency
65   Northern New Jersey            [Redacted]                [Redacted] v. BOY SCOUTS OF        3:20-cv-01746   United States
     Council; John Does 1-10                                  AMERICA; NORTHERN NEW                              District Court for
                                                              JERSEY COUNCIL; JOHN DOES 1-10                     the District of New
                                                                                                                 Jersey
66   Garden State Council; John     [Redacted]                [Redacted] v. BOY SCOUTS OF        20-1116         United States
     Does 1-10                                                AMERICA; GARDEN STATE                              Bankruptcy Court
                                                              COUNCIL; JOHN DOES 1-10                            for the District of
                                                                                                                 New Jersey
67   Patriots’ Path Council; John   [Redacted]                [Redacted] v. BOY SCOUTS OF        20-01108        United States
     Does 1-10                                                AMERICA; PATRIOTS' PATH                            Bankruptcy Court
                                                              COUNCIL; JOHN DOES 1-10                            for the District of
                                                                                                                 New Jersey
68   Jersey Shore Council; John     [Redacted]                [Redacted] v. BOY SCOUTS OF        20-1115         United States
     Does 1-10                                                AMERICA; JERSEY SHORE                              Bankruptcy Court
                                                              COUNCIL; JOHN DOES 1-10                            for the District of
                                                                                                                 New Jersey
69   Garden State Council; John     [Redacted]                [Redacted] v. BOY SCOUTS OF        20-1120         United States
     Does 1-10                                                AMERICA; GARDEN STATE                              Bankruptcy Court
                                                              COUNCIL; JOHN DOES 1-10                            for the District of
                                                                                                                 New Jersey
70   Northern New Jersey            [Redacted]                [Redacted] v. BOY SCOUTS OF        3:20-cv-01734   United States
     Council; John Does 1-10                                  AMERICA; NORTHERN NEW                              District Court for
                                                              JERSEY COUNCIL; JOHN DOES 1-10                     the District of New
                                                                                                                 Jersey
71   Monmouth Council; John         [Redacted]                [Redacted] v. BOY SCOUTS OF        20-01109        United States
     Does 1-10                                                AMERICA; MONMOUTH COUNCIL;                         Bankruptcy Court
                                                              JOHN DOES 1-10                                     for the District of
                                                                                                                 New Jersey
72   Patriots Path Council          [Redacted]                [Redacted] v. PATRIOTS PATH        20-01107        United States
                                                              COUNCIL; BOY SCOUTS OF                             Bankruptcy Court
                                                              AMERICA, INC.                                      for the District of
                                                                                                                 New Jersey
73   Patriots’ Path Council, Inc.   [Redacted]                [Redacted] v. BOY SCOUTS OF        20-01104        United States
     Boy Scouts of America,                                   AMERICA, a Congressionally                         Bankruptcy Court
                                     Case 20-50527-LSS         Doc 107-1      Filed 10/22/20      Page 34 of 165




                                   Underlying Plaintiff(s)
     Non-Debtor Defendants(s)      (last, first)             Case Caption                              Case Number          Court or Agency
     Sussex District Boy Scouts                              Chartered Corporation, PATRIOTS'                               for the District of
     of America d/b/a Stillwater                             PATH COUNCIL, INC. BOY SCOUTS                                  New Jersey
     Boy Scouts of America                                   OF AMERICA, SUSSEX DISTRICT
     and/or Group 83 Stillwater,                             BOY SCOUTS OF AMERICA d/b/a
     and XYZ Corporation 1-                                  Stillwater Boy Scouts of America and/or
     100                                                     Group 83 Stillwater, and XYZ
                                                             CORPORATION 1-100
74   Country Farm Supply;          John Doe                  JOHN DOE v. [Redacted], COUNTRY           20-01014             United States
     Sacred Heart – Espanola;                                FARM SUPPLY, BOY SCOUTS OF                                     Bankruptcy Court
     Monastery of Christ in the                              AMERICA, SACRED HEART -                                        for the District of
     Desert; Richard Lucero                                  ESPANOLA, and MONASTERY OF                                     New Mexico
                                                             CHRIST IN THE DESERT
75   Great Southwest Council,      John Doe                  JOHN DOE v. THE BOY SCOUTS OF             20-01015             United States
     Boy Scouts of America                                   AMERICA, a Congressionally                                     Bankruptcy Court
                                                             Chartered Corporation, and GREAT                               for the District of
                                                             SOUTHWEST COUNCIL, BOY                                         New Mexico
                                                             SCOUTS OF AMERICA, a New
                                                             Mexico non-profit corporation
76   Richard L. Lucero             [Redacted]                [Redacted] v. Richard L. Lucero, and      20-01013             United States
                                                             Boy Scouts of America                                          Bankruptcy Court
                                                                                                                            for the District of
                                                                                                                            New Mexico
77   Longhouse Council, Inc.,      [Redacted]                [Redacted] v. THE NATIONAL BOY            5:20-cv-00172-GTS-   United States
     Boy Scouts of America                                   SCOUTS OF AMERICA                         TWD                  District Court for
                                                             FOUNDATION d/b/a THE BOY                                       the Northern
                                                             SCOUTS OF AMERICA, and                                         District of New
                                                             LONGHOUSE COUNCIL, INC., BOY                                   York
                                                             SCOUTS OF AMERICA
78   Hiawatha Council; The         [Redacted]                [Redacted] v. DONALD J. HERBERT;          5:20-cv-181          United States
     Roman Catholic Diocese of                               BOY SCOUTS OF AMERICA, INC.;                                   District Court for
     Syracuse; Saint John the                                BOY SCOUTS OF AMERICA -                                        the Northern
     Baptist Church; Donald J.                               HIAWATHA COUNCIL; THE                                          District of New
     Herbert; Does 1-100                                     ROMAN CATHOLIC DIOCESE OF                                      York
                                  Case 20-50527-LSS           Doc 107-1       Filed 10/22/20        Page 35 of 165




                                Underlying Plaintiff(s)
     Non-Debtor Defendants(s)   (last, first)               Case Caption                               Case Number     Court or Agency
                                                            SYRACUSE; SAINT JOHN THE
                                                            BAPTIST CHURCH; and DOES 1-100
79   Longhouse Council          [Redacted]                  [Redacted] and R.E.M. v. BOY               5:20-cv-178     United States
                                                            SCOUTS OF AMERICA and                                      District Court for
                                                            LONGHOUSE COUNCIL                                          the Northern
                                                                                                                       District of New
                                                                                                                       York
80   Boy Scout Troop 95; Our    Anonymous #1, An            ANONYMOUS #1, An Infant, by his            7:20-cv-1542    United States
     Savior Lutheran Church;    Infant, by his Parent and   Parent and Natural Guardians, and his                      District Court for
     Hudson Valley Council,     Natural Guardians, and      Parents and Natural Guardians                              the Southern
     Inc., Boy Scouts of        his Parents and Natural     Individually v. MICHAEL KELSEY,                            District of New
     America; Michael Kelsey;   Guardians Individually      RICHARD ROBBINS, BOY SCOUT                                 York
     Richard Robbins                                        TROOP 95, OUR SAVIOR
                                                            LUTHERAN CHURCH, HUDSON
                                                            VALLEY COUNCIL, INC., BOY
                                                            SCOUTS OF AMERICA, and BOY
                                                            SCOUTS OF AMERICA, INC.
81   Boy Scout Troop 95; Our    Anonymous #2, An            ANONYMOUS #2, An Infant, by his            7:20-cv-1543    United States
     Savior Lutheran Church;    Infant, by his Parent and   Parent and Natural Guardians, and his                      District Court for
     Hudson Valley Council,     Natural Guardians, and      Parents and Natural Guardians                              the Southern
     Inc., Boy Scouts of        his Parents and Natural     Individually v. MICHAEL KELSEY,                            District of New
     America; Michael Kelsey;   Guardians Individually      RICHARD ROBBINS, BOY SCOUT                                 York
     Richard Robbins                                        TROOP 95, OUR SAVIOR
                                                            LUTHERAN CHURCH, HUDSON
                                                            VALLEY COUNCIL, INC., BOY
                                                            SCOUTS OF AMERICA, and BOY
                                                            SCOUTS OF AMERICA, INC.
82   Five Rivers Council, Boy   [Redacted]                  [Redacted] v. BOY SCOUTS OF                1:20-cv-00212   United States
     Scouts of America                                      AMERICA, and FIVE RIVERS                                   District Court for
                                                            COUNCIL, BOY SCOUTS OF                                     the Western
                                                            AMERICA                                                    District of New
                                                                                                                       York
                                    Case 20-50527-LSS         Doc 107-1     Filed 10/22/20     Page 36 of 165




                                  Underlying Plaintiff(s)
     Non-Debtor Defendants(s)     (last, first)             Case Caption                          Case Number     Court or Agency
83   Five Rivers Council          [Redacted]                [Redacted] v. BOY SCOUTS OF           6:20-cv-06107   United States
                                                            AMERICA and FIVE RIVERS                               District Court for
                                                            COUNCIL                                               the Western
                                                                                                                  District of New
                                                                                                                  York
84   Five Rivers Council          [Redacted]                [Redacted] v. BOY SCOUTS OF           6:20-cv-06108   United States
                                                            AMERICA and FIVE RIVERS                               District Court for
                                                            COUNCIL                                               the Western
                                                                                                                  District of New
                                                                                                                  York
85   Boy Scouts of America,-      [Redacted]                [Redacted] v. BOY SCOUTS OF           1:20-cv-00879   United States
     Pack 494                                               AMERICA and BOY SCOUTS OF                             District Court for
                                                            AMERICA,-Pack 494                                     the Eastern District
                                                                                                                  of New York
86   Diocese of Brooklyn; St.     [Redacted]                [Redacted] v. DIOCESE OF              500293/2020     Supreme Court of
     Francis Xavier Church;                                 BROOKLYN, ST. FRANCIS XAVIER                          the State of New
     Greater New York                                       CHURCH, NATIONAL BOY SCOUTS                           York, Kings
     Councils, Inc., Boy Scouts                             OF AMERICA FOUNDATION a/k/a                           County
     of America; Brooklyn                                   THE BOY SCOUTS OF AMERICA,
     Council, Boy Scouts of                                 GREATER NEW YORK COUNCILS,
     America                                                INC., BOY SCOUTS OF AMERICA
                                                            and BROOKLYN COUNCIL, BOY
                                                            SCOUTS OF AMERICA, a New York
                                                            Corporation
87   Boy Scouts of America,-      [Redacted]                [Redacted] v. BOY SCOUTS OF           1:20-cv-00876   United States
     Pack 494                                               AMERICA and BOY SCOUTS OF                             District Court for
                                                            AMERICA,-Pack 494                                     the Eastern District
                                                                                                                  of New York
88   Boy Scouts of America,-      [Redacted]                [Redacted] v. BOY SCOUTS OF           1:20-cv-940     United States
     Pack 494                                               AMERICA and BOY SCOUTS OF                             District Court for
                                                            AMERICA,-Pack 494                                     the Eastern District
                                                                                                                  of New York
89   Greater New York             [Redacted]                [Redacted] v. BOY SCOUTS OF           1:20-cv-941     United States
     Councils, Boy Scouts of                                AMERICA, INC., a Congressionally                      District Court for
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                                   Underlying Plaintiff(s)
     Non-Debtor Defendants(s)      (last, first)             Case Caption                             Case Number     Court or Agency
     America; Brooklyn                                       Chartered Corporation authorized to do                   the Eastern District
     Council, Boy Scouts of                                  business in New York, GREATER                            of New York
     America                                                 NEW YORK COUNCILS, BOY
                                                             SCOUTS OF AMERICA, a New York
                                                             Corporation, and BROOKLYN
                                                             COUNCIL, BOY SCOUTS OF
                                                             AMERICA, a New York Corporation
90   Diocese of Brooklyn;          [Redacted]                [Redacted] v. DIOCESE OF                 518178/19       Supreme Court of
     Church of the Holy                                      BROOKLYN, CHURCH OF THE                                  the State of New
     Innocents; Greater New                                  HOLY INNOCENTS, GREATER NEW                              York, Kings
     York Council of the Boy                                 YORK COUNCIL OF THE BOY                                  County
     Scouts of America; Alpine                               SCOUTS OF AMERICA, ALPINE
     Scout Camp; Frank Pedone                                SCOUT CAMP, and FRANK PEDONE
91   Greater New York              [Redacted]                [Redacted] v. BOY SCOUTS OF              1:20-cv-00871   United States
     Councils, Boy Scouts of                                 AMERICA and GREATER NEW                                  District Court for
     America                                                 YORK COUNCILS, BOY SCOUTS OF                             the Eastern District
                                                             AMERICA                                                  of New York
92   Greater New York              [Redacted]                [Redacted] v. BOY SCOUTS OF              1:20-cv-00880   United States
     Councils, Boy Scouts of                                 AMERICA; NATIONAL BOY                                    District Court for
     America; Greater New                                    SCOUTS OF AMERICA                                        the Eastern District
     York Councils; Queens                                   FOUNDATION; SCOUTS BSA;                                  of New York
     Council, Boy Scouts of                                  GREATER NEW YORK COUNCILS,
     America; Diocese of                                     BOY SCOUTS OF AMERICA;
     Brooklyn; St. Benedict                                  GREATER NEW YORK COUNCILS;
     Joseph Labre Church; St.                                QUEENS COUNCIL, BOY SCOUTS
     Benedict Joseph Labre                                   OF AMERICA; DIOCESE OF
     School ; James T. Grace Jr.                             BROOKLYN; ST. BENEDICT
                                                             JOSEPH LABRE CHURCH; ST.
                                                             BENEDICT JOSEPH LABRE
                                                             SCHOOL; and JAMES T. GRACE JR.
93   Greater New York              [Redacted]                [Redacted] v. BOY SCOUTS OF              1:20-cv-874     United States
     Councils; Brooklyn                                      AMERICA, GREATER NEW YORK                                District Court for
     Council; John B. Lowell                                 COUNCILS, BROOKLYN COUNCIL                               the Eastern District
                                                             and JOHN B. LOWELL                                       of New York
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                                  Underlying Plaintiff(s)
      Non-Debtor Defendants(s)    (last, first)             Case Caption                      Case Number         Court or Agency
94    Greater New York            [Redacted]                [Redacted] v. BOY SCOUTS OF       1:20-cv-00862       United States
      Councils, Boy Scouts of                               AMERICA; NATIONAL BOY                                 District Court for
      America; Greater New                                  SCOUTS OF AMERICA                                     the Eastern District
      York Councils; Brooklyn                               FOUNDATION; SCOUTS BSA;                               of New York
      Council, Boy Scouts of                                GREATER NEW YORK COUNCILS,
      America                                               BOY SCOUTS OF AMERICA; AND
                                                            GREATER NEW YORK COUNCILS,
                                                            BROOKLYN COUNCIL, BOY
                                                            SCOUTS OF AMERICA
95    Boy Scouts OF America,-     [Redacted]                [Redacted] v. BOY SCOUTS OF       1:20-cv-00878       United States
      Pack 494                                              AMERICA and BOY SCOUTS OF                             District Court for
                                                            AMERICA,-Pack 494                                     the Eastern District
                                                                                                                  of New York
96    Boy Scouts OF America,-     [Redacted]                [Redacted] v. BOY SCOUTS OF       1:20-cv-00883       United States
      Pack 494                                              AMERICA and BOY SCOUTS OF                             District Court for
                                                            AMERICA,-Pack 494                                     the Eastern District
                                                                                                                  of New York
97    Westchester-Putnam          [Redacted]                [Redacted] v. BOY SCOUTS OF       7:20-cv-01383-NSR   United States
      Council                                               AMERICA and WESTCHESTER-                              District Court for
                                                            PUTNAM COUNCIL                                        the Southern
                                                                                                                  District of New
                                                                                                                  York
98    Suffolk County Council of   [Redacted]                [Redacted] v. BOY SCOUTS OF       2:20-cv-865         United States
      the Boy Scouts of America                             AMERICA, and SUFFOLK COUNTY                           District Court for
                                                            COUNCIL OF THE BOY SCOUTS OF                          the Eastern District
                                                            AMERICA                                               of New York
99    Theodore Roosevelt          [Redacted]                [Redacted] v. BOY SCOUTS OF       7:20-cv-1497        United States
      Council, Boy Scouts of                                AMERICA, and THEODORE                                 District Court for
      America                                               ROOSEVELT COUNCIL, BOY                                the Southern
                                                            SCOUTS OF AMERICA                                     District of New
                                                                                                                  York
100   Westchester-Putnam          [Redacted]                [Redacted] v. BOY SCOUTS OF       7:20-cv-1498        United States
      Council, Boy Scouts of                                AMERICA, and WESTCHESTER-                             District Court for
      America                                                                                                     the Southern
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                                     Underlying Plaintiff(s)
      Non-Debtor Defendants(s)       (last, first)             Case Caption                      Case Number    Court or Agency
                                                               PUTNAM COUNCIL, BOY SCOUTS                       District of New
                                                               OF AMERICA                                       York
101   Westchester-Putnam             [Redacted]                [Redacted] v. BOY SCOUTS OF       7:20-cv-1499   United States
      Council, Boy Scouts of                                   AMERICA, and WESTCHESTER-                        District Court for
      America                                                  PUTNAM COUNCIL, BOY SCOUTS                       the Southern
                                                               OF AMERICA                                       District of New
                                                                                                                York
102   Westchester-Putnam             [Redacted]                [Redacted] v. BOY SCOUTS OF       7:20-cv-1501   United States
      Council, Boy Scouts of                                   AMERICA, and WESTCHESTER-                        District Court for
      America                                                  PUTNAM COUNCIL, BOY SCOUTS                       the Southern
                                                               OF AMERICA                                       District of New
                                                                                                                York
103   Westchester-Putnam             [Redacted]                [Redacted] v. BOY SCOUTS OF       7:20-cv-1540   United States
      Council, Boy Scouts of                                   AMERICA, and WESTCHESTER                         District Court for
      America                                                  PUTNAM COUNCIL, BOY SCOUTS                       the Southern
                                                               OF AMERICA                                       District of New
                                                                                                                York
104   Westchester-Putnam             [Redacted]                [Redacted] v. BOY SCOUTS OF       7:20-cv-1537   United States
      Council, Boy Scouts of                                   AMERICA, and WESTCHESTER-                        District Court for
      America                                                  PUTNAM COUNCIL, BOY SCOUTS                       the Southern
                                                               OF AMERICA                                       District of New
                                                                                                                York
105   Bronx Council Boy Scouts       Anonymous BR              ANONYMOUS BR v. THE BOY           1:20-cv-1479   United States
      of America, Inc.; St. Helena                             SCOUTS OF AMERICA, BRONX                         District Court for
      Parish                                                   COUNCIL BOY SCOUTS OF                            the Southern
                                                               AMERICA, INC., and ST. HELENA                    District of New
                                                               PARISH                                           York
106   St. Demetrios Greek            [Redacted]                [Redacted] v. LAWRENCE SVRCEK,    1:20-cv-942    United States
      Orthodox Church; Greek                                   ST. DEMETRIOS GREEK                              District Court for
      Orthodox Archdiocese of                                  ORTHODOX CHURCH, GREEK                           the Eastern District
      America; The Boy Scouts                                  ORTHODOX ARCHDIOCESE OF                          of New York
      of America Greater New                                   AMERICA, THE BOY SCOUTS OF
      York Councils; Lawrence                                  AMERICA, and THE BOY SCOUTS
      Svrcek
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                                  Underlying Plaintiff(s)
      Non-Debtor Defendants(s)    (last, first)             Case Caption                      Case Number     Court or Agency
                                                            OF AMERICA GREATER NEW
                                                            YORK COUNCILS
107   Greater Niagara Frontier    [Redacted]                [Redacted] v. BOY SCOUTS OF       1:20-cv-285     United States
      Council of the Boy Scouts                             AMERICA, GREATER NIAGARA                          District Court for
      of America; Diocese of                                FRONTIER COUNCIL OF THE BOY                       the Western
      Buffalo; St. Ambrose                                  SCOUTS OF AMERICA, DIOCESE OF                     District of New
      Church                                                BUFFALO, AND ST. AMBROSE                          York
                                                            CHURCH
108   Greater Niagara Frontier    [Redacted]                [Redacted] v. BOY SCOUTS OF       1:20-cv-00220   United States
      Council                                               AMERICA and GREATER NIAGARA                       District Court for
                                                            FRONTIER COUNCIL                                  the Western
                                                                                                              District of New
                                                                                                              York
109   Greater Niagara Frontier    [Redacted]                [Redacted] v. BOY SCOUTS OF       1:20-cv-00200   United States
      Council, Boy Scouts of                                AMERICA, and GREATER NIAGARA                      District Court for
      America                                               FRONTIER COUNCIL, BOY SCOUTS                      the Western
                                                            OF AMERICA                                        District of New
                                                                                                              York
110   Greater Niagara Frontier    [Redacted]                [Redacted] v. BOY SCOUTS OF       1:20-cv-00205   United States
      Council, Boy Scouts of                                AMERICA, and GREATER NIAGARA                      District Court for
      America                                               FRONTIER COUNCIL, BOY SCOUTS                      the Western
                                                            OF AMERICA                                        District of New
                                                                                                              York
111   Greater Niagara Frontier    [Redacted]                [Redacted] v. BOY SCOUTS OF       1:20-cv-00202   United States
      Council                                               AMERICA and GREATER NIAGARA                       District Court for
                                                            FRONTIER COUNCIL                                  the Western
                                                                                                              District of New
                                                                                                              York
112   Greater Niagara Frontier    [Redacted]                [Redacted] v. BOY SCOUTS OF       1:20-cv-00203   United States
      Council                                               AMERICA and GREATER NIAGARA                       District Court for
                                                            FRONTIER COUNCIL                                  the Western
                                                                                                              District of New
                                                                                                              York
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                                     Underlying Plaintiff(s)
      Non-Debtor Defendants(s)       (last, first)             Case Caption                               Case Number     Court or Agency
113   Greater Niagara Frontier       [Redacted]                [Redacted] v. BOY SCOUTS OF                1:20-cv-00214   United States
      Council                                                  AMERICA and GREATER NIAGARA                                District Court for
                                                               FRONTIER COUNCIL                                           the Western
                                                                                                                          District of New
                                                                                                                          York
114   Greater Niagara Frontier       [Redacted]                [Redacted] v. BOY SCOUTS OF                1:20-cv-00209   United States
      Council                                                  AMERICA and GREATER NIAGARA                                District Court for
                                                               FRONTIER COUNCIL                                           the Western
                                                                                                                          District of New
                                                                                                                          York
115   Greater Niagara Frontier       John Doe                  JOHN DOE v. BOY SCOUTS OF                  1:20-cv-00216   United States
      Council #380                                             AMERICA and GREATER NIAGARA                                District Court for
                                                               FRONTIER COUNCIL #380                                      the Western
                                                                                                                          District of New
                                                                                                                          York
116   Greater Niagara Frontier       KS-Doe-1, KS-Doe-1a;      KS-Doe-1; KS-Doe-1a; KS-Doe-2; KS-         1:20-cv-247     United States
      Council #380 of the Boy        KS-Doe-2; KS-Doe-2a;      Doe-2a; KS-Doe-3; KS-Doe-3a; KS-                           District Court for
      Scouts of America; Holy        KS-Doe-3; KS-Doe-3a;      Doe-4; KS-Doe-4a; KS-Doe-5; KS-Doe-                        the Western
      See, State of Vatican City -   KS-Doe-4; KS-Doe-4a;      6; KS-Doe-7; KS-Doe-7a; KS-Doe-8;                          District of New
      The Vatican; Pope Francis -    KS-Doe-5; KS-Doe-6;       KS-Doe-9; KS-Doe-9a; KS-Doe-10; KS-                        York
      The Pontiff, Bishop of         KS-Doe-7; KS-Doe-7a;      Doe-10a; KS-Doe-11; KS-Doe-11a; KS-
      Rome, Supreme Leader and       KS-Doe-8; KS-Doe-9;       Doe-12; KS-Doe-12a; KS-Doe-13; KS-
      Supervisor of the Roman        KS-Doe-9a; KS-Doe-10;     Doe-14; KS-Doe-15; KS-Doe-16; KS-
      Catholic Church, a/k/a         KS-Doe-10a; KS-Doe-       Doe-16a; KS-Doe-17; KS-Doe-21; KS-
      Jorge Mario Bergoglio;         11; KS-Doe-11a; KS-       Doe-21a; KS-Doe-22; and KS-Doe v.
      Archbishop Timothy Dolan,      Doe-12; KS-Doe-12a;       Holy See, State of Vatican City - The
      Archbishop of New York;        KS-Doe-13; KS-Doe-14;     Vatican; Pope Francis - The Pontiff,
      Archbishop Christopher         KS-Doe-15; KS-Doe-16;     Bishop of Rome, Supreme Leader and
      Pierre, Apostolic Nuncio of    KS-Doe-16a; KS-Doe-       Supervisor of the Roman Catholic
      the Holy See for the United    17; KS-Doe-21; KS-        Church, a/k/a Jorge Mario Bergoglio;
      States; The Foundation of      Doe-21a; KS-Doe-22;       Archbishop Timothy Dolan, Archbishop
      the Roman Catholic             and KS-Doe                of New York; Archbishop Christopher
      Diocese of Buffalo N.Y.,                                 Pierre, Apostolic Nuncio of the Holy See
      Inc; Most Reverend Richard                               for the United States; The Foundation of
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                               Underlying Plaintiff(s)
Non-Debtor Defendants(s)       (last, first)             Case Caption                              Case Number   Court or Agency
J. Malone, a/k/a Bishop                                  the Roman Catholic Diocese of Buffalo
Richard J. Malone; Most                                  N.Y., Inc; Most Reverend Richard J.
Reverend Edward U.                                       Malone, a/k/a Bishop Richard J. Malone;
Kmiec, a/k/a Bishop                                      Most Reverend Edward U. Kmiec, a/k/a
Edward U. Kmiec; Most                                    Bishop Edward U. Kmiec; Most
Reverend Henry J. Mansell,                               Reverend Henry J. Mansell, a/k/a Bishop
a/k/a Bishop Henry J.                                    Henry J. Mansell; St. Joseph Investment
Mansell; St. Joseph                                      Fund, Inc.; George J. Eberl; Society of
Investment Fund, Inc.;                                   Jesus, USA-Northeast Province a/k/a
George J. Eberl; Society of                              The Jesuits; Rev. Ronald Silverio; Rev.
Jesus, USA-Northeast                                     Basil Ormsby, S.J.; Rev. Florian
Province a/k/a The Jesuits;                              Jasinski; Rev. Joseph Persich, S.J.; Rev.
Rev. Ronald Silverio; Rev.                               David Bialakowski; Rev. Frederick
Basil Ormsby, S.J.; Rev.                                 Fingerle; Monsignor Michael
Florian Jasinski; Rev.                                   Harrington; Monsignor William Stanton;
Joseph Persich, S.J.; Rev.                               Rev. Theodore Podson; Rev. Nelson
David Bialakowski; Rev.                                  Kinmartin; Rev. Gerald Jasinski; Rev.
Frederick Fingerle;                                      Ronald Sajdak; Rev. Donald W. Becker;
Monsignor Michael                                        Rev. Norbert Orsolits; Rev. William
Harrington; Monsignor                                    White; Rev. John P. Hajduk; St. Bridgets
William Stanton; Rev.                                    R.C. Church; All Saints R.C. Church;
Theodore Podson; Rev.                                    The Blessed Trinity R.C. Church; Holy
Nelson Kinmartin; Rev.                                   Family R.C. Church; St. Teresas R.C.
Gerald Jasinski; Rev.                                    Church; St. Josephats R.C. Church; St.
Ronald Sajdak; Rev.                                      John Gualberts R.C. Church; St. John
Donald W. Becker; Rev.                                   Vianney R.C. Church; St. Pauls R.C.
Norbert Orsolits; Rev.                                   Church; Immaculate Conception R.C.
William White; Rev. John                                 Church; Canisius High School of
P. Hajduk; St. Bridgets R.C.                             Buffalo; Calasanctius School of Buffalo;
Church; All Saints R.C.                                  Bishop Turner High School; Christ the
Church; The Blessed                                      King; Seminary; Queen of Peave R.C.
Trinity R.C. Church; Holy                                Church; Priest-Doe(s); Attorney(s) ABC
Family R.C. Church; St.                                  and Accountant(s) XYZ; The Fidelis
Teresas R.C. Church; St.                                 Care as a Trademark for the Centene
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                                      Underlying Plaintiff(s)
      Non-Debtor Defendants(s)        (last, first)             Case Caption                                Case Number     Court or Agency
      Josephats R.C. Church; St.                                Corporation; Catholic Health of WNY
      John Gualberts R.C.                                       and its subsidiaries; Catholic Cemeteries
      Church; St. John Vianney                                  of the Roman Catholic Diocese of
      R.C. Church; St. Pauls R.C.                               Buffalo, Inc.; Christ the King Seminary
      Church; Immaculate                                        Fund, Inc.; John Gruber, individually;
      Conception R.C. Church;                                   and The Boy Scouts of America and the
      Canisius High School of                                   Greater Niagara Frontier Council #380
      Buffalo; Calasanctius                                     of the Boy Scouts of America
      School of Buffalo; Bishop
      Turner High School; Christ
      the King; Seminary; Queen
      of Peave R.C. Church;
      Priest-Doe(s); Attorney(s)
      ABC and Accountant(s)
      XYZ; The Fidelis Care as a
      Trademark for the Centene
      Corporation; Catholic
      Health of WNY and its
      subsidiaries; Catholic
      Cemeteries of the Roman
      Catholic Diocese of
      Buffalo, Inc.; Christ the
      King Seminary Fund, Inc.;
      John Gruber, individually
117   Boy Scouts of America,          PB-9 Doe                  PB-9 Doe v. BOY SCOUTS OF                   1:20-cv-00221   United States
      Iroquois Trail Council, Inc.;                             AMERICA, IROQUOIS TRAIL                                     District Court for
      Boy Scouts of America,                                    COUNCIL, INC., BOY SCOUTS OF                                the Western
      Greater Niagara Frontier                                  AMERICA, GREATER NIAGARA                                    District of New
      Council, Inc.; Alleghany                                  FRONTIER COUNCIL, INC., BOY                                 York
      Highlands Council, Inc.                                   SCOUTS OF AMERICA, and
                                                                ALLEGHANY HIGHLANDS
                                                                COUNCIL, INC.
118   Theodore Roosevelt           [Redacted]                   [Redacted] v. NATIONAL BOY                  2:20-cv-954     United States
      Council, Inc., Boy Scouts of                              SCOUTS OF AMERICA                                           District Court for
                                     Case 20-50527-LSS        Doc 107-1     Filed 10/22/20     Page 44 of 165




                                  Underlying Plaintiff(s)
      Non-Debtor Defendants(s)    (last, first)             Case Caption                            Case Number   Court or Agency
      America f/k/a Nassau                                  FOUNDATION a/k/a THE BOY                              the Eastern District
      County Council Boy Scouts                             SCOUTS OF AMERICA, a foreign not-                     of New York
      of America, Inc.                                      for-profit corporation and THEODORE
                                                            ROOSEVELT COUNCIL, INC., BOY
                                                            SCOUTS OF AMERICA f/k/a
                                                            NASSAU COUNTY COUNCIL BOY
                                                            SCOUTS OF AMERICA, INC., a
                                                            domestic not-for-profit corporation
119   N/A                         Anonymous                 ANONYMOUS v. BOY SCOUTS OF              2:20-cv-995   United States
                                                            AMERICA                                               District Court for
                                                                                                                  the Eastern District
                                                                                                                  of New York
120   Theodore Roosevelt           [Redacted]               [Redacted] v. NATIONAL BOY              2:20-cv-933   United States
      Council, Inc., Boy Scouts of                          SCOUTS OF AMERICA                                     District Court for
      America f/k/a Nassau                                  FOUNDATION a/k/a THE BOY                              the Eastern District
      County Council of Boy                                 SCOUTS OF AMERICA; THEODORE                           of New York
      Scouts of America, Inc.;                              ROOSEVELT COUNCIL, INC., BOY
      House of Hope Presbyterian                            SCOUTS OF AMERICA f/k/a
      Church; Does 1-5 whose                                NASSAU COUNTY COUNCIL OF
      identities are unknown to                             BOY SCOUTS OF AMERICA,
      Plaintiff                                             INCORPORATED; HOUSE OF HOPE
                                                            PRESBYTERIAN CHURCH; and
                                                            DOES 1-5 whose identities are unknown
                                                            to Plaintiff
121   Theodore Roosevelt          [Redacted]                [Redacted] v. BOY SCOUTS OF             2:20-cv-950   United States
      Council, Boy Scouts of                                AMERICA, and THEODORE                                 District Court for
      America                                               ROOSEVELT COUNCIL, BOY                                the Eastern District
                                                            SCOUTS OF AMERICA                                     of New York
122   Theodore Roosevelt          [Redacted]                [Redacted] v. BOY SCOUTS OF             2:20-cv-949   United States
      Council, Boy Scouts of                                AMERICA, and THEODORE                                 District Court for
      America                                               ROOSEVELT COUNCIL, BOY                                the Eastern District
                                                            SCOUTS OF AMERICA                                     of New York
                                     Case 20-50527-LSS         Doc 107-1    Filed 10/22/20   Page 45 of 165




                                   Underlying Plaintiff(s)
      Non-Debtor Defendants(s)     (last, first)             Case Caption                       Case Number          Court or Agency
123   Twin Rivers Council          [Redacted]                [Redacted] v. BOY SCOUTS OF        1:20-cv-167          United States
                                                             AMERICA and TWIN RIVERS                                 District Court for
                                                             COUNCIL                                                 the Northern
                                                                                                                     District of New
                                                                                                                     York
124   Boy Scouts of America        [Redacted]                [Redacted] v. BOY SCOUTS OF        1:20-cv-00180-GTS-   United States
      Twin Rivers Council;                                   AMERICA (BSA), BOY SCOUTS OF       TWD                  District Court for
      Vincent Siecinski                                      AMERICA TWIN RIVERS COUNCIL,                            the Northern
                                                             VINCENT SIECINSKI                                       District of New
                                                                                                                     York
125   Twin Rivers Council, Boy     [Redacted]                [Redacted] v. BOY SCOUTS OF        3:20-cv-208          United States
      Scouts of America                                      AMERICA, and TWIN RIVERS                                District Court for
                                                             COUNCIL, BOY SCOUTS OF                                  the Northern
                                                             AMERICA                                                 District of New
                                                                                                                     York
126   Twin Rivers Council, Boy     [Redacted]                [Redacted] v. BOY SCOUTS OF        1:20-cv-00170-GTS-   United States
      Scouts of America                                      AMERICA, and TWIN RIVERS           TWD                  District Court for
                                                             COUNCIL, BOY SCOUTS OF                                  the Northern
                                                             AMERICA                                                 District of New
                                                                                                                     York
127   Twin Rivers Council, Boy     [Redacted]                [Redacted] v. BOY SCOUTS OF        1:20-cv-00175-GTS-   United States
      Scouts of America                                      AMERICA, and TWIN RIVERS           TWD                  District Court for
                                                             COUNCIL, BOY SCOUTS OF                                  the Northern
                                                             AMERICA                                                 District of New
                                                                                                                     York
128   Greater New York             [Redacted]                [Redacted] v. NATIONAL BOY         1:20-cv-1597         United States
      Councils, Inc., Boy Scouts                             SCOUTS OF AMERICA                                       District Court for
      of America; Manhattan                                  FOUNDATION a/k/a THE BOY                                the Southern
      Council, Boy Scouts of                                 SCOUTS OF AMERICA, GREATER                              District of New
      America; Archdiocese of                                NEW YORK COUNCILS, INC., BOY                            York
      New York; Our Lady of                                  SCOUTS OF AMERICA,
      Lourdes Catholic School                                MANHATTAN COUNCIL, BOY
                                                             SCOUTS OF AMERICA,
                                                             ARCHDIOCESE OF NEW YORK and
                                    Case 20-50527-LSS         Doc 107-1   Filed 10/22/20   Page 46 of 165




                                  Underlying Plaintiff(s)
      Non-Debtor Defendants(s)    (last, first)             Case Caption                      Case Number    Court or Agency
                                                            OUR LADY OF LOURDES
                                                            CATHOLIC SCHOOL
129   Greater New York            [Redacted]                [Redacted] v. BOY SCOUTS OF       1:20-cv-1981   United States
      Councils, Boy Scouts of                               AMERICA, and GREATER NEW                         District Court for
      America                                               YORK COUNCILS, BOY SCOUTS OF                     the Southern
                                                            AMERICA                                          District of New
                                                                                                             York
130   Greater New York Council    John Doe                  JOHN DOE v. GREATER NEW YORK      1:20-cv-1403   United States
      of the Boy Scouts of                                  COUNCIL OF THE BOY SCOUTS OF                     District Court for
      America; Ten Miles River                              AMERICA, TEN MILES RIVER                         the Southern
      Scout Camp; Camp                                      SCOUT CAMP, CAMP AQUEHONGA                       District of New
      Aquehonga                                             and BRUCE DeSANDRE                               York
131   Greater New York Council    John Doe                  JOHN DOE v. GREATER NEW YORK      1:20-cv-1526   United States
      of the Boy Scouts of                                  COUNCIL OF THE BOY SCOUTS OF                     District Court for
      America; Big Cross                                    AMERICA and BIG CROSS                            the Southern
      Elementary School                                     ELEMENTARY SCHOOL                                District of New
                                                                                                             York
132   Greater New York Council    John Doe                  JOHN DOE v. GREATER NEW YORK      1:20-cv-1438   United States
      of the Boy Scouts of                                  COUNCIL OF THE BOY SCOUTS OF                     District Court for
      America; Ten Mile River                               AMERICA, TEN MILE RIVER                          the Southern
      Scout Camp; Gary                                      SCOUT CAMP and GARY                              District of New
      Ackerman                                              ACKERMAN                                         York
133   Greater New York            [Redacted]                [Redacted] v. NATIONAL BOY        1:20-cv-1491   United States
      Councils, Boy Scouts of                               SCOUTS OF AMERICA                                District Court for
      America d/b/a Queens                                  FOUNDATION a/k/a THE BOY                         the Southern
      Council; Greater New York                             SCOUTS OF AMERICA; GREATER                       District of New
      Councils, Boy Scouts of                               NEW YORK COUNCILS, BOY                           York
      America; St. Nicholas of                              SCOUTS OF AMERICA d/b/a
      Tolentine; University                                 QUEENS COUNCIL, GREATER NEW
      Heights Presbyterian                                  YORK COUNCILS, BOY SCOUTS OF
      Church; Does 1-5 whose                                AMERICA; ST. NICHOLAS OF
      identities are unknown to                             TOLENTINE; UNIVERSITY
      Plaintiff                                             HEIGHTS PRESBYTERIAN
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                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                          Case Number    Court or Agency
                                                              CHURCH; and DOES 1-5 whose
                                                              identities are unknown to Plaintiff
134   Greater New York              ARK85 Doe                 ARK85 Doe v. NATIONAL BOY             1:20-cv-1455   United States
      Councils, Boy Scouts of                                 SCOUTS OF AMERICA                                    District Court for
      America a/b/a Staten Island                             FOUNDATION a/k/a THE BOY                             the Southern
      Council Boy Scouts of                                   SCOUTS OF AMERICA; GREATER                           District of New
      America, Inc.; St. Teresa                               NEW YORK COUNCILS, BOY                               York
      Parish a/k/a Church of St.                              SCOUTS OF AMERICA d/b/a
      Teresa of the Infant Jesus;                             STATEN ISLAND COUNCIL BOY
      Does 1-5 whose identities                               SCOUTS OF AMERICA, INC.; ST.
      are unknown to Plaintiff                                TERESA PARISH a/k/a CHURCH OF
                                                              ST. TERESA OF THE INFANT JESUS;
                                                              and DOES 1-5 whose identities are
                                                              unknown to Plaintiff
135   Greater New York              ARK99 Doe                 ARK99 DOE v. NATIONAL BOY             1:20-cv-1461   United States
      Councils, Boy Scouts of                                 SCOUTS OF AMERICA                                    District Court for
      America; St. Pius V; Does                               FOUNDATION a/k/a THE BOY                             the Southern
      1-5 whose identities are                                SCOUTS OF AMERICA; GREATER                           District of New
      unknown to Plaintiff                                    NEW YORK COUNCILS, BOY                               York
                                                              SCOUTS OF AMERICA; ST. PIUS V;
                                                              and DOES 1-5 whose identities are
                                                              unknown to Plaintiff
136   Greater New York              ARK100 DOE                ARK100 DOE v. NATIONAL BOY            1:20-cv-1473   United States
      Councils, Boy Scouts of                                 SCOUTS OF AMERICA                                    District Court for
      America a/b/a/ Manhattan                                FOUNDATION a/k/a THE BOY                             the Southern
      Council; Greater New York                               SCOUTS OF AMERICA; GREATER                           District of New
      Councils, Boy Scouts of                                 NEW YORK COUNCILS, BOY                               York
      America; Does 1-5 whose                                 SCOUTS OF AMERICA d/b/a
      identities are unknown to                               MANHATTAN COUNCIL, GREATER
      Plaintiff                                               NEW YORK COUNCILS, BOY
                                                              SCOUTS OF AMERICA; and DOES 1-
                                                              5 whose identities are unknown to
                                                              Plaintiff
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                                   Underlying Plaintiff(s)
      Non-Debtor Defendants(s)     (last, first)             Case Caption                                Case Number    Court or Agency
137   Greater New York             ARK102 Doe                ARK102 DOE v. NATIONAL BOY                  1:20-cv-1474   United States
      Councils, Boy Scouts of                                SCOUTS OF AMERICA                                          District Court for
      America a/b/a Manhattan                                FOUNDATION a/k/a THE BOY                                   the Southern
      Council; Greater New York                              SCOUTS OF AMERICA; GREATER                                 District of New
      Councils, Boy Scouts of                                NEW YORK COUNCILS, BOY                                     York
      America; Big Apple                                     SCOUTS OF AMERICA d/b/a
      District; Greater New York                             MANHATTAN COUNCIL, GREATER
      Councils, Boy Scouts of                                NEW YORK COUNCILS, BOY
      America; Does 1-5 whose                                SCOUTS OF AMERICA; BIG APPLE
      identities are unknown to                              DISTRICT, GREATER NEW YORK
      Plaintiff                                              COUNCILS, BOY SCOUTS OF
                                                             AMERICA; and DOES 1-5 whose
                                                             identities are unknown to Plaintiff
138   Greater New York             ARK103 Doe                ARK103 DOE v. NATIONAL BOY                  1:20-cv-1475   United States
      Councils, Boy Scouts of                                SCOUTS OF AMERICA                                          District Court for
      America a/b/a Brooklyn                                 FOUNDATION a/k/a THE BOY                                   the Southern
      Council, Boy Scouts of                                 SCOUTS OF AMERICA; GREATER                                 District of New
      America; Holy Family                                   NEW YORK COUNCILS, BOY                                     York
      Church; Does 1-5 whose                                 SCOUTS OF AMERICA d/b/a
      identities are unknown to                              BROOKLYN COUNCIL, BOY
      Plaintiff                                              SCOUTS OF AMERICA; HOLY
                                                             FAMILY CHURCH; and DOES 1-5
                                                             whose identities are unknown to Plaintiff
139   Greater New York             ARK104 Doe                ARK104 DOE v. NATIONAL BOY                  1:20-cv-1476   United States
      Councils, Boy Scouts of                                SCOUTS OF AMERICA                                          District Court for
      America a/k/a Greater New                              FOUNDATION a/k/a THE BOY                                   the Southern
      York City Councils; Bronx                              SCOUTS OF AMERICA; GREATER                                 District of New
      Council a/k/a and d/b/a                                NEW YORK COUNCILS, BOY                                     York
      Bronx Council, Boy Scouts                              SCOUTS OF AMERICA a/k/a
      of America; Ten Mile River                             GREATER NEW YORK CITY
      Scout Camps, Boy Scouts                                COUNCILS, BRONX COUNCIL a/k/a
      of America a/k/a Ten Mile                              and d/b/a BRONX COUNCIL, BOY
      River Scout Camps; Alpine                              SCOUTS OF AMERICA; TEN MILE
      Scout Camp a/k/a Alpine                                RIVER SCOUT CAMPS, BOY
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                                  Underlying Plaintiff(s)
      Non-Debtor Defendants(s)    (last, first)             Case Caption                        Case Number    Court or Agency
      Scout Camp, Boy Scouts of                             SCOUTS OF AMERICA a/k/a TEN
      America; Patrick A.                                   MILE RIVER SCOUT CAMPS;
      Mancuso; Does 1-5 whose                               ALPINE SCOUT CAMP a/k/a ALPINE
      identities are unknown to                             SCOUT CAMP, BOY SCOUTS OF
      Plaintiff                                             AMERICA; PATRICK A. MANCUSO;
                                                            and DOES 1-5 whose identities are
                                                            unknown to Plaintiff
140   Greater New York Councils   [Redacted]                [Redacted] v. BOY SCOUTS OF         1:20-cv-1492   United States
                                                            AMERICA and GREATER NEW                            District Court for
                                                            YORK COUNCILS                                      the Southern
                                                                                                               District of New
                                                                                                               York
141   Greater New York            [Redacted]                [Redacted] v. BOY SCOUTS OF         1:20-cv-1494   United States
      Councils, Boy Scouts of                               AMERICA, GREATER NEW YORK                          District Court for
      America; Manhattan                                    COUNCILS, BOY SOUTS OF                             the Southern
      Council, Boy Scouts of                                AMERICA, and MANHATTAN                             District of New
      America                                               COUNCIL, BOY SCOUTS OF                             York
                                                            AMERICA
142   Greater New York            [Redacted]                [Redacted] v. BOY SCOUTS OF         1:20-cv-1495   United States
      Councils, Boy Scouts of                               AMERICA, and GREATER NEW                           District Court for
      America                                               YORK COUNCILS, BOY SCOUTS OF                       the Southern
                                                            AMERICA                                            District of New
                                                                                                               York
143   Greater New York            [Redacted]                [Redacted] v. BOY SCOUTS OF         1:20-cv-1478   United States
      Councils, Boy Scouts of                               AMERICA, and GREATER NEW                           District Court for
      America                                               YORK COUNCILS, BOY SCOUTS OF                       the Southern
                                                            AMERICA                                            District of New
                                                                                                               York
144   Greater New York            [Redacted]                [Redacted] v. BOY SCOUTS OF         1:20-cv-1503   United States
      Councils, Boy Scouts of                               AMERICA, and GREATER NEW                           District Court for
      America                                               YORK COUNCILS, BOY SCOUTS OF                       the Southern
                                                            AMERICA                                            District of New
                                                                                                               York
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                                 Underlying Plaintiff(s)
      Non-Debtor Defendants(s)   (last, first)             Case Caption                       Case Number    Court or Agency
145   Greater New York           [Redacted]                [Redacted] v. BOY SCOUTS OF        1:20-cv-1506   United States
      Councils, Boy Scouts of                              AMERICA, and GREATER NEW                          District Court for
      America                                              YORK COUNCILS, BOY SCOUTS OF                      the Southern
                                                           AMERICA                                           District of New
                                                                                                             York
146   Greater New York           [Redacted]                [Redacted] v. BOY SCOUTS OF        1:20-cv-1512   United States
      Councils, Boy Scouts of                              AMERICA, and GREATER NEW                          District Court for
      America                                              YORK COUNCILS, BOY SCOUTS OF                      the Southern
                                                           AMERICA                                           District of New
                                                                                                             York
147   Greater New York           [Redacted]                [Redacted] v. BOY SCOUTS OF        1:20-cv-1514   United States
      Councils, Boy Scouts of                              AMERICA, and GREATER NEW                          District Court for
      America                                              YORK COUNCILS, BOY SCOUTS OF                      the Southern
                                                           AMERICA                                           District of New
                                                                                                             York
148   Greater New York           [Redacted]                [Redacted] v. BOY SCOUTS OF        1:20-cv-1517   United States
      Councils, Boy Scouts of                              AMERICA, and GREATER NEW                          District Court for
      America                                              YORK COUNCILS, BOY SCOUTS OF                      the Southern
                                                           AMERICA                                           District of New
                                                                                                             York
149   N/A                        [Redacted]                [Redacted] v. BOY SCOUTS OF        1:20-cv-1519   United States
                                                           AMERICA                                           District Court for
                                                                                                             the Southern
                                                                                                             District of New
                                                                                                             York
150   Greater New York           [Redacted]                [Redacted] v. BOY SCOUTS OF        1:20-cv-1539   United States
      Councils, Boy Scouts of                              AMERICA, and GREATER NEW                          District Court for
      America                                              YORK COUNCILS, BOY SCOUTS OF                      the Southern
                                                           AMERICA                                           District of New
                                                                                                             York
151   Roman Catholic             [Redacted]                [Redacted] v. ROMAN CATHOLIC       1:20-cv-1531   United States
      Archdiocese of New York;                             ARCHDIOCESE OF NEW YORK,                          District Court for
      Archdiocese of New York;                             ARCHDIOCESE OF NEW YORK,                          the Southern
      Regis High School; USA                               REGIS HIGH SCHOOL, USA
                                      Case 20-50527-LSS         Doc 107-1     Filed 10/22/20   Page 51 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                          Case Number     Court or Agency
      Northeast Province of the                               NORTHEAST PROVINCE OF THE                             District of New
      Society of Jesus; The Boy                               SOCIETY OF JESUS, THE BOY                             York
      Scouts of America Greater                               SCOUTS OF AMERICA, THE BOY
      New York Councils;                                      SCOUTS OF AMERICA GREATER
      Brooklyn Council; Ten                                   NEW YORK COUNCILS,
      Mile River Scout Camp                                   BROOKLYN COUNCIL AND TEN
                                                              MILE RIVER SCOUT CAMP
152   Greater New York              [Redacted]                [Redacted] v. BOY SCOUTS OF           1:20-cv-1538    United States
      Councils, Boy Scouts of                                 AMERICA, and GREATER NEW                              District Court for
      America                                                 YORK COUNCILS, BOY SCOUTS OF                          the Southern
                                                              AMERICA                                               District of New
                                                                                                                    York
153   Greater New York              [Redacted]                [Redacted] v. NATIONAL BOY            1:20-cv-1541    United States
      Councils, Boy Scouts of                                 SCOUTS OF AMERICA                                     District Court for
      America; Ten Mile River                                 FOUNDATION a/k/a THE BOY                              the Southern
      Scout Camps a/k/a Ten                                   SCOUTS OF AMERICA; GREATER                            District of New
      Mile River Scout Camps,                                 NEW YORK COUNCILS, BOY                                York
      Boy Scouts of America;                                  SCOUTS OF AMERICA; TEN MILE
      Does 1-5 whose identifies                               RIVER SCOUT CAMPS a/k/a TEN
      are unknown to Plaintiff                                MILE RIVER SCOUT CAMPS, BOY
                                                              SCOUTS OF AMERICA; and DOES 1-
                                                              5 whose identifies are unknown to
                                                              Plaintiff
154   The Diocese of Rochester      [Redacted]                [Redacted] v. THE DIOCESE OF          1:20-cv-00219   United States
      (a/k/a “Roman Catholic                                  ROCHESTER (a/k/a "Roman Catholic                      District Court for
      Diocese of Rochester”);                                 Diocese of Rochester"), a religious                   the Western
      Roman Catholic Parish of                                corporation; ROMAN CATHOLIC                           District of New
      St. Frances Xavier Cabrini,                             PARISH OF ST. FRANCES XAVIER                          York
      Rochester NY (formerly                                  CABRINI, ROCHESTER NY (formerly
      “Church of the                                          "Church of the Annunciation of
      Annunciation of Rochester,                              Rochester, New York"), a religious
      New York”); The Seneca                                  corporation, THE NATIONAL BOY
      Waterways Council, Inc.,                                SCOUTS OF AMERICA
      Boy Scouts of America                                   FOUNDATION d/b/a THE BOY
                                      Case 20-50527-LSS         Doc 107-1    Filed 10/22/20    Page 52 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                          Case Number          Court or Agency
                                                              SCOUTS OF AMERICA; and THE
                                                              SENECA WATERWAYS COUNCIL,
                                                              INC., BOY SCOUTS OF AMERICA
155   Seneca Waterways Council,     [Redacted]                [Redacted] v. BOY SCOUTS OF           6:20-cv-06104        United States
      Boy Scouts of America                                   AMERICA, and SENECA                                        District Court for
                                                              WATERWAYS COUNCIL, BOY                                     the Western
                                                              SCOUTS OF AMERICA                                          District of New
                                                                                                                         York
156   Seneca Waterways Council,     [Redacted]                [Redacted] v. BOY SCOUTS OF           1:20-cv-00213        United States
      Boy Scouts of America                                   AMERICA, and SENECA                                        District Court for
                                                              WATERWAYS COUNCIL, BOY                                     the Western
                                                              SCOUTS OF AMERICA                                          District of New
                                                                                                                         York
157   Longhouse Council, Inc.,      [Redacted]                [Redacted] v. THE BOY SCOUTS OF       5:20-cv-186          United States
      Boy Scouts of America;                                  AMERICA; LONGHOUSE COUNCIL,                                District Court for
      Weedsport Central School                                INC., BOY SCOUTS OF AMERICA;                               the Northern
      District; Weedsport Central                             WEEDSPORT CENTRAL SCHOOL                                   District of New
      School District Board of                                DISTRICT; WEEDSPORT CENTRAL                                York
      Education; Does 1-5 whose                               SCHOOL DISTRICT BOARD OF
      identifies are unknown to                               EDUCATION; and DOES 1-5 whose
      Plaintiff                                               identifies are unknown to Plaintiff
158   Twin Rivers Council, Inc.,    [Redacted]                [Redacted] v. BOY SCOUTS OF           1:20-cv-00174-GTS-   United States
      Boy Scouts of America;                                  AMERICA; TWIN RIVERS                  TWD                  District Court for
      Governor Clinton Council,                               COUNCIL, INC., BOY SCOUTS OF                               the Northern
      Inc., Boy Scouts of                                     AMERICA; and GOVERNOR                                      District of New
      America                                                 CLINTON COUNCIL, INC., BOY                                 York
                                                              SCOUTS OF AMERICA
159   Twin Rivers Council, Inc.,    John Doe                  JOHN DOE v. BOY SCOUTS OF             1:20-cv-211          United States
      Boy Scouts of America;                                  AMERICA, TWIN RIVERS COUNCIL,                              District Court for
      Glens Falls City School                                 INC., BOY SCOUTS OF AMERICA,                               the Northern
      District                                                and GLENS FALLS CITY SCHOOL                                District of New
                                                              DISTRICT                                                   York
                                      Case 20-50527-LSS         Doc 107-1   Filed 10/22/20   Page 53 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                      Case Number          Court or Agency
160   Leatherstocking Council       [Redacted]                [Redacted] v. BOY SCOUTS OF       6:20-cv-182          United States
                                                              AMERICA and LEATHERSTOCKING                            District Court for
                                                              COUNCIL                                                the Northern
                                                                                                                     District of New
                                                                                                                     York
161   Baden-Powell Council, Boy     [Redacted]                [Redacted] v. BOY SCOUTS OF       3:20-cv-164          United States
      Scouts of America                                       AMERICA, and BADEN-POWELL                              District Court for
                                                              COUNCIL, BOY SCOUTS OF                                 the Northern
                                                              AMERICA                                                District of New
                                                                                                                     York
162   Leatherstocking Council,      [Redacted]                [Redacted] v. BOY SCOUTS OF       6:20-cv-00169-GTS-   United States
      Boy Scouts of America                                   AMERICA, and LEATHERSTOCKING      TWD                  District Court for
                                                              COUNCIL, BOY SCOUTS OF                                 the Northern
                                                              AMERICA                                                District of New
                                                                                                                     York
163   The Roman Catholic            [Redacted]                [Redacted] v. THE ROMAN           3:20-cv-212          United States
      Diocese of Syracuse, NY;                                CATHOLIC DIOCESE OF                                    District Court for
      St. Catherine’s Roman                                   SYRACUSE, NY; ST. CATHERINE'S                          the Northern
      Catholic Church; St.                                    ROMAN CATHOLIC CHURCH; ST.                             District of New
      Catherine’s Roman                                       CATHERINE'S ROMAN CATHOLIC                             York
      Catholic Church School; St.                             CHURCH SCHOOL; ST. FRANCIS OF
      Francis of Assisi Roman                                 ASSISI ROMAN CATHOLIC
      Catholic Church;                                        CHURCH; SUSQUENANGO
      Susquenango Council, Boy                                COUNCIL, BOY SCOUTS OF
      Scouts of America, Inc.;                                AMERICA, INC; and BADEN-
      Baden-Powell Council, Inc.,                             POWELL COUNCIL, INC., BOY
      Boy Scouts of America                                   SCOUTS OF AMERICA
164   Susquenango Council, Boy      SHC-MG-4 Doe              SHC-MG-4 DOE v. DAVID A.          3:20-cv-192          United States
      Scouts of America, Inc.;                                DECLUE, a/k/a DAVID DECLUE;                            District Court for
      Baden-Powell Council, Inc.,                             SUSQUENANGO COUNCIL, BOY                               the Northern
      Boy Scouts of America;                                  SCOUTS OF AMERICA, INC.;                               District of New
      David A. Declue, a/k/a                                  BADEN-POWELL COUNCIL, INC.,                            York
      David Declue                                            BOY SCOUTS OF AMERICA; AND
                                                              BOY SCOUTS OF AMERICA, a/k/a
                                      Case 20-50527-LSS         Doc 107-1       Filed 10/22/20      Page 54 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                               Case Number       Court or Agency
                                                              NATIONAL BOY SCOUTS OF
                                                              AMERICA FOUNDATION, a/k/a BOY
                                                              SCOUTS OF AMERICA, CORP.
165   Allegheny Highlands           [Redacted]                [Redacted] v. Allegheny Highlands          1:20-cv-00215     United States
      Council, Inc.; Donald C.                                Council, Inc., Donald C. Shriver, and                        District Court for
      Shriver                                                 Boy Scouts of America, Inc.                                  the Western
                                                                                                                           District of New
                                                                                                                           York
166   Leatherstocking Council of    [Redacted]                [Redacted] v. BOY SCOUTS OF                EFCA2020-000266   Supreme Court of
      the Boy Scouts of America;                              AMERICA, LEATHERSTOCKING                                     the State of New
      Mohawk District of the                                  COUNCIL OF THE BOY SCOUTS OF                                 York, County of
      Northern New York Annual                                AMERICA, and MOHAWK DISTRICT                                 Oneida
      Conference of the                                       OF THE NORTHERN NEW YORK
      Methodist Episcopal                                     ANNUAL CONFERENCE OF THE
      Church of New York                                      METHODIST EPISCOPAL CHURCH
                                                              OF NEW YORK
167   Oregon Trail Council, Inc.,   [Redacted]                [Redacted] v. THE BOY SCOUTS OF            20-03017          United States
      Boy Scouts of America;                                  AMERICA, a congressionally chartered                         Bankruptcy Court
      Learning for Life                                       corporation; OREGON TRAIL                                    for the District of
                                                              COUNCIL, INC., BOY SCOUTS OF                                 Oregon, Eugene
                                                              AMERICA, an Oregon non-profit                                Division
                                                              corporation; and LEARNING FOR
                                                              LIFE, a District of Columbia non-profit
                                                              corporation
168   Cascade Pacific Council,      [Redacted]                [Redacted] v. THE BOY SCOUTS OF            20-03014-tmb      United States
      Boy Scouts of America                                   AMERICA, a congressionally chartered                         Bankruptcy Court
                                                              corporation authorized to do business in                     for the District of
                                                              Oregon; and CASCADE PACIFIC                                  Oregon
                                                              COUNCIL, BOY SCOUTS OF
                                                              AMERICA, an Oregon nonprofit
                                                              corporation
169   Cascade Pacific Council,      [Redacted]                [Redacted] v. THE BOY SCOUTS OF            20-03018          United States
      Boy Scouts of America                                   AMERICA, a congressionally chartered                         Bankruptcy Court
                                                              corporation authorized to do business in                     for the District of
                                   Case 20-50527-LSS         Doc 107-1       Filed 10/22/20     Page 55 of 165




                                 Underlying Plaintiff(s)
      Non-Debtor Defendants(s)   (last, first)             Case Caption                               Case Number    Court or Agency
                                                           Oregon; and CASCADE PACIFIC                               Oregon, Eugene
                                                           COUNCIL, BOY SCOUTS OF                                    Division
                                                           AMERICA, an Oregon nonprofit
                                                           corporation
170   Cascade Pacific Council,   Mark Doe                  MARK DOE, an individual proceeding         20-03022       United States
      Boy Scouts of America                                under a fictitious name v. THE BOY                        Bankruptcy Court
                                                           SCOUTS OF AMERICA, a                                      for the District of
                                                           congressionally chartered corporation                     Oregon
                                                           authorized to do business in Oregon; and
                                                           CASCADE PACIFIC COUNCIL, BOY
                                                           SCOUTS OF AMERICA, an Oregon
                                                           nonprofit corporation
171   Cascade Pacific Council,   Julie Doe, an adult       JULIE DOE, an adult proceeding under       20-03019-tmb   United States
      Boy Scouts of America      proceeding under a        a pseudonym, as Guardian Ad Litem for                     Bankruptcy Court
                                 pseudonym, as Guardian    TRAVIS DOE, a minor proceeding                            for the District of
                                 Ad Litem for Travis       under a pseudonym v. BOY SCOUTS                           Oregon
                                 Doe, a minor proceeding   OF AMERICA, a Congressionally
                                 under a pseudonym         Chartered Corporation, authorized to do
                                                           business in Oregon; and CASCADE
                                                           PACIFIC COUNCIL, BOY SCOUTS
                                                           OF AMERICA, an Oregon Non-Profit
                                                           Corporation
172   Cascade Pacific Council,   [Redacted]                [Redacted] v. THE BOY SCOUTS OF            20-03013       United States
      Boy Scouts of America                                AMERICA, a congressionally chartered                      Bankruptcy Court
                                                           corporation authorized to do business in                  for the District of
                                                           Oregon; and CASCADE PACIFIC                               Oregon
                                                           COUNCIL, BOY SCOUTS OF
                                                           AMERICA, an Oregon nonprofit
                                                           corporation
173   Cascade Pacific Council,   [Redacted]                [Redacted] v. BOY SCOUTS OF                20-03020-tmb   United States
      Boy Scouts of America                                AMERICA, a Congressionally                                Bankruptcy Court
                                                           Chartered Corporation, authorized to do                   for the District of
                                                           business in Oregon; and CASCADE                           Oregon
                                                           PACIFIC COUNCIL, BOY SCOUTS
                                     Case 20-50527-LSS         Doc 107-1       Filed 10/22/20     Page 56 of 165




                                   Underlying Plaintiff(s)
      Non-Debtor Defendants(s)     (last, first)             Case Caption                              Case Number   Court or Agency
                                                             OF AMERICA, an Oregon Non-Profit
                                                             Corporation
174   Cascade Pacific Council,     Andrew Doe, an adult      ANDREW DOE, an adult proceeding           20-03023      United States
      Boy Scouts of America        proceeding under a        under a pseudonym, as Guardian Ad                       Bankruptcy Court
                                   pseudonym, as Guardian    Litem for BRIAN DOE and CARL                            for the District of
                                   Ad Litem for Brian Doe    DOE, minors proceeding under                            Oregon
                                   and Carl Doe, minors      pseudonyms v. BOY SCOUTS OF
                                   proceeding under          AMERICA, a Congressionally
                                   pseudonyms                Chartered Corporation, authorized to do
                                                             business in Oregon; and CASCADE
                                                             PACIFIC COUNCIL, BOY SCOUTS
                                                             OF AMERICA, an Oregon Non-Profit
                                                             Corporation
175   Oregon Trail Council, Boy    Franklin Doe              FRANKLIN DOE, proceeding under a          20-03021      United States
      Scouts of America                                      pseudonym v. BOY SCOUTS OF                              Bankruptcy Court
                                                             AMERICA, a Congressionally                              for the District of
                                                             Chartered Corporation, authorized to do                 Oregon
                                                             business in Oregon; and OREGON
                                                             TRAIL COUNCIL, BOY SCOUTS OF
                                                             AMERICA, an Oregon Non-Profit
                                                             Corporation
176   Penn Mountains Council,      [Redacted]                [Redacted] v. BOY SCOUTS OF               2:20-cv-904   United States
      Boy Scouts of America;                                 AMERICA and PENN MOUNTAINS                              District Court for
      Paul Antosh                                            COUNCIL, BOY SCOUTS OF                                  the Eastern District
                                                             AMERICA and PAUL ANTOSH                                 of Pennsylvania
177   Cradle of Liberty Council,   [Redacted]                [Redacted] v. BOY SCOUTS OF               1908-00955    In the Court of
      Inc., Boy Scouts of                                    AMERICA, CRADLE OF LIBERTY                              Common Pleas of
      America; Michael Forbes;                               COUNCIL, INC., BOY SCOUTS OF                            Philadelphia
      William Thomas Forbes                                  AMERICA, MICHAEL FORBES, and                            County
                                                             WILLIAM THOMAS FORBES
178   Hawk Mountain Council,       [Redacted]                [Redacted] v. BOY SCOUTS OF               5:20-cv-903   United States
      Inc., Boy Scouts of                                    AMERICA; HAWK MOUNTAIN                                  District Court for
      America d/b/a Pack 0315;                               COUNCIL, INC., BOY SCOUTS OF                            the Eastern District
                                                             AMERICA d/b/a PACK 0315;                                of Pennsylvania
                                     Case 20-50527-LSS         Doc 107-1       Filed 10/22/20      Page 57 of 165




                                   Underlying Plaintiff(s)
      Non-Debtor Defendants(s) (last, first)                 Case Caption                               Case Number     Court or Agency
      Reformation Lutheran                                   REFORMATION LUTHERAN
      Church; C.P.                                           CHURCH; and C.P.
179   Corporation of the President John Doe C.J.             JOHN DOE C.J. v. CORPORATION               190700977       Second District
      of the Church of Jesus                                 OF THE PRESIDENT OF THE                                    Court, Davis
      Christ of Latter-Day Saints;                           CHURCH of JESUS CHRIST OF                                  County
      Great Salt Lake Council,                               LATTER-DAY SAINTS; BOY
      BSA; Thomas M.                                         SCOUTS OF AMERICA, a federally-
      Thackeray                                              chartered nonprofit corporation; GREAT
                                                             SALT LAKE COUNCIL, BSA, a Utah
                                                             nonprofit corporation; THOMAS M.
                                                             THACKERAY, an individual
180   Heart of Virginia Council,   [Redacted]                [Redacted] v. Heart of Virginia Council,   3:20-cv-00108   United States
      Inc., Boy Scouts of                                    Inc., Boy Scouts of America and Boy                        District Court for
      America                                                Scouts of America                                          the Eastern District
                                                                                                                        of Virginia,
                                                                                                                        Richmond
                                                                                                                        Division
181   Blue Ridge Mountains         [Redacted]                [Redacted] v. SAMUEL ROCHE,                3:20-cv-00111   United States
      Council, Inc., Boy Scouts of                           MADISON OSBORNE, THOMAS                                    District Court for
      America; First Baptist                                 SCOTT, BLUE RIDGE MOUNTAINS                                the Eastern District
      Church of Danville d/b/a                               COUNCIL, INCORPORATED, BOY                                 of Virginia,
      Boy Scouts Troop 354;                                  SCOUTS OF AMERICA, and FIRST                               Richmond
      Samuel Roche; Madison                                  BAPTIST CHURCH OF DANVILLE                                 Division
      Osborne; Thomas Scott                                  d/b/a BOY SCOUT TROOP 354
182   Evergreen Area Council,      [Redacted]                [Redacted] v. BOY SCOUTS OF                2:20-cv-00249   United States
      Boy Scouts of America,                                 AMERICA, a congressionally chartered                       District Court for
      n/k/a Mount Baker Council,                             corporation authorized to do business in                   the Western
      Boy Scouts of America                                  the State of Washington; EVERGREEN                         District of
                                                             AREA COUNCIL, BOY SCOUTS OF                                Washington at
                                                             AMERICA, n/k/a MOUNT BAKER                                 Seattle
                                                             COUNCIL, BOY SCOUTS OF
                                                             AMERICA
183   Chief Seattle Council, Boy   [Redacted]                [Redacted] v. BOY SCOUTS OF                2:20-cv-00250   United States
      Scouts of America                                      AMERICA, a congressionally chartered                       District Court for
                                      Case 20-50527-LSS          Doc 107-1      Filed 10/22/20       Page 58 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                                Case Number     Court or Agency
                                                              corporation authorized to do business in                    the Western
                                                              the State of Washington; CHIEF                              District of
                                                              SEATTLE COUNCIL, BOY SCOUTS                                 Washington at
                                                              OF AMERICA, a Washington nonprofit                          Seattle
                                                              corporation
184   Evergreen Area Council,       [Redacted]                [Redacted] v. BOY SCOUTS OF                 2:20-cv-00251   United States
      Boy Scouts of America,                                  AMERICA, a congressionally chartered                        District Court for
      n/k/a Mount Baker Council,                              corporation authorized to do business in                    the Western
      Boy Scouts of America                                   the State of Washington; EVERGREEN                          District of
                                                              AREA COUNCIL, BOY SCOUTS OF                                 Washington at
                                                              AMERICA, n/k/a MOUNT BAKER                                  Seattle
                                                              COUNCIL, BOY SCOUTS OF
                                                              AMERICA, a Washington nonprofit
                                                              corporation
185   Quapaw Area Council           [Redacted]                [Redacted] v. Boy Scouts of America,        4:19-cv-00847   United States
      Incorporated of the Boy                                 and Quapaw Area Council Incorporated                        District Court for
      Scouts of America                                       of the Boy Scouts of America                                the Eastern District
                                                                                                                          of Arkansas, Little
                                                                                                                          Rock Division
186   N/A                           John Does 1-8.            JOHN DOES 1-8 v. BOY SCOUTS OF              1:20-CV-00017   United States
                                                              AMERICA, a congressionally chartered                        District Court for
                                                              corporation domiciled in the District of                    the District of
                                                              Columbia                                                    Columbia
187   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:19-cv-00010   United States
      Aloha Counsel Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Louis Brouillard,                             Corporation sole; BOY SCOUTS OF                             the District of
      an individual, Doe Entites                              AMERICA, a congressionally chartered                        Guam
      1-5; and Doe Individuals 6-                             corporation, authorized to do business in
      50, inclusive                                           Guam; BOY SCOUTS OF AMERICA
                                                              ALOHA COUNSEL CHAMORRO
                                                              DISTRICT; LOUIS BROUILLARD, an
                                                              individual, DOE ENTITES 1-5; and
                                                              DOE INDIVIDUALS 6-50, inclusive
                                      Case 20-50527-LSS          Doc 107-1      Filed 10/22/20       Page 59 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                                Case Number     Court or Agency
188   Roman Catholic                [Redacted]                [Redacted] v. Roman Catholic                1:19-cv-00083   United States
      Archbishop Of Agana;                                    Archbishop Of Agana, A Corporation                          District Court for
      Andrew Mannetta, An                                     Sole; Boy Scouts Of America, A                              the District of
      Individual; Doe Entities 1-                             Congressionally Chartered Corporation                       Guam
      5; Doe Individuals 6-10,                                Authorized To Do Business In Guam;
      Inclusive                                               Andrew Mannetta, An Individual; Doe
                                                              Entities 1-5; Doe Individuals 6-10,
                                                              Inclusive
189   Boy Scouts of America         [Redacted]                [Redacted] v. Roman Catholic                1:19-cv-00067   United States
      Aloha Council Chamorro                                  Archbishop Of Agana, A Corporation                          District Court for
      District; Doe Entities 1-5;                             Sole; Boy Scouts Of America, A                              the District of
      Doe Individuals 6-50;                                   Congressionally Chartered Corporation                       Guam
      Roman Catholic                                          Authorized To Do Business In Guam;
      Archbishop Of Agana                                     Boy Scouts Of America Aloha Council
                                                              Chamorro District; Doe Entities 1-5;
                                                              Doe Individuals 6-50
190   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00088   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Discalced                                     Corporation sole; BOY SCOUTS OF                             the District of
      Carmelite Nuns (O.C.D.)                                 AMERICA, a congressionally chartered                        Guam
      a.k.a. Order of Discalced                               corporation, authorized to do business in
      Carmelites; Carmel of the                               Guam; BOY SCOUTS OF AMERICA
      Immaculate Concepcion;                                  ALOHA COUNCIL CHAMORRO
      Roman Catholic                                          DISTRICT; LOUIS BROUILLARD, an
      Archbishop Of Agana;                                    individual; DISCALCED CARMELITE
      Louis Brouillard                                        NUNS (O.C.D.) a.k.a. ORDER OF
      Doe Entities 1-5; and Doe-                              DISCALCED CARMELITES;
      Individuals 6-48, inclusive                             CARMEL OF THE IMMACULATE
                                                              CONCEPCION; DOE ENTITIES 1-5;
                                                              and DOE-INDIVIDUALS 6-48,
                                                              inclusive
191   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00036   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF
                                      Case 20-50527-LSS          Doc 107-1      Filed 10/22/20       Page 60 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                                Case Number     Court or Agency
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        the District of
      Louis Brouillard, an                                    corporation, authorized to do business in                   Guam
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
192   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00004   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard an                                     corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD,
                                                              and individual; DOE ENTITIES 1-5;
                                                              and DOE-INDIVIDUALS 6-50,
                                                              inclusive
193   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00042   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Discalced                                     Corporation sole; BOY SCOUTS OF                             the District of
      Carmelite Nuns (O.C.D.)                                 AMERICA, a congressionally chartered                        Guam
      a.k.a. Order of Discalced                               corporation, authorized to do business in
      Carmelites; Carmel of the                               Guam; BOY SCOUTS OF AMERICA
      Immaculate Concepcion;                                  ALOHA COUNCIL CHAMORRO
      Roman Catholic                                          DISTRICT; LOUIS BROUILLARD, an
      Archbishop Of Agana;                                    individual; DISCALCED CARMELITE
      Louis Brouillard;                                       NUNS (O.C.D.) a.k.a. ORDER OF
      Doe Entities 1-5; and Doe-                              DISCALCED CARMELITES;
      Individuals 6-48, inclusive                             CARMEL OF THE IMMACULATE
                                                              CONCEPCION; DOE ENTITIES 1-5;
                                                              and DOE-INDIVIDUALS 6-48,
                                                              inclusive
                                      Case 20-50527-LSS         Doc 107-1       Filed 10/22/20       Page 61 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                                Case Number     Court or Agency
194   Capuchin Franciscans;         [Redacted]                [Redacted] v. CAPUCHIN                      1:19-cv-00116   United States
      Capuchin Franciscans,                                   FRANCISCANS; CAPUCHIN                                       District Court for
      Province of St. Mary;                                   FRANCISCANS, PROVINCE OF ST.                                the District of
      Capuchin Franciscans                                    MARY; CAPUCHIN FRANCISCANS                                  Guam
      Custody of Star of the Sea;                             CUSTODY OF STAR OF THE SEA;
      Boy Scouts of America                                   BOY SCOUTS OF AMERICA, a
      Aloha Counsel Chamorro                                  congressionally chartered corporation,
      District; Doe Entities 1-5;                             authorized to do business in Guam;
      and Doe-Individuals 6-50,                               BOY SCOUTS OF AMERICA ALOHA
      inclusive                                               COUNSEL CHAMORRO DISTRICT;
                                                              DOE ENTITIES 1-5; and DOE-
                                                              INDIVIDUALS 6-50, inclusive
195   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00022   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard;                                       corporation, authorized to do business in
      Doe Entities 1-5; and Doe                               Guam; BOY SCOUTS OF AMERICA
      Individuals 6-50, inclusive                             ALOHA COUNCIL CHAMORRO
                                                              DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE INDIVIDUALS 6-50, inclusive
196   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00005   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
197   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00024   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
                                      Case 20-50527-LSS          Doc 107-1      Filed 10/22/20       Page 62 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                                Case Number     Court or Agency
      District; Discalced                                     Corporation sole; BOY SCOUTS OF                             the District of
      Carmelite Nuns (O.C.D.)                                 AMERICA, a congressionally chartered                        Guam
      a.k.a. Order of Discalced                               corporation, authorized to do business in
      Carmelites; Carmel of the                               Guam; BOY SCOUTS OF AMERICA
      Immaculate Conception;                                  ALOHA COUNCIL CHAMORRO
      Roman Catholic                                          DISTRICT; LOUIS BROUILLARD, an
      Archbishop Of Agana;                                    individual; DISCALCED CARMELITE
      Louis Brouillard, an                                    NUNS (O.C.D.) a.k.a. ORDER OF
      individual; Doe Entities 1-                             DISCALCED CARMELITES;
      5; and Doe-Individuals 6-                               CARMEL OF THE IMMACULATE
      48, inclusive                                           CONCEPTION; DOE ENTITIES 1-5;
                                                              and DOE-INDIVIDUALS 6-48,
                                                              inclusive
198   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00129   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
199   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00125   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
                                      Case 20-50527-LSS          Doc 107-1      Filed 10/22/20       Page 63 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                                Case Number     Court or Agency
200   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00107   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD,
                                                              and individual; DOE ENTITIES 1-5;
                                                              and DOE-INDIVIDUALS 6-50,
                                                              inclusive
201   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00046   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD,
                                                              and individual; DOE ENTITIES 1-5;
                                                              and DOE-INDIVIDUALS 6-50,
                                                              inclusive
202   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00048   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Discalced                                     Corporation sole; BOY SCOUTS OF                             the District of
      Carmelite Nuns (O.C.D.)                                 AMERICA, a congressionally chartered                        Guam
      a.k.a. Order of Discalced                               corporation, authorized to do business in
      Carmelites; Carmel of the                               Guam; BOY SCOUTS OF AMERICA
      Immaculate Conception;                                  ALOHA COUNCIL CHAMORRO
      Roman Catholic                                          DISTRICT; LOUIS BROUILLARD, an
      Archbishop Of Agana;                                    individual; DISCALCED CARMELITE
      Louis Brouillard, an                                    NUNS (O.C.D.) a.k.a. ORDER OF
      individual; Doe Entities 1-                             DISCALCED CARMELITES;
                                                              CARMEL OF THE IMMACULATE
                                      Case 20-50527-LSS          Doc 107-1      Filed 10/22/20       Page 64 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                                Case Number     Court or Agency
      5; and Doe-Individuals 6-                               CONCEPCION; DOE ENTITIES 1-5;
      48, inclusive                                           and DOE-INDIVIDUALS 6-48,
                                                              inclusive
203   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00035   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE INDIVIDUALS 6-50, inclusive
204   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00006   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
205   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00020   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Tomas A.                                    Guam; BOY SCOUTS OF AMERICA
      Camacho, an individual;                                 ALOHA COUNCIL CHAMORRO
      Doe Entities 1-5; and Doe-                              DISTRICT; TOMAS A. CAMACHO,
      Individuals 6-50, inclusive                             an individual, LOUIS BROUILLARD,
                                                              an individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
                                      Case 20-50527-LSS          Doc 107-1      Filed 10/22/20       Page 65 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                                Case Number     Court or Agency
206   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00049   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
207   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00023   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
208   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-CV-00101   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual, DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
209   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00098   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
                                      Case 20-50527-LSS          Doc 107-1      Filed 10/22/20       Page 66 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                                Case Number     Court or Agency
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOES ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
210   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00037   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
211   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00100   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
212   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00057   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                      Case 20-50527-LSS          Doc 107-1      Filed 10/22/20       Page 67 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                                Case Number     Court or Agency
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
213   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00021   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
214   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00025   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
215   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00019   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
216   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00077   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
                                       Case 20-50527-LSS         Doc 107-1       Filed 10/22/20       Page 68 of 165




                                     Underlying Plaintiff(s)
      Non-Debtor Defendants(s)       (last, first)             Case Caption                                Case Number     Court or Agency
      District; Roman Catholic                                 Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                     AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                     corporation, authorized to do business in
      individual; Doe Entities 1-                              Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                                ALOHA COUNCIL CHAMORRO
      50, inclusive                                            DISTRICT; LOUIS BROUILLARD, an
                                                               individual; DOE ENTITIES 1-5; and
                                                               DOE-INDIVIDUALS 6-50, inclusive
217   Boy Scouts of America          [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00087   United States
      Aloha Council Chamorro                                   ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                 Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                     AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                     corporation, authorized to do business in
      individual; Doe Entities 1-                              Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                                ALOHA COUNCIL CHAMORRO
      50, inclusive                                            DISTRICT; LOUIS BROUILLARD, an
                                                               individual; DOE ENTITIES 1-5; and
                                                               DOE-INDIVIDUALS 6-50, inclusive
218   Capuchin Franciscans;          [Redacted]                [Redacted] v. CAPUCHIN                      1:19-cv-00118   United States
      Capuchin Franciscans,                                    FRANCISCANS; CAPUCHIN                                       District Court for
      Province of St. Mary;                                    FRANCISCANS, PROVINCE OF ST.                                the District of
      Capuchin Franciscans                                     MARY; CAPUCHIN FRANCISCANS                                  Guam
      Custody of Star of the Sea;                              CUSTODY OF STAR OF THE SEA;
      Boy Scouts of America                                    BOY SCOUTS OF AMERICA, a
      Aloha Counsel Chamorro                                   congressionally chartered corporation,
      District ; Doe Entities 1-5;                             authorized to do business in Guam;
      and Doe-Individuals 6-50,                                BOY SCOUTS OF AMERICA ALOHA
      inclusive                                                COUNSEL CHAMORRO DISTRICT;
                                                               DOE ENTITIES 1-5; and DOE
                                                               INDIVIDUALS 6-50, inclusive
219   Boy Scouts of America          [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:18-cv-00001   United States
      Aloha Council Chamorro                                   ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                 Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                     AMERICA, a congressionally chartered                        Guam
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                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                                Case Number     Court or Agency
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; DOE-
                                                              INDIVIDUALS 6-50, inclusive
220   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00123   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Capuchin                                      Corporation sole; BOY SCOUTS OF                             the District of
      Franciscans; Capuchin                                   AMERICA, a congressionally chartered                        Guam
      Franciscans Province of St.                             corporation, authorized to do business in
      Mary; Capuchin                                          Guam; BOY SCOUTS OF AMERICA
      Franciscans Custody of Star                             ALOHA COUNCIL CHAMORRO
      of the Sea; Roman Catholic                              DISTRICT; LOUIS BROUILLARD, an
      Archbishop Of Agana;                                    individual; CAPUCHIN
      Louis Brouillard, an                                    FRANCISCANS; CAPUCHIN
      individual; Doe Entities 1-                             FRANCISCANS PROVINCE OF ST.
      5; and Doe-Individuals 6-                               MARY; CAPUCHIN FRANCISCANS
      47, inclusive                                           CUSTODY OF STAR OF THE SEA;
                                                              DOE ENTITIES 1-5; and DOE-
                                                              INDIVIDUALS 6-47, inclusive
221   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00061   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
222   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00034   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF
                                      Case 20-50527-LSS          Doc 107-1      Filed 10/22/20       Page 70 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                                Case Number     Court or Agency
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        the District of
      Louis Brouillard, an                                    corporation, authorized to do business in                   Guam
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
223   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00026   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
224   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00121   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Discalced                                     Corporation sole; BOY SCOUTS OF                             the District of
      Carmelite Nuns (O.C.D.)                                 AMERICA, a congressionally chartered                        Guam
      a.k.a. Order of Discalced                               corporation, authorized to do business in
      Carmelites; Carmel of the                               Guam; BOY SCOUTS OF AMERICA
      Immaculate Concepcion;                                  ALOHA COUNCIL CHAMORRO
      Roman Catholic                                          DISTRICT; LOUIS BROUILLARD, an
      Archbishop Of Agana;                                    individual; DISCALCED CARMELITE
      Louis Brouillard, an                                    NUNS (O.C.D.) a.k.a. ORDER OF
      individual; Doe Entities 1-                             DISCALCED CARMELITES;
      5; and Doe-Individuals 6-                               CARMEL OF THE IMMACULATE
      48, inclusive                                           CONCEPCION; DOE ENTITIES 1-5;
                                                              and DOE-INDIVIDUALS 6-48,
                                                              inclusive
225   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00075   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
                                      Case 20-50527-LSS          Doc 107-1      Filed 10/22/20       Page 71 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                                Case Number     Court or Agency
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE INDIVIDUALS 6-50, inclusive
226   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00007   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
227   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00052   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
228   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00130   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
                                      Case 20-50527-LSS          Doc 107-1      Filed 10/22/20       Page 72 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                                Case Number     Court or Agency
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
229   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00106   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
230   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:18-cv-00008   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
231   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00095   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
                                      Case 20-50527-LSS          Doc 107-1      Filed 10/22/20       Page 73 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                                Case Number     Court or Agency
232   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00082   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
233   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00054   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
234   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00067   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
235   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00122   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
                                      Case 20-50527-LSS          Doc 107-1      Filed 10/22/20       Page 74 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                                Case Number     Court or Agency
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
236   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00063   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
237   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:18-cv-00004   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
238   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:18-cv-00018   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Capuchin                                      Corporation sole; BOY SCOUTS OF                             the District of
      Franciscans; Capuchin                                   AMERICA, a congressionally chartered                        Guam
      Franciscans Province of St.                             corporation, authorized to do business in
      Mary; Capuchin                                          Guam; BOY SCOUTS OF AMERICA
      Franciscans Custody of Star                             ALOHA COUNCIL CHAMORRO
      of the Sea; Roman Catholic                              DISTRICT; LOUIS BROUILLARD, an
      Archbishop Of Agana;                                    individual; CAPUCHIN
                                      Case 20-50527-LSS          Doc 107-1      Filed 10/22/20       Page 75 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                                Case Number     Court or Agency
      Louis Brouillard, an                                    FRANCISCANS; CAPUCHIN
      individual; Doe Entities 1-                             FRANCISCANS PROVINCE OF ST.
      5; and Doe-Individuals 6-                               MARY; CAPUCHIN FRANCISCANS
      47, inclusive                                           CUSTODY OF STAR OF THE SEA;
                                                              DOE ENTITIES 1-5; and DOE-
                                                              INDIVIDUALS 6-47, inclusive
239   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00047   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
240   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00109   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District ; Roman Catholic                               Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
241   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00039   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                      Case 20-50527-LSS          Doc 107-1      Filed 10/22/20       Page 76 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                                Case Number     Court or Agency
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
242   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00120   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Discalced                                     Corporation sole; BOY SCOUTS OF                             the District of
      Carmelite Nuns (O.C.D.)                                 AMERICA, a congressionally chartered                        Guam
      a.k.a. Order of Discalced                               corporation, authorized to do business in
      Carmelites; Carmel of the                               Guam; BOY SCOUTS OF AMERICA
      Immaculate Concepcion;                                  ALOHA COUNCIL CHAMORRO
      Roman Catholic                                          DISTRICT; LOUIS BROUILLARD, an
      Archbishop Of Agana;                                    individual; DISCALCED CARMELITE
      Louis Brouillard, an                                    NUNS (O.C.D.) a.k.a. ORDER OF
      individual; Doe Entities 1-                             DISCALCED CARMELITES;
      5; and Doe-Individuals 6-                               CARMEL OF THE IMMACULATE
      48, inclusive                                           CONCEPCION; DOE ENTITIES 1-5;
                                                              and DOE-INDIVIDUALS 6-48,
                                                              inclusive
243   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00015   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
244   Boy Scouts of America         [Redacted]                [Redacted] v. BOY SCOUTS OF                 1:19-cv-00133   United States
      Aloha Council Chamorro                                  AMERICA, a congressionally chartered                        District Court for
      District; Capuchin                                      corporation, authorized to do business in                   the District of
      Franciscans; Capuchin                                   Guam; BOY SCOUTS OF AMERICA                                 Guam
      Franciscans Province of St.                             ALOHA COUNCIL CHAMORRO
      Mary; Capuchin                                          DISTRICT; CAPUCHIN
      Franciscans Custody of Star                             FRANCISCANS; CAPUCHIN
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                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s) (last, first)                  Case Caption                                Case Number     Court or Agency
      of the Sea; Doe Entities 1-5;                           FRANCISCANS PROVINCE OF ST.
      and Doe-Individuals 6-47,                               MARY; CAPUCHIN FRANCISCANS
      inclusive                                               CUSTODY OF STAR OF THE SEA;
                                                              DOE ENTITIES 1-5; and DOE-
                                                              INDIVIDUALS 6-47, inclusive
245   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00045   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
246   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:18-cv-00036   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Capuchin                                      Corporation sole; BOY SCOUTS OF                             the District of
      Franciscans; Capuchin                                   AMERICA, a congressionally chartered                        Guam
      Franciscans Province of St.                             corporation, authorized to do business in
      Mary; Roman Catholic                                    Guam; BOY SCOUTS OF AMERICA
      Archbishop Of Agana;                                    ALOHA COUNCIL CHAMORRO
      Louis Brouillard, an                                    DISTRICT; LOUIS BROUILLARD, an
      individual; Doe Entities 1-                             individual; CAPUCHIN
      5; and Doe-Individuals 6-                               FRANCISCANS; CAPUCHIN
      50, inclusive                                           FRANCISCANS PROVINCE OF ST.
                                                              MARY; DOE ENTITIES 1-5; and DOE-
                                                              INDIVIDUALS 6-50, inclusive
247   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00038   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
                                      Case 20-50527-LSS          Doc 107-1      Filed 10/22/20       Page 78 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                                Case Number     Court or Agency
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
248   Boy Scouts of America         [Redacted]                [Redacted] v. BOY SCOUTS OF                 1:17-cv-00084   United States
      Aloha Council Chamorro                                  AMERICA, a congressionally chartered                        District Court for
      District; Doe Entities 1-5;                             corporation, authorized to do business in                   the District of
      and Doe-Individuals 6-50,                               Guam; BOY SCOUTS OF AMERICA                                 Guam
      inclusive                                               ALOHA COUNCIL CHAMORRO
                                                              DISTRICT; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
249   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00003   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District ; Roman Catholic                               Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
250   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00008   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
251   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00066   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Discalced                                     Corporation sole; BOY SCOUTS OF
                                      Case 20-50527-LSS         Doc 107-1       Filed 10/22/20       Page 79 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                                Case Number     Court or Agency
      Carmelite Nuns (O.C.D.)                                 AMERICA, a congressionally chartered                        the District of
      a.k.a. Order of Discalced                               corporation, authorized to do business in                   Guam
      Carmelites; Carmel of the                               Guam; BOY SCOUTS OF AMERICA
      Immaculate Concepcion;                                  ALOHA COUNCIL CHAMORRO
      Roman Catholic                                          DISTRICT; LOUIS BROUILLARD, an
      Archbishop Of Agana;                                    individual; DISCALCED CARMELITE
      Louis Brouillard, an                                    NUNS (O.C.D.) a.k.a. ORDER OF
      individual; Doe Entities 1-                             DISCALCED CARMELITES;
      5; and Doe-Individuals 6-                               CARMEL OF THE IMMACULATE
      48, inclusive                                           CONCEPCION; DOE ENTITIES 1-5;
                                                              and DOE-INDIVIDUALS 6-48,
                                                              inclusive
252   Capuchin Franciscans;         [Redacted]                [Redacted] v. CAPUCHIN                      1:19-cv-00115   United States
      Capuchin Franciscans                                    FRANCISCANS; CAPUCHIN                                       District Court for
      Province of St. Mary;                                   FRANCISCANS PROVINCE OF ST.                                 the District of
      Capuchin Franciscans                                    MARY; CAPUCHIN FRANCISCANS                                  Guam
      Custody of Star of the Sea;                             CUSTODY OF STAR OF THE SEA;
      Boy Scouts of America                                   BOY SCOUTS OF AMERICA, a
      Aloha Council Chamorro                                  congressionally chartered corporation,
      District; Doe Entities 1-5;                             authorized to do business in Guam;
      and Doe-Individuals 6-50,                               BOY SCOUTS OF AMERICA ALOHA
      inclusive                                               COUNCIL CHAMORRO DISTRICT;
                                                              DOE ENTITIES 1-5; and DOE-
                                                              INDIVIDUALS 6-50, inclusive
253   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:19-cv-00039   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
                                      Case 20-50527-LSS          Doc 107-1      Filed 10/22/20       Page 80 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                                Case Number     Court or Agency
254   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00055   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
255   Boy Scouts of America         [Redacted]                [Redacted] v. BOY SCOUTS OF                 1:18-cv-00023   United States
      Aloha Council Chamorro                                  AMERICA, a congressionally chartered                        District Court for
      District; David Joseph                                  corporation, authorized to do business in                   the District of
      Ellington, an individual;                               Guam; BOY SCOUTS OF AMERICA                                 Guam
      Doe Entities 1-5; and Doe-                              ALOHA COUNCIL CHAMORRO
      Individuals 6-50, inclusive                             DISTRICT; DAVID JOSEPH
                                                              ELLINGTON, an individual; DOE
                                                              ENTITIES 1-5; and DOE-
                                                              INDIVIDUALS 6-50, inclusive
256   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00080   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Discalced                                     Corporation sole; BOY SCOUTS OF                             the District of
      Carmelite Nuns (O.C.D.)                                 AMERICA, a congressionally chartered                        Guam
      a.k.a. Order of Discalced                               corporation, authorized to do business in
      Carmelites; Carmel of the                               Guam; BOY SCOUTS OF AMERICA
      Immaculate Concepcion;                                  ALOHA COUNCIL CHAMORRO
      Roman Catholic                                          DISTRICT; LOUIS BROUILLARD, an
      Archbishop Of Agana;                                    individual; DISCALCED CARMELITE
      Louis Brouillard, an                                    NUNS (O.C.D.) a.k.a. ORDER OF
      individual; Doe Entities 1-                             DISCALCED CARMELITES;
      5; and Doe-Individuals 6-                               CARMEL OF THE IMMACULATE
      48, inclusive                                           CONCEPCION; DOE ENTITIES 1-5;
                                                              and DOE-INDIVIDUALS 6-48,
                                                              inclusive
                                      Case 20-50527-LSS          Doc 107-1      Filed 10/22/20       Page 81 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                                Case Number     Court or Agency
257   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00115   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Roman Catholic                                Corporation sole; BOY SCOUTS OF                             the District of
      Archbishop Of Agana;                                    AMERICA, a congressionally chartered                        Guam
      Louis Brouillard, an                                    corporation, authorized to do business in
      individual; Doe Entities 1-                             Guam; BOY SCOUTS OF AMERICA
      5; and Doe-Individuals 6-                               ALOHA COUNCIL CHAMORRO
      50, inclusive                                           DISTRICT; LOUIS BROUILLARD, an
                                                              individual; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
258   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00081   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Discalced                                     Corporation sole; BOY SCOUTS OF                             the District of
      Carmelite Nuns (O.C.D.)                                 AMERICA, a congressionally chartered                        Guam
      a.k.a. Order of Discalced                               corporation, authorized to do business in
      Carmelites; Carmel of the                               Guam; BOY SCOUTS OF AMERICA
      Immaculate Concepcion;                                  ALOHA COUNCIL CHAMORRO
      Roman Catholic                                          DISTRICT; LOUIS BROUILLARD, an
      Archbishop Of Agana;                                    individual; DISCALCED CARMELITE
      Louis Brouillard, an                                    NUNS (O.C.D.) a.k.a. ORDER OF
      individual; Doe Entities 1-                             DISCALCED CARMELITES;
      5; and Doe-Individuals 6-                               CARMEL OF THE IMMACULATE
      48, inclusive                                           CONCEPCION; DOE ENTITIES 1-5;
                                                              and DOE-INDIVIDUALS 6-48,
                                                              inclusive
259   Boy Scouts of America         [Redacted]                [Redacted] v. ROMAN CATHOLIC                1:17-cv-00047   United States
      Aloha Council Chamorro                                  ARCHBISHOP OF AGANA, a                                      District Court for
      District; Discalced                                     Corporation sole; BOY SCOUTS OF                             the District of
      Carmelite Nuns (O.C.D.)                                 AMERICA, a congressionally chartered                        Guam
      a.k.a. Order of Discalced                               corporation, authorized to do business in
      Carmelites; Carmel of the                               Guam; BOY SCOUTS OF AMERICA
      Immaculate Concepcion;                                  ALOHA COUNCIL CHAMORRO
      Roman Catholic                                          DISTRICT; LOUIS BROUILLARD, an
      Archbishop Of Agana;                                    individual; DISCALCED CARMELITE
                                        Case 20-50527-LSS         Doc 107-1       Filed 10/22/20      Page 82 of 165




                                      Underlying Plaintiff(s)
       Non-Debtor Defendants(s)       (last, first)             Case Caption                                Case Number         Court or Agency
       Louis Brouillard, an                                     NUNS (O.C.D.) a.k.a. ORDER OF
       individual; Doe Entities 1-                              DISCALCED CARMELITES;
       5; and Doe-Individuals 6-                                CARMEL OF THE IMMACULATE
       48, inclusive                                            CONCEPCION; DOE ENTITIES 1-5;
                                                                and DOE-INDIVIDUALS 6-48,
                                                                inclusive
260    Boy Scouts of America          [Redacted]                [Redacted] v. BOY SCOUTS OF                 1:20-cv-00005       United States
       Aloha Counsel Chamorro                                   AMERICA, a congressionally chartered                            District Court for
       District; Doe Entities 1-5;                              corporation, authorized to do business in                       the District of
       and Doe-Individuals 6-50,                                Guam; BOY SCOUTS OF AMERICA                                     Guam
       inclusive                                                ALOHA COUNSEL CHAMORRO
                                                                DISTRICT; DOE ENTITIES 1-5; and
                                                                DOE-INDIVIDUALS 6-50, inclusive
2612   Brandon Wood; Kenneth          [Redacted]                [Redacted] v. Brandon Wood; Kenneth         3:18-cv-00157       United States
       Betts; Curtis Flaherty;                                  Betts; Curtis Flaherty; Louisville Metro                        District Court for
       Louisville Metro Police                                  Police Department, City of Louisville,                          the Western
       Department, City of                                      Jefferson County / Louisville                                   District of
       Louisville, Jefferson                                    Consolidated Government; Lincoln                                Kentucky
       County / Louisville                                      Heritage Council, Inc., Boy Scouts of                           Louisville Division
       Consolidated Government;                                 America; The Boy Scouts of America;
       Lincoln Heritage Council,                                Unknown Officers of Louisville Metro
       Inc., Boy Scouts of                                      Police Department; Unknown
       America; Unknown                                         Employees , Agents AND/OR Servants
       Officers of Louisville Metro                             of City of Louisville/Jefferson
       Police Department;                                       County/Louisville Consolidated
       Unknown Employees,                                       Government; Unknown Employees,
       Agents AND/OR Servants                                   Agents AND/OR Servants of Lincoln
       of City of                                               Heritage Council, Inc., Boy Scouts of
       Louisville/Jefferson                                     America; Unknown Employees, Agents
       County/Louisville                                        AND/OR Servants of The Boy Scouts of
       Consolidated Government;

        2
         Pending Abuse Actions 261-67 are stayed only with respect to non-debtor Defendants Lincoln Heritage Council, Inc., and Learning for Life. The
        BSA has consented to limited discovery in this matter.
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                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s) (last, first)                  Case Caption                               Case Number     Court or Agency
      Unknown Employees,                                      America; Learning for Life, Inc.;
      Agents AND/OR Servants                                  Learning for Life Lincoln Chapter, Inc.
      of Lincoln Heritage
      Council, Inc., Boy Scouts of
      America; Unknown
      Employees, Agents
      AND/OR Servants of The
      Boy Scouts of America;
      Learning for Life, Inc.;
      Learning for Life Lincoln
      Chapter, Inc.
262   Kenneth Betts; Brandon        [Redacted]                [Redacted] v. Kenneth Betts; Brandon       3:18-cv-00176   United States
      Wood; Casey Scott; Curtis                               Wood; Casey Scott; Curtis Flaherty;                        District Court for
      Flaherty; City of Louisville,                           City of Louisville, Jefferson County /                     the Western
      Jefferson County /                                      Louisville Consolidated Government;                        District of
      Louisville Consolidated                                 Lincoln Heritage Council, Inc., Boy                        Kentucky
      Government; Lincoln                                     Scouts of America; The Boy Scouts of                       Louisville Division
      Heritage Council, Inc., Boy                             America; Learning for Life, Inc.;
      Scouts of America;                                      Learning for Life Lincoln Chapter, Inc.;
      Learning for Life, Inc.;                                Unknown Officers of Louisville Metro
      Learning for Life Lincoln                               Police Department; Unknown
      Chapter, Inc.; Unknown                                  Employees, Agents AND/OR Servants
      Officers of Louisville Metro                            of City of Louisville/Jefferson
      Police Department;                                      County/Louisville Consolidated
      Unknown Employees,                                      Government; Unknown Employees,
      Agents AND/OR Servants                                  Agents AND/OR Servants of Lincoln
      of City of                                              Heritage Council, Inc., Boy Scouts of
      Louisville/Jefferson                                    America; Unknown Employees, Agents
      County/Louisville                                       AND/OR Servants of The Boy Scouts of
      Consolidated Government;                                America; Unknown Employees, Agents
      Unknown Employees,                                      AND/OR Servants of Learning for Life
      Agents AND/OR Servants                                  Lincoln Chapter, Inc.
      of Lincoln Heritage
      Council, Inc., Boy Scouts of
                                     Case 20-50527-LSS         Doc 107-1       Filed 10/22/20      Page 84 of 165




                                   Underlying Plaintiff(s)
      Non-Debtor Defendants(s) (last, first)                 Case Caption                                Case Number     Court or Agency
      America; Unknown
      Employees, Agents
      AND/OR Servants of The
      Boy Scouts of America;
      Unknown Employees,
      Agents AND/OR Servants
      of Learning for Life
      Lincoln Chapter, Inc.
263   Kenneth Betts; Brandon       [Redacted]                [Redacted] v. Kenneth Betts; Brandon        3:18-cv-00306   United States
      Wood; Curtis Flaherty;                                 Wood; Curtis Flaherty; Louisville Metro                     District Court for
      Louisville Metro Police                                Police Department; City of Louisville,                      the Western
      Department; City of                                    Jefferson County / Louisville                               District of
      Louisville, Jefferson                                  Consolidated Government; Unknown                            Kentucky
      County / Louisville                                    Officers of Louisville Metro Police                         Louisville Division
      Consolidated Government;                               Department; Unknown Employees,
      Unknown Officers of                                    Agents AND/OR Servants of City of
      Louisville Metro Police                                Louisville/Jefferson County/Louisville
      Department; Unknown                                    Consolidated Government; Unknown
      Employees, Agents                                      Employees, Agents AND/OR Servants
      AND/OR Servants of City                                of Lincoln Heritage Council, Inc., Boy
      of Louisville/Jefferson                                Scouts of America; Unknown
      County/Louisville                                      Employees, Agents AND/OR Servants
      Consolidated Government;                               of The Boy Scouts of America; Learning
      Unknown Employees,                                     for Life, Inc.; Learning for Life Lincoln
      Agents AND/OR Servants                                 Chapter, Inc.
      of Lincoln Heritage
      Council, Inc., Boy Scouts of
      America; Unknown
      Employees, Agents
      AND/OR Servants of The
      Boy Scouts of America;
      Learning for Life, Inc.;
      Learning for Life Lincoln
      Chapter, Inc.
                                     Case 20-50527-LSS         Doc 107-1       Filed 10/22/20      Page 85 of 165




                                   Underlying Plaintiff(s)
      Non-Debtor Defendants(s) (last, first)                 Case Caption                               Case Number     Court or Agency
264   Bradley Schumann;            [Redacted]                [Redacted] v. Bradley Schumann;            3:18-cv-00151   United States
      Matthew Gelhausen;                                     Matthew Gelhausen; Kenneth Betts;                          District Court for
      Kenneth Betts; Brandon                                 Brandon Wood; Curtis Flaherty; Julie                       the Western
      Wood; Curtis Flaherty;                                 Schmidt; Louisville Metro Police                           District of
      Julie Schmidt; Louisville                              Department; Lincoln Heritage Council,                      Kentucky
      Metro Police Department;                               Inc. Boy Scouts of America; The Boy                        Louisville Division
      Lincoln Heritage Council,                              Scouts of America; Learning for Life,
      Inc. Boy Scouts of                                     Inc.; Learning for Life Lincoln Chapter,
      America; Learning for Life,                            Inc.; City of Louisville, Jefferson
      Inc.; Learning for Life                                County / Louisville Consolidated
      Lincoln Chapter, Inc.; City                            Government; Unknown Officers of
      of Louisville, Jefferson                               Louisville Metro Police Department;
      County / Louisville                                    Unknown Employees, Agents AND/OR
      Consolidated Government;                               Servants of City of Louisville/Jefferson
      Unknown Officers of                                    County/Louisville Consolidated
      Louisville Metro Police                                Government; Unknown Employees,
      Department; Unknown                                    Agents AND/OR Servants of Lincoln
      Employees, Agents                                      Heritage Council, Inc., Boy Scouts of
      AND/OR Servants of City                                America; Unknown Employees, Agents
      of Louisville/Jefferson                                AND/OR Servants of The Boy Scouts of
      County/Louisville                                      America; Unknown Employees, Agents
      Consolidated Government;                               AND/OR Servants of Learning for Life,
      Unknown Employees,                                     Inc.; Unknown Employees, Agents
      Agents AND/OR Servants                                 AND/OR Servants of Learning for Life
      of Lincoln Heritage                                    Lincoln Chapter, Inc.
      Council, Inc., Boy Scouts of
      America; Unknown
      Employees, Agents
      AND/OR Servants of The
      Boy Scouts of America;
      Unknown Employees,
      Agents AND/OR Servants
      of Learning for Life, Inc.;
      Unknown Employees,
                                        Case 20-50527-LSS         Doc 107-1       Filed 10/22/20      Page 86 of 165




                                      Underlying Plaintiff(s)
      Non-Debtor Defendants(s)        (last, first)             Case Caption                               Case Number     Court or Agency
      Agents AND/OR Servants
      of Learning for Life
      Lincoln Chapter, Inc.
265   Kenneth Betts; Curtis           [Redacted]                [Redacted] v. Kenneth Betts; Curtis        3:18-cv-00152   United States
      Flaherty; City of Louisville,                             Flaherty; City of Louisville, Jefferson                    District Court for
      Jefferson County /                                        County / Louisville Consolidated                           the Western
      Louisville Consolidated                                   Government; Lincoln Heritage Council,                      District of
      Government; Lincoln                                       Inc. Boy Scouts of America; The Boy                        Kentucky
      Heritage Council, Inc. Boy                                Scouts of America; Learning for Life,                      Louisville Division
      Scouts of America;                                        Inc.; Learning for Life Lincoln Chapter,
      Learning for Life, Inc.;                                  Inc.; Unknown Officers; Unknown
      Learning for Life Lincoln                                 Employees, Agents and/or Servants of
      Chapter, Inc.
266   Kenneth Betts; Brandon          [Redacted]                [Redacted] v. Kenneth Betts; Brandon       3:18-cv-00153   United States
      Wood; Curtis Flaherty;                                    Wood; Curtis Flaherty; Julie Schmidt;                      District Court for
      Julie Schmidt; Louisville                                 Louisville Metro Police Department;                        the Western
      Metro Police Department;                                  Paul Brandon Paris; City of Louisville,                    District of
      Paul Brandon Paris; City of                               Jefferson County / Louisville                              Kentucky
      Louisville, Jefferson                                     Consolidated Government; Lincoln                           Louisville Division
      County / Louisville                                       Heritage Council, Inc. Boy Scouts of
      Consolidated Government;                                  America; Unknown Officers of
      Lincoln Heritage Council,                                 Louisville Metro Police Department;
      Inc. Boy Scouts of                                        The Boy Scouts of America; Unknown
      America; Unknown                                          Employees, Agents AND/OR Servants
      Employees, Agents                                         of Lincoln Heritage Council, Inc., Boy
      AND/OR Servants of                                        Scouts of America; Unknown
      Lincoln Heritage Council,                                 Employees, Agents AND/OR Servants
      Inc., Boy Scouts of                                       of City of Louisville/Jefferson
      America; Unknown                                          County/Louisville Consolidated
      Employees, Agents                                         Government; Learning for Life, Inc.;
      AND/OR Servants of City                                   Learning for Life Lincoln Chapter, Inc.
      of Louisville/Jefferson
      County/Louisville
      Consolidated Government;
                                      Case 20-50527-LSS         Doc 107-1       Filed 10/22/20      Page 87 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s) (last, first)                  Case Caption                               Case Number     Court or Agency
      Learning for Life, Inc.;
      Learning for Life Lincoln
      Chapter, Inc.
267   Kenneth Betts; Curtis         [Redacted]                [Redacted] v. Kenneth Betts; Curtis        3:18-cv-00158   United States
      Flaherty; City of Louisville,                           Flaherty; City of Louisville, Jefferson                    District Court for
      Jefferson County /                                      County / Louisville Consolidated                           the Western
      Louisville Consolidated                                 Government; Lincoln Heritage Council,                      District of
      Government; Lincoln                                     Inc. Boy Scouts of America; The Boy                        Kentucky
      Heritage Council, Inc. Boy                              Scouts of America; Learning for Life,                      Louisville Division
      Scouts of America;                                      Inc.; Learning for Life Lincoln Chapter,
      Learning for Life, Inc.;                                Inc.; Unknown Officers of Louisville
      Learning for Life Lincoln                               Metro Police Department; Unknown
      Chapter, Inc.; Unknown                                  Employees, Agents AND/OR Servants
      Officers of Louisville Metro                            of City of Louisville/Jefferson
      Police Department;                                      County/Louisville Consolidated
      Unknown Employees,                                      Government; Unknown Employees,
      Agents AND/OR Servants                                  Agents AND/OR Servants of Lincoln
      of City of                                              Heritage Council, Inc., Boy Scouts of
      Louisville/Jefferson                                    America; Unknown Employees, Agents
      County/Louisville                                       AND/OR Servants of The Boy Scouts of
      Consolidated Government;                                America; Unknown Employees, Agents
      Unknown Employees,                                      AND/OR Servants of Learning for Life,
      Agents AND/OR Servants                                  Inc.; Unknown Employees, Agents
      of Lincoln Heritage                                     AND/OR Servants of Learning for Life
      Council, Inc., Boy Scouts of                            Lincoln Chapter, Inc.
      America; Unknown
      Employees, Agents
      AND/OR Servants of The
      Boy Scouts of America;
      Unknown Employees,
      Agents AND/OR Servants
      of Learning for Life, Inc.;
      Unknown Employees,
      Agents AND/OR Servants
                                      Case 20-50527-LSS          Doc 107-1      Filed 10/22/20       Page 88 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                                Case Number     Court or Agency
      of Learning for Life
      Lincoln Chapter, Inc.
268   Greater New York              [Redacted]                [Redacted] v. BOY SCOUTS OF                 1:20-cv-00315   United States
      Councils, Boy Scouts of                                 AMERICA; GREATER NEW YORK                                   District Court for
      America; Brooklyn                                       COUNCILS, BOY SCOUTS OF                                     the Eastern District
      Council, Boy Scouts of                                  AMERICA; and BROOKLYN                                       of New York
      America                                                 COUNCIL, BOY SCOUTS OF
                                                              AMERICA
269   Doe Defendant 1; Doe          [Redacted]                [Redacted] v. DOE DEFENDANT 1;              20STCV04460     Superior Court of
      Defendant 2; Does 3                                     DOE DEFENDANT 2; DOES 3                                     the State of
      Through 10, Inclusive                                   THROUGH 10, INCLUSIVE                                       California, County
                                                                                                                          of Los Angeles,
                                                                                                                          Central District
270   Boy Scouts of America         [Redacted]                [Redacted] v. BOY SCOUTS OF                 1:20-cv-00008   United States
      Aloha Counsel Chamorro                                  AMERICA, a congressionally chartered                        District Court for
      District; Doe Entities 1-5;                             corporation, authorized to do business in                   the District of
      Doe-Individuals 6-50,                                   Guam; BOY SCOUTS OF AMERICA                                 Guam
      inclusive                                               ALOHA COUNSEL CHAMORRO
                                                              DISTRICT; DOE ENTITIES 1-5; and
                                                              DOE-INDIVIDUALS 6-50, inclusive
271   Fairfield County Council of James Doe                   JAMES DOE v. FAIRFIELD COUNTY               20-05007        United States
      Boy Scouts of America,                                  COUNCIL OF BOY SCOUTS OF                                    Bankruptcy Court
      Inc.; Connecticut Yankee                                AMERICA, INC.; CONNECTICUT                                  for the District of
      Council, Inc., Boy Scouts of                            YANKEE COUNCIL, INC., BOY                                   Connecticut
      America                                                 SCOUTS OF AMERICA
272   Westchester-Putnam           John Doe                   JOHN DOE v. BOY SCOUTS OF                   7:20-cv-1978    United States
      Council, Inc.                                           AMERICA, and WESTCHESTER-                                   District Court for
                                                              PUTNAM COUNCIL, INC., BOY                                   the Southern
                                                              SCOUTS OF AMERICA                                           District of New
                                                                                                                          York
273   Aloha Council Chamorro        [Redacted]                [Redacted] v. BOY SCOUTS OF                 1:20-cv-00009   United States
      District; Capuchin                                      AMERICA, a congressionally chartered                        District Court for
      Franciscans; Capuchin                                   corporation, authorized to do business in                   the District of
      Franciscans Province of St.                             Guam; BOY SCOUTS OF AMERICA                                 Guam
                                       Case 20-50527-LSS         Doc 107-1     Filed 10/22/20    Page 89 of 165




                                     Underlying Plaintiff(s)
      Non-Debtor Defendants(s)       (last, first)             Case Caption                           Case Number    Court or Agency
      May; Capuchin Franciscans                                ALOHA COUNCIL CHAMORRO
      Custody of Star of the Sea;                              DISTRICT; CAPUCHIN
      DOE ENTITIES 1-5; DOE-                                   FRANCISCANS; CAPUCHIN
      INDIVIDUALS 6-47,                                        FRANCISCANS PROVINCE OF ST.
      inclusive                                                MARY; CAPUCHIN FRANCISCANS
                                                               CUSTODY OF STAR OF THE SEA;
                                                               DOE ENTITIES 1-5; and DOE-
                                                               INDIVIDUALS 6-47, inclusive
274   Garden State Council; John     [Redacted]                [Redacted] v. BOY SCOUTS OF            20-1114        United States
      Does 1-10                                                AMERICA; GARDEN STATE                                 Bankruptcy Court
                                                               COUNCIL; JOHN DOES 1-10                               for the District of
                                                                                                                     New Jersey
275   Jersey Shore Council; John     [Redacted]                [Redacted] v. BOY SCOUTS OF            20-1118        United States
      Does 1-10                                                AMERICA, JERSEY SHORE                                 Bankruptcy Court
                                                               COUNCIL, AND JOHN DOES 1-10                           for the District of
                                                                                                                     New Jersey
276   Greater New York               [Redacted]                [Redacted] v. BOY SCOUTS OF            950041/2020    Supreme Court of
      Councils, Boy Scouts of                                  AMERICA and GREATER NEW                               the State of New
      America; The Roman                                       YORK COUNCILS, BOY SCOUTS OF                          York, County of
      Catholic Archdiocese of                                  AMERICA, THE ROMAN CATHOLIC                           New York
      New York; The Apostles of                                ARCHDIOCESE OF NEW YORK,
      the Sacred Heart of Jesus                                THE APOSTLES OF THE SACRED
      a/k/a The Apostles of the                                HEART OF JESUS a/k/a THE
      Sacred Heart of Jesus, of                                APOSTLES OF THE SACRED HEART
      New York, Inc. f/k/a                                     OF JESUS, OF NEW YORK, INC. f/k/a
      Missionary Zelatrices of the                             MISSIONARY ZELATRICES OF THE
      Sacred Heart, Inc.                                       SACRED HEART, INC.
277   Boy Scouts of America          [Redacted]                [Redacted] v. Boy Scouts of America,   7:20-cv-2276   United States
      Westchester-Putnam                                       Inc., and Boy Scouts of America                       District Court for
      Council, Inc.                                            Westchester-Putnam Council, Inc.                      the Southern
                                                                                                                     District of New
                                                                                                                     York
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                                      Underlying Plaintiff(s)
      Non-Debtor Defendants(s)        (last, first)             Case Caption                              Case Number     Court or Agency
278   Maryvale Union Free             Anonymous                 ANONYMOUS v. MARYVALE                     1:20-cv-289     United States
      School District; Greater                                  UNION FREE SCHOOL DISTRICT;                               District Court for
      Niagara Frontier Council                                  BOY SCOUTS OF AMERICA and                                 the Western
                                                                GREATER NIAGARA FRONTIER                                  District of New
                                                                COUNCIL                                                   York
279   Northern New Jersey             [Redacted]                [Redacted] v. BOYS SCOUTS OF              3:20-cv-01745   United States
      Council; John Does 1-10                                   AMERICA; NORTHERN NEW                                     District Court for
                                                                JERSEY COUNCIL; JOHN DOES 1-10                            the District of New
                                                                                                                          Jersey
280   Greater New York Councils       [Redacted]                [Redacted] v. BOYS SCOUTS OF              950042/2020     Supreme Court of
      of the Boy Scouts of                                      AMERICA, GREATER NEW YORK                                 the State of New
      America; Fordham                                          COUNCILS of the BOY SCOUTS OF                             York, County of
      University; John and Jane                                 AMERICA; FORDHAM                                          New York
      Doe 1-30; members of the                                  UNIVERSITY; JOHN and JANE DOE
      Board of Trustees of                                      1-30; members of the BOARD OF
      Fordham University, in                                    TRUSTEES OF FORDHAM
      their official and individual                             UNIVERSITY, in their official and
      capacities, whose identities                              individual capacities, whose identities
      are presently unknown to                                  are presently unknown to Plaintiff,
      Plaintiff, Roman Catholic                                 ROMAN CATHOLIC ORDER OF
      Order of Jesuits USA                                      JESUITS USA PROVINCE
      Province Northeast a/k/a                                  NORTHEAST a/k/a THE USA
      The USA Northeast                                         NORTHEAST PROVINCE OF THE
      Province of the Society of                                SOCIETY OF JESUS, INC.; ROMAN
      Jesus, Inc.; Roman Catholic                               CATHOLIC ARCHDIOCESE OF NEW
      Archdiocese of New York;                                  YORK; JOHN DOE; JANE DOE;
      John Doe; Jane Doe;                                       RICHARD ROE; JANE ROE, priests,
      Richard Roe; Jane Roe,                                    clergy, and administrators whose names
      priests, clergy, and                                      are unknown to the Plaintiff
      administrators whose names
      are unknown to the Plaintiff
281   Doe 1; Doe 2; and Does 3-       John GG Doe               John GG Doe v. DOE 1, a California        TBD             Superior Court of
      50                                                        domestic nonprofit; DOE 2, an                             the State of
                                                                individual; and DOES 3-50, inclusive
                                      Case 20-50527-LSS         Doc 107-1      Filed 10/22/20        Page 91 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                              Case Number      Court or Agency
                                                                                                                         California, County
                                                                                                                         of Santa Clara
282   Ozark Trails Council, Inc.;   [Redacted]                [Redacted] v. Boy Scouts of America;      6:20-cv-3059     United States
      Scott Wortman                                           Ozark Trails Council, Inc.; Scott                          District Court
                                                              Wortman                                                    Western District of
                                                                                                                         Missouri, Southern
                                                                                                                         Division
283   Our Lady of Guadalupe         John Doe                  John Doe v. Boy Scouts of America;        D-101-CV-2020-   First Judicial
      Parish                                                  Our Lady of Guadalupe Parish              00448            District Court,
                                                                                                                         County of Santa Fe
284   The Greater Niagara           [Redacted]                [Redacted] v. The Boy Scouts of           1:20-cv-260      United States
      Frontier Council                                        America and The Greater Niagara                            District Court for
                                                              Frontier Council                                           the Western
                                                                                                                         District of New
                                                                                                                         York
285   The Greater New York          [Redacted]                [Redacted] v. The Boy Scouts of           1:20-cv-1983     United States
      Councils of the Boy Scouts                              America and The Greater New York                           District Court for
      of America                                              Councils of the Boy Scouts of America                      the Southern
                                                                                                                         District of New
                                                                                                                         York
286   The Greater New York          [Redacted]                [Redacted] v. The Boy Scouts of           1:20-cv-1988     United States
      Councils of the Boy Scouts                              America and The Greater New York                           District Court for
      of America                                              Councils of the Boy Scouts of America                      the Southern
                                                                                                                         District of New
                                                                                                                         York
287   Greater New York              [Redacted]                [Redacted] v. Boy Scouts of America,      1:20-cv-1990     United States
      Councils, Boy Scouts of                                 Inc., Greater New York Councils, Boy                       District Court for
      America, and Brooklyn                                   Scouts of America, and Brooklyn                            the Southern
      Council, Boy Scouts of                                  Council, Boy Scouts of America                             District of New
      America                                                                                                            York
288   Seneca Waterways Counsel      [Redacted]                [Redacted] v. National Boy Scouts of      6:20-cv-6137     United States
      – The Boy Scouts of                                     America Foundation also known as the                       District Court for
      America; Greater Niagara                                Boy Scouts of America; Seneca                              the Western
      Frontier Counsel – The Boy                              Waterways Counsel – The Boy Scouts
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                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                              Case Number       Court or Agency
      Scouts of America; Sullivan                             of America; Greater Niagara Frontier                        District of New
      Trail Counsel – The Boy                                 Counsel – The Boy Scouts of America;                        York
      Scouts of America                                       Sullivan Trail Counsel – The Boy Scouts
                                                              of America
289   Seneca Waterways Council;     [Redacted]                [Redacted] v. National Boy Scouts of      6:20-cv-6126      United States
      Otetiana Council                                        America also known as The Boy Scouts                        District Court for
                                                              of America, Seneca Waterways Council                        the Western
                                                              and Otetiana Council                                        District of New
                                                                                                                          York
290   Westchester-Putnam           [Redacted]                 [Redacted] v. Boy Scouts of America,      7:20-cv-1980      United States
      Council, Inc., Boy Scouts of                            Inc., and Westchester-Putnam Council,                       District Court for
      America                                                 Inc., Boy Scouts of America                                 the Southern
                                                                                                                          District of New
                                                                                                                          York
291   Boy Scouts of America         John Doe 1                John Doe 1 v. Boy Scouts of America       2020 CV 0118      Richland County
      Heart of Ohio Council                                   and Boy Scouts of America Heart of                          Court of Common
                                                              Ohio Council                                                Pleas
292   Greater New York Councils     [Redacted]                [Redacted] v. The Boy Scouts of           70022/2020E       Supreme Court of
      of the Boy Scouts of                                    America and Greater New York                                the State of New
      America                                                 Councils of the Boy Scouts of America                       York, County of
                                                                                                                          Bronx
293   Garden State Council, Boy     [Redacted]                [Redacted] v. Boy Scouts of America;      CAM-L-001079-20   Superior Court of
      Scouts of America; Bethel                               Garden State Council, Boy Scouts of                         New Jersey,
      Commandment Church of                                   America; Bethel Commandment Church                          Camden County
      the Living God of New                                   of the Living God of New Jersey, Inc.;
      Jersey, Inc.; Vincent                                   Vincent Watkins
      Watkins
294   John C. O’Neal; John &        [Redacted]                [Redacted] v. Boy Scouts of America;      CAM-L-001074-20   Superior Court of
      Jane Does (1-10); and ABC                               John C. O’Neal; John & Jane Does (1-                        New Jersey,
      Entities (1-10)                                         10); and ABC Entities (1-10)                                Camden County
295   Doe Defendant 2; Does 3       [Redacted]                [Redacted] v. Doe Defendant 1; Doe        CIV2000002        Superior Court of
      through 10                                              Defendant 2; Does 3 through 10,                             the State of
                                                              inclusive                                                   California, County
                                                                                                                          of Marin
                                   Case 20-50527-LSS         Doc 107-1      Filed 10/22/20      Page 93 of 165




                                 Underlying Plaintiff(s)
      Non-Debtor Defendants(s)   (last, first)             Case Caption                            Case Number         Court or Agency
296   Doe Defendant 2; Does 3    [Redacted]                [Redacted] v. Doe Defendant 1; Doe      37-2020-00000766-   Superior Court of
      through 10                                           Defendant 2; Does 3 through 10,         CU-PO-CTL           the State of
                                                           inclusive                                                   California, County
                                                                                                                       of San Diego,
                                                                                                                       Central District
297   Doe Defendant 2; Does 3    [Redacted]                [Redacted] v. Doe Defendant 1; Doe      34-2020-00272378-   Superior Court of
      through 10                                           Defendant 2; Does 3 through 10,         CU-PO-GDS           the State of
                                                           inclusive                                                   California, County
                                                                                                                       of Sacramento
298   Doe Defendant 2; Doe       [Redacted]                [Redacted] v. Doe Defendant 1; Doe      20STCV00086         Superior Court of
      Defendants 3 through 10                              Defendant 2; Doe Defendants 3 through                       the State of
                                                           10, inclusive                                               California, County
                                                                                                                       of Los Angeles,
                                                                                                                       Central District
299   Doe Defendant 2; Doe       [Redacted]                [Redacted] v. Doe Defendant 1; Doe      20STCV00556         Superior Court of
      Defendant 3; Doe                                     Defendant 2; Doe Defendant 3; Doe                           the State of
      Defendants 4 through 10                              Defendants 4 through 10, inclusive                          California, County
                                                                                                                       of Los Angeles,
                                                                                                                       Central District
300   Doe Defendant 2; Does 3    [Redacted]                [Redacted] v. Doe Defendant 1; Doe      20CECG00048         Superior Court of
      through 10                                           Defendant 2; Does 3 through 10,                             the State of
                                                           inclusive                                                   California, County
                                                                                                                       of Fresno
301   Doe Defendant 2; Does 3    [Redacted]                [Redacted] v. Doe Defendant 1; Doe      37-2020-00000763-   Superior Court of
      through 10                                           Defendant 2; Does 3 through 10,         CU-PO-CTL           the State of
                                                           inclusive                                                   California, County
                                                                                                                       of San Diego,
                                                                                                                       Central District
302   Doe Defendant 2; Does 3    [Redacted]                [Redacted] v. Doe Defendant 1; Doe      20STCV00767         Superior Court of
      through 10                                           Defendant 2; Does 3 through 10,                             the State of
                                                           inclusive                                                   California, County
                                                                                                                       of Los Angeles,
                                                                                                                       Central District
                                     Case 20-50527-LSS          Doc 107-1       Filed 10/22/20       Page 94 of 165




                                   Underlying Plaintiff(s)
      Non-Debtor Defendants(s)     (last, first)             Case Caption                                  Case Number       Court or Agency
303   Doe Defendant 2; Does 3      [Redacted]                [Redacted] v. Doe Defendant 1; Doe            CIV2000057        Superior Court of
      through 10                                             Defendant 2; Does 3 through 10,                                 the State of
                                                             inclusive                                                       California, County
                                                                                                                             of Marin
304   Defendant 2; John Does 1-    John Doe                  John Doe v. Defendant 1; Defendant 2l         20-1209 (KCF)     United States
      10                                                     John Does 1-10                                                  Bankruptcy Court
                                                                                                                             District of New
                                                                                                                             Jersey
305   Aloha Council; Maui          [Redacted]                [Redacted] v. Boy Scouts of America, a        1CCV-XX-XXXXXXX   Circuit Court of
      County Council                                         federally chartered nonprofit                                   the First Circuit,
                                                             corporation; Boy Scouts of America,                             State of Hawaii
                                                             Aloha Council formerly known as Maui
                                                             County Council of the Boy Scouts of
                                                             America, Limited; and John Does 1-10
306   Mid-America Council          [Redacted]                [Redacted] v. Boy Scouts of America,          MID-L-002351-20   Superior Court of
                                                             The Mid-America Council of the Boy                              New Jersey,
                                                             Scouts of America and John Does 1-5                             Middlesex County
                                                                                                                             Law Division
307   Northern New Jersey          [Redacted]                [Redacted], an individual v. Northern         ESX-L-001390-20   Superior Court of
      Council, Inc.; St. Francis                             New Jersey Council, Inc.; Francis                               New Jersey, Essex
      Xavier Parish; ABC Entity                              Xavier Parish; ABC Entity, its directors,                       County Law
                                                             officers, employees, agents, servants,                          Division
                                                             representatives and/or volunteers, is a
                                                             fictitious name of an entity believed to
                                                             have employed and/or supervised
                                                             [Redacted]; [Redacted]; and John Does
                                                             1-5, individually, and in his capacity as a
                                                             former and/or current director, officer,
                                                             employee, agent, servant, representative
                                                             and/or volunteer of the defendants, are
                                                             persons whose identities are unknown to
                                                             Plaintiff
                                        Case 20-50527-LSS         Doc 107-1       Filed 10/22/20      Page 95 of 165




                                      Underlying Plaintiff(s)
      Non-Debtor Defendants(s)        (last, first)             Case Caption                                Case Number       Court or Agency
308   Aloha Council                   [Redacted]                [Redacted] v. Boy Scouts of America,        1CCV-XX-XXXXXXX   Circuit Court of
                                                                Aloha Council, and John Does 1-50,                            the First Circuit,
                                                                Jane Does 1-50, Doe Corporations 1-50,                        State of Hawaii
                                                                Doe Limited Liability Companies 1-50,
                                                                Doe Limited Liability Corporations 1-
                                                                50, Doe Governmental Entities 1-50, and
                                                                Doe Other Entities 1-50
309   Aloha Council                   John Roe No. 1; John      John Roe No. 1, John Roe No. 2, John        1CCV-XX-XXXXXXX   Circuit Court of
                                      Roe No. 2; John Roe       Roe No. 3, John Roe No. 4, John Roe                           the First Circuit,
                                      No. 3; John Roe No. 4;    No. 5, John Roe No. 6, John Roe No. 7,                        State of Hawaii
                                      John Roe No. 5; John      and John Roe No. 8 v. Boy Scouts of
                                      Roe No. 6; John Roe       America, Aloha Council, a domestic
                                      No. 7; and John Roe No.   nonprofit corporation; Doe Defendants
                                      8                         1-10; Doe Entities 1-10
310   Northeast Georgia Council,      John Doe                  John Doe v. R. Fleming Weaver, Jr.,         2020CV649W        Superior Court of
      Inc.; First Baptist Church of                             Steven N. Brown, Northeast Georgia                            Hall County, State
      Gainesville                                               Council, Inc., First Baptist Church of                        of Georgia
                                                                Gainesville
311   Northeast Georgia Council,      John Doe                  John Doe v. R. Fleming Weaver, Jr.,         2020CV650A        Superior Court of
      Inc.; First Baptist Church of                             Steven N. Brown, Northeast Georgia                            Hall County, State
      Gainesville                                               Council, Inc., First Baptist Church of                        of Georgia
                                                                Gainesville
312   Northeast Georgia Council,      [Redacted]                [Redacted] v. R. Fleming Weaver, Jr.,       2020CV648W        Superior Court of
      Inc.; First Baptist Church of                             The Estate of F.E. (Gene) Bobo, Steven                        Hall County, State
      Gainesville                                               N. Brown, Northeast Georgia Council,                          of Georgia
                                                                Inc., First Baptist Church of Gainesville
313   Northeast Georgia Council,      [Redacted]                [Redacted] v. R. Fleming Weaver, Jr.,       2020CV653J        Superior Court of
      Inc.; First Baptist Church of                             Steven N. Brown, Northeast Georgia                            Hall County, State
      Gainesville                                               Council, Inc., First Baptist Church of                        of Georgia
                                                                Gainesville
314   Greater Niagara Frontier     LG 37 Doe                    LG 37 DOE v. DOUGLAS NAIL,                  1:20-cv-00217     United States
      Council, Inc., Boy Scouts of                              GREATER NIAGARA FRONTIER                                      District Court for
      America; Douglas Nail                                     COUNCIL, INC., BOY SCOUTS OF                                  the Western
                                    Case 20-50527-LSS         Doc 107-1      Filed 10/22/20        Page 96 of 165




                                  Underlying Plaintiff(s)
      Non-Debtor Defendants(s)    (last, first)             Case Caption                              Case Number   Court or Agency
                                                            AMERICA, and BOY SCOUTS OF                              District of New
                                                            AMERICA                                                 York
315   Montana Council of the      [Redacted]                [Redacted] v. Montana Council of the      DDV-20-0244   Montana Eighth
      Boy Scouts of America;                                Boy Scouts of America, a Montana non-                   Judicial District
      Moose Lodge Libby;                                    profit Corporation; Moose Lodge Libby;                  Court, Cascade
      Moose International; Does                             Moose International; and Does 1-5                       County
      1-5
316   Montana Council of the      [Redacted]                [Redacted] v. Montana Council of the      DDV-20-0243   Montana Eighth
      Boy Scouts of America;                                Boy Scouts of America, a Montana non-                   Judicial District
      Faith Lutheran Church;                                profit corporation; Faith Lutheran                      Court, Cascade
      New Hope Lutheran                                     Church; New Hope Lutheran Church;                       County
      Church; Montana Synod of                              Montana Synod of the Evangelical
      the Evangelical Lutheran                              Lutheran Church in America, Inc.
      Church in America, Inc.
317   Montana Council of the      [Redacted]                [Redacted] v. Montana Council of the      DDV-20-0245   Montana Eighth
      Boy Scouts of America                                 Boy Scouts of America, a Montana non-                   Judicial District
                                                            profit corporation                                      Court, Cascade
                                                                                                                    County
318   Montana Council             [Redacted]                [Redacted], an adult male v. Montana      CDV-20-0246   Montana Eighth
                                                            Council, Boy Scouts of America, a                       Judicial District
                                                            Montana non-profit corporation, and                     Court, Cascade
                                                            John Does I and II                                      County
319   Montana Council             [Redacted]                [Redacted], an adult male proceeding      DDV-20-0247   Montana Eighth
                                                            under a fictitious name v. Montana                      Judicial District
                                                            Council, Boy Scouts of America, a                       Court, Cascade
                                                            Montana non-profit corporation                          County
320   Montana Council             [Redacted]                [Redacted], an adult male v. Montana      ADV-20-0248   Montana Eighth
                                                            Council, Boy Scouts of America, a                       Judicial District
                                                            Montana non-profit corporation, and                     Court, Cascade
                                                            John Does I and II                                      County
321   Montana Coucnil             [Redacted]                [Redacted], an adult male v. Montana      DDV-20-0250   Montana Eighth
                                                            Council, Boy Scouts of America, a                       Judicial District
                                                            Montana non-profit corporation, and                     Court, Cascade
                                                            John Does I and II                                      County
                                     Case 20-50527-LSS         Doc 107-1       Filed 10/22/20     Page 97 of 165




                                   Underlying Plaintiff(s)
      Non-Debtor Defendants(s)     (last, first)             Case Caption                              Case Number      Court or Agency
322   Montana Council              [Redacted]                [Redacted], an adult male v. Montana      ADV-20-0251      Montana Eighth
                                                             Council, Boy Scouts of America, a                          Judicial District
                                                             Montana non-profit corporation, and                        Court, Cascade
                                                             John Does I and II                                         County
323   Montana Council              [Redacted]                [Redacted], an adult male, and            DDV-20-0249      Montana Eighth
                                                             [Redacted], an adult male v. Montana                       Judicial District
                                                             Council, a Montana non-profit                              Court, Cascade
                                                             corporation, and John Does I and II                        County
324   Montana Council              John Does 1-10            John Does 1-10, adult males proceeding    DDV-20-0254      Montana Eighth
                                                             under fictitious names v. Boy Scouts of                    Judicial District
                                                             America Montana Council                                    Court, Cascade
                                                                                                                        County
325   Montana Council              [Redacted]                [Redacted], an adult male v. Montana      CDV-20-0259      Montana Eighth
                                                             Council, Boy Scouts of America, a                          Judicial District
                                                             Montana non-profit corporation, and                        Court, Cascade
                                                             John Does I and II                                         County
326   Montana Council              [Redacted]                [Redacted], an adult male v. Montana      CDV-20-0260      Montana Eighth
                                                             Council, Boy Scouts of America, a                          Judicial District
                                                             Montana non-profit corporation, and                        Court, Cascade
                                                             John Does I and II                                         County
327   Finger Lakes Council;        [Redacted]                [Redacted] v. Finger Lakes Council;       E2020003198      Supreme Court of
      Seneca Waterways Council,                              Seneca Waterways Council, Inc., Boy                        the State of New
      Inc.; St. Michael’s Church                             Scouts of America; and St. Michael’s                       York, Monroe
                                                             Church                                                     County
328   Susquenango Council;         [Redacted]                [Redacted] v. Susquenango Council;        EFCA2020000874   Supreme Court of
      Baden-Powell Council, Inc.                             Baden-Powell Council, Inc., Boy Scouts                     the State of New
                                                             of America                                                 York, Broome
                                                                                                                        County
329   Susquenango Council;         [Redacted]                [Redacted] v. Susquenango Council;        EFCA2020000875   Supreme Court of
      Baden-Powell Council,                                  Baden-Powell Council, Inc., Boy Scouts                     the State of New
      Inc.; Sarah Jane United                                of America; and Sarah Jane United                          York, Broome
      Methodist Church                                       Methodist Church                                           County
330   Susquenango Council;         [Redacted]                [Redacted] v. Susquenango Council;        EFCA2020000876   Supreme Court of
      Baden-Powell Council,                                  Baden-Powell Council, Inc., Boy Scouts                     the State of New
                                      Case 20-50527-LSS         Doc 107-1      Filed 10/22/20       Page 98 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                              Case Number       Court or Agency
      Inc.; Church of the Holy                                of America; Church of the Holy Trinity;                     York, Broome
      Trinity; St. Stanislaus                                 St. Stanislaus Kostka Catholic Church;                      County
      Kostka Catholic Church;                                 and Diocese of Syracuse
      Diocese of Syracuse
331   Otetiana Council; Seneca      [Redacted]                [Redacted] v. Otetiana Council; Seneca    E2020003199       Supreme Court of
      Waterways Council, Inc.;                                Waterways Council, Inc., Boy Scouts of                      the State of New
      Alliance Church                                         America; and Alliance Church                                York, Monroe
                                                                                                                          County
332   Otetiana Council; Seneca      [Redacted]                [Redacted] v. Otetiana Council; and       E2020003200       Supreme Court of
      Waterways Council, Inc.                                 Seneca Waterways Council, Inc., Boy                         the State of New
                                                              Scouts of America                                           York, Monroe
                                                                                                                          County
333   Land of the Oneidas           [Redacted]                [Redacted] v. Land of the Oneidas         EFCA2020-000962   Supreme Court of
      Council; Leatherstocking                                Council; Leatherstocking Council of the                     the State of New
      Council, Inc.; Catholic                                 Boy Scouts of America, Inc., Catholic                       York, Oneida
      Church of St. John the                                  Church of St. John the Baptist and                          County
      Baptist and Transfiguration                             Transfiguration of Our Lord Parish; and
      of Our Lord Parish; Diocese                             Diocese of Syracuse
      of Syracuse
334   Fort Stanwix Council;         [Redacted]                [Redacted] v. Fort Stanwix Council;       EFCA2020-000961   Supreme Court of
      Iroquois Council;                                       Iroquois Council; Leatherstocking                           the State of New
      Leatherstocking Council,                                Council of the Boy Scouts of America,                       York, Oneida
      Inc.                                                    Inc.; and Doe Defendant                                     County
335   Iroquois Council;             [Redacted]                [Redacted] v. Iroquois Council; and       EFCA2020-000960   Supreme Court of
      Leatherstocking Council,                                Leatherstocking Council of the Boy                          the State of New
      Inc.                                                    Scouts of America, Inc.                                     York, Oneida
                                                                                                                          County
336   Garden State Council;         [Redacted]                [Redacted] v. Boy Scouts of America;      CAM-L-001446-20   Superior Court of
      Bethel Commandment                                      Garden State Council, Boy Scouts of                         New Jersey,
      Church of the Living God                                America; Bethel Commandment Church                          Camden County
      of New Jersey, Inc.;                                    of the Living God of New Jersey, Inc.;                      Law Division –
      Vincent Watkins; Clyde                                  Vincent Watkins; and Clyde Watkins                          Civil Part
      Watkins a/k/a Kallad                                    a/k/a Kallad Watkins Cepada
      Watkins Cepada
                                      Case 20-50527-LSS         Doc 107-1      Filed 10/22/20         Page 99 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                               Case Number       Court or Agency
337   Burlington County Council;    [Redacted]                [Redacted] v. Burlington County            BUR-L-001020-20   Superior Court of
      Garden State Council, Inc.;                             Council; Garden State Council, Inc.,                         New Jersey,
      Mount Laurel Fire                                       Boy Scouts of America; Mount Laurel                          Burlington County
      Department                                              Fire Department; and John Does 1-10                          Law Division
338   Greater New York              [Redacted]                [Redacted] v. Greater New York             950090/2020       Supreme Court of
      Councils; Manhattan                                     Councils, Boy Scouts of America,                             the State of New
      Council; Our Lady of                                    Manhattan Council; Our Lady of                               York, New York
      Guadalupe at St. Bernard;                               Guadalupe at St. Bernard; and the                            County
      and the Archdiocese of                                  Archdiocese of New York
      New York
339   Theodore Roosevelt            [Redacted]                [Redacted] v. Theodore Roosevelt           900035/2020       Supreme Court of
      Council, Inc.; Nassau                                   Council, Inc., Boy Scouts of America;                        the State of New
      County Council; Fork Lane                               Nassau County Council; Fork Lane                             York, Nassau
      School; Dutch Lane School;                              School; Dutch Lane School; Lee Avenue                        County
      Lee Avenue Elementary                                   Elementary School; and Hicksville
      School; Hicksville Union                                Union Free School District
      Free School District
340   Theodore Roosevelt            [Redacted]                [Redacted] v. Theodore Roosevelt           900034/2020       Supreme Court of
      Council, Inc.; Nassau                                   Council, Inc., Boy Scouts of America;                        the State of New
      County Council; Fork Lane                               Nassau County Council; Fork Lane                             York, Nassau
      School; Dutch Lane School;                              School; Dutch Lane School; and                               County
      Hicksville Union Free                                   Hicksville Union Free School District
      School District
341   Theodore Roosevelt            [Redacted]                [Redacted] v. Theodore Roosevelt           900033/2020       Supreme Court of
      Council, Inc.; Nassau                                   Council, Inc., Boy Scouts of America;                        the State of New
      County Council; Archer                                  Nassau County Council; Archer Street                         York, Nassau
      Street School; Freeport                                 School; Freeport Union Free School                           County
      Union Free School District;                             District; Our Holy Redeemer School;
      Our Holy Redeemer                                       and Diocese of Rockville Centre
      School; Diocese of
      Rockville Centre
342   Westchester-Putnam            [Redacted]                [Redacted] v. Westchester-Putnam           55931/2020        Supreme Court of
      Council, Inc.; Washington                               Council, Inc., Boy Scouts of America;                        the State of New
      Irving Council                                          and Washington Irving Council
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                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                             Case Number   Court or Agency
                                                                                                                     York, Westchester
                                                                                                                     County
343   Greater New York              [Redacted]                [Redacted] v. Greater New York           950089/2020   Supreme Court of
      Councils; Brooklyn                                      Councils, Boy Scouts of America;                       the State of New
      Council; Diocese of                                     Brooklyn Council; Diocese of Brooklyn;                 York, New York
      Brooklyn; St. Patrick’s                                 and St. Patrick’s Catholic Academy                     County
      Catholic Academy
344   Greater New York              [Redacted]                [Redacted] v. Greater New York           950086/2020   Supreme Court of
      Councils; Queens Council;                               Councils, Boy Scouts of America;                       the State of New
      St. Mary and St. Antonios                               Queens Council; St. Mary and St.                       York, New York
      Coptic Orthodox Church;                                 Antonios Coptic Orthodox Church; and                   County
      The Coptic Orthodox                                     The Coptic Orthodox Diocese of New
      Diocese of New York and                                 York and New England
      New England
345   Suffolk County Council,       [Redacted]                [Redacted] v. Suffolk County Council,    605382/2020   Supreme Court of
      Inc.; Smithtown Central                                 Inc., Boy Scouts of America; Smithtown                 the State of New
      School District; St. James                              Central School District; and St. James                 York, Suffolk
      Elementary School                                       Elementary School                                      County
346   Westchester-Putnam            [Redacted]                [Redacted] v. Westchester-Putnam         55930/2020    Supreme Court of
      Council, Inc.; White Plains                             Council, Inc., Boy Scouts of America;                  the State of New
      School District; George                                 White Plains School District; and                      York, Westchester
      Washington Elementary                                   George Washington Elementary School                    County
      School
347   Longhouse Council, Inc.;      [Redacted]                [Redacted] v. Longhouse Council, Inc.,   003099/2020   Supreme Court of
      St. Lawrence Council;                                   Boy Scouts of America; St. Lawrence                    the State of New
      Town of Russell; Russell                                Council; Town of Russell; and Russell                  York, Onondaga
      Town Hall                                               Town Hall                                              County
348   Longhouse Council, Inc.;      [Redacted]                [Redacted] v. Longhouse Council, Inc.,   003096/2020   Supreme Court of
      St. Lawrence Council;                                   Boy Scouts of America; St. Lawrence                    the State of New
      Town of Russell; Russell                                Council; Town of Russell; Russell Town                 York, Onondaga
      Town Hall; Russell                                      Hall; and Russell Methodist Church                     County
      Methodist Church
349   Longhouse Council, Inc.;      [Redacted]                [Redacted] v. Longhouse Council, Inc.,   003095/2020   Supreme Court of
      St. Lawrence Council;                                   Boy Scouts of America; St. Lawrence                    the State of New
                                      Case 20-50527-LSS         Doc 107-1      Filed 10/22/20        Page 101 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                               Case Number        Court or Agency
      Town of Russell; Russell                                Council; Town of Russell; Russell Town                        York, Onondaga
      Town Hall; Knox Memorial                                Hall; Knox Memorial Central School;                           County
      Central School; Edwards-                                and Edwards-Knox Central School
      Knox Central School                                     District
      District
350   Longhouse Council, Inc.;      [Redacted]                [Redacted] v. Longhouse Council, Inc.,     003094/2020        Supreme Court of
      Seaway Valley Council; St.                              Boy Scouts of America; Seaway Valley                          the State of New
      Lawrence Council; Town of                               Council; St. Lawrence Council; Town of                        York, Onondaga
      Russell; Russell Town Hall;                             Russell; Russell Town Hall; Knox                              County
      Knox Memorial Central                                   Memorial Central School; and Edward-
      School District; Edward-                                Knox Central School District
      Knox Central School
      District
351   Olympic Area Council;         [Redacted]                [Redacted] v. Olympic Area Council;        20-2-09228-2 SEA   Superior Court of
      Chief Seattle Council;                                  Chief Seattle Council, Boy Scouts of                          the State of
      Bethel Grange No. 404                                   America; and Bethel Grange No. 404                            Washington, King
                                                                                                                            County
352   Olympic Area Council;         [Redacted]                [Redacted] v. Olympic Area Council;        20-2-09229-1 SEA   Superior Court of
      Chief Seattle Council;                                  Chief Seattle Council, Boy Scouts of                          the State of
      Bethel Grange No. 404                                   America; and Bethel Grange No. 404                            Washington, King
                                                                                                                            County
353   Olympic Area Council;         [Redacted]                [Redacted], individually v. Olympic        20-2-09230-4 SEA   Superior Court of
      Chief Seattle Council;                                  Area Council; Chief Seattle Council,                          the State of
      Bethel Grange No. 404                                   Boy Scouts of America; and Bethel                             Washington, King
                                                              Grange No. 404                                                County
354   Olympic Area Council;         [Redacted]                [Redacted] v. Olympic Area Council;        20-2-09231-2 SEA   Superior Court of
      Chief Seattle Council;                                  Chief Seattle Council, Boy Scouts of                          the State of
      Bethel Grange No. 404                                   America; and Bethel Grange No. 404                            Washington, King
                                                                                                                            County
355   Greater New York              [Redacted]                [Redacted] v. Greater New York             950094/2020        Supreme Court of
      Councils; The Bronx                                     Councils, Boy Scouts of America; The                          the State of New
      Council; Hudson Valley                                  Bronx Council; Hudson Valley Council,                         York, New York
      Council, Inc.; St. Francis                              Inc., Boy Scouts of America; St. Francis                      County
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                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s) (last, first)                  Case Caption                               Case Number   Court or Agency
      Xavier Church; The                                      Xavier Church; and the Archdiocese of
      Archdiocese of New York                                 New York
356   Greater New York              [Redacted]                [Redacted] v. Greater New York             950100/2020   Supreme Court of
      Councils; Manhattan                                     Councils, Boy Scouts of America;                         the State of New
      Council; Holy Rosary                                    Manhattan Council; Holy Rosary                           York, New York
      Church; The Archdiocese of                              Church; and The Archdiocese of New                       County
      New York                                                York
357   Iroquois Trail Council, Inc.; [Redacted]                [Redacted] v. Iroquois Trial Council,      E68367        Supreme Court of
      Alexander Fire Department                               Inc., Boy Scouts of America; and                         the State of New
                                                              Alexander Fire Department                                York, Genesee
                                                                                                                       County
358   Greater New York              [Redacted]                [Redacted] v. Greater New York             950119/2020   Supreme Court of
      Councils; Bronx Council;                                Councils, Boy Scouts of America; Bronx                   the State of New
      Catholic Guardian Services                              Council; Boy Scouts of America; and                      York, New York
      A.K.A. Catholic Guardian                                Catholic Guardian Services A.K.A.                        County
      Society                                                 Catholic Guardian Society
359   Five Rivers Council, Inc.,    [Redacted]                [Redacted] v. Five Rivers Council, Inc.,   2020-5294     Supreme Court of
      Boy Scouts of America;                                  Boy Scouts of America; Steuben Area                      the State of New
      Steuben Area Council; and                               Council; and Grange Hall                                 York, Chemung
      Grange Hall                                                                                                      County
360   Five Rivers Council, Inc.;    [Redacted]                [Redacted] v. Five Rivers Council, Inc.,   2020-5293     Supreme Court of
      Sullivan Trail Council; Our                             Boy Scouts of America; Sullivan Trail                    the State of New
      Lady of Lourdes                                         Council; and Our Lady of Lourdes                         York, Chemung
                                                                                                                       County
361   Twin Rivers Council, Inc.;    [Redacted]                [Redacted] v. Twin Rivers Council, Inc.,   903680-20     Supreme Court of
      Adirondack Council                                      Boy Scouts of America; and Adirondack                    the State of New
                                                              Council                                                  York, Albany
                                                                                                                       County
362   Longhouse Council, Inc.;      [Redacted]                [Redacted] v. Longhouse Council, Inc.,     003252/2020   Supreme Court of
      Jefferson-Lewis Council                                 Boy Scouts of America; and Jefferson-                    the State of New
                                                              Lewis Council                                            York, Onondaga
                                                                                                                       County
363   Twin Rivers Council, Inc.;    [Redacted]                [Redacted] v. Twin Rivers Council, Inc.,   903679-20     Supreme Court of
      Governor Clinton Council;                               Boy Scouts of America; Governor                          the State of New
                                       Case 20-50527-LSS       Doc 107-1      Filed 10/22/20       Page 103 of 165




                                   Underlying Plaintiff(s)
      Non-Debtor Defendants(s) (last, first)                 Case Caption                               Case Number       Court or Agency
      First Presbyterian Church of                           Clinton Council; First Presbyterian                          York, Albany
      Watervliet, N.Y.                                       Church of Watervliet, N.Y.                                   County
364   Burlington County Council; [Redacted]                  [Redacted] v. Burlington County            BUR-L-001021-20   Superior Court of
      Garden State Council, Inc.                             Council; Garden State Council, Inc.,                         New Jersey,
                                                             Boy Scouts of America; and John Does                         Burlington County
                                                             1-10                                                         Law Division
365   Watchung Area Council;          [Redacted]             [Redacted] v. Watchung Area Council;       MRS-L-1086-20     Superior Court of
      Patriots’ Path Council, Inc.;                          Patriots’ Path Council, Inc., Boy Scouts                     New Jersey,
      Veterans of Foreign Wars                               of America; Veterans of Foreign Wars                         Morris County
      #6763; Veterans of Foreign                             #6763; Veterans of Foreign Wars of the                       Law Division
      Wars of the United States                              United States; and John Does 1-10
366   Greater Niagara Frontier        [Redacted]             [Redacted] v. Greater Niagara Frontier     805178/2020       Supreme Court of
      Council, Inc.; Buffalo Area                            Council, Inc., Boy Scouts of America;                        the State of New
      Council; Rescue Volunteer                              Buffalo Area Council; and Rescue                             York, Erie County
      Hose Company No. 1 of                                  Volunteer Hose Company No. 1 of
      Cheektowga, N.Y.                                       Cheektowga, N.Y.
367   Theodore Roosevelt              [Redacted]             [Redacted] v. Theodore Roosevelt           900036/2020       Supreme Court of
      Council, Inc.; Nassau                                  Council, Inc., Boy Scouts of America;                        the State of New
      County Council; Archer                                 Nassau County Council; Archer Street                         York, Nassau
      Street School; Steele                                  School; Steele Elementary School;                            County
      Elementary School;                                     Freeport Union Free School District;
      Freeport Union Free School                             Baldwin Union Free School District;
      District; Baldwin Union                                Our Holy Redeemer School; and The
      Free School District; Our                              Diocese of Rockville Centre
      Holy Redeemer School;
      The Diocese of Rockville
      Centre
368   Hudson Valley Council,          [Redacted]             [Redacted] v. Hudson Valley Council,       EF002579-2020     Supreme Court of
      Inc.; Dutchess County                                  Inc., Boy Scouts of America; Dutchess                        the State of New
      Council; Trinity United                                County Council; Trinity United                               York, Orange
      Methodist Church; United                               Methodist Church; and United                                 County
      Methodist Church, New                                  Methodist Church, New York-
      York-Connecticut District                              Connecticut District
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                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                             Case Number   Court or Agency
369   Greater Niagara Frontier      [Redacted]                [Redacted] v. Greater Niagara Frontier   805177/2020   Supreme Court of
      Council, Inc.; Buffalo Area                             Council, Inc., Boy Scouts of America;                  the State of New
      Council; Rescue Volunteer                               Buffalo Area Council; and Rescue                       York, Erie County
      Hose Company No. 1 of                                   Volunteer Hose Company No. 1 of
      Cheektowga, N.Y.                                        Cheektowga, N.Y.
370   Greater New York              [Redacted]                [Redacted] v. Greater New York           950120/2020   Supreme Court of
      Councils; Bronx Council;                                Councils, Boy Scouts of America; Bronx                 the State of New
      Catholic Guardian Services                              Council, Boy Scouts of America; and                    York, New York
      A.K.A. Catholic Guardian                                Catholic Guardian Services A.K.A.                      County
      Society                                                 Catholic Guardian Society
371   Westchester-Putnam            [Redacted]                [Redacted] v. Westchester-Putnam         55932/2020    Supreme Court of
      Council, Inc.; Washington                               Council, Inc., Boy Scouts of America;                  the State of New
      Irving Council                                          and Washington Irving Council                          York, Westchester
                                                                                                                     County
372   Westchester-Putnam            [Redacted]                [Redacted] v. Westchester-Putnam         56142/2020    Supreme Court of
      Council, Inc.; Washington                               Council, Inc., Boy Scouts of America;                  the State of New
      Irving Council; Greenburgh                              Washington Irving Council; Greenburgh                  York, Westchester
      Junior High School;                                     Junior High School; and Greenburgh                     County
      Greenburgh Central School                               Central School District
      District
373   Westchester-Putnam            [Redacted]                [Redacted] v. Westchester-Putnam         56143/2020    Supreme Court of
      Council, Inc.; Washington                               Council, Inc., Boy Scouts of America;                  the State of New
      Irving Council; School 23;                              Washington Irving Council; School 23;                  York, Westchester
      Yonkers Public Schools                                  Yonkers Public Schools                                 County
374   Longhouse Council, Inc.;      [Redacted]                [Redacted] v. Longhouse Council, Inc.,   003461/2020   Supreme Court of
      Onondaga Council; Edward                                Boy Scouts of America; Onondaga                        the State of New
      Smith School; Syracuse                                  Council; Edward Smith School; and                      York, Onondaga
      City School District                                    Syracuse City School District                          County
375   Suffolk County Council,       [Redacted]                [Redacted] v. Suffolk County Council,    606775/2020   Supreme Court of
      Inc.; Higbie Lane School;                               Inc., Boy Scouts of America; Higbie                    the State of New
      Secatogue School; West                                  Lane School; Secatogue School; and                     York, Suffolk
      Islip School District                                   West Islip School District                             County
                                      Case 20-50527-LSS         Doc 107-1      Filed 10/22/20      Page 105 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                              Case Number   Court or Agency
376   Suffolk County Council,       [Redacted]                [Redacted] v. Suffolk County Council,     606777/2020   Supreme Court of
      Inc.; St. Ann’s Episcopal                               Inc., Boy Scouts of America; and St.                    the State of New
      Church                                                  Ann’s Episcopal Church                                  York, Suffolk
                                                                                                                      County
377   Suffolk County Council,       [Redacted]                [Redacted] v. Suffolk County Council,     606776/2020   Supreme Court of
      Inc.; Baden-Powell                                      Inc., Boy Scouts of America; Baden-                     the State of New
      Council, Inc.; Katahdin                                 Powell Council, Inc., Boy Scouts of                     York, Suffolk
      Area Council, Inc.; West                                America; Katahdin Area Council Boy                      County
      Hills United Methodist                                  Scouts of America, Inc.; and West Hills
      Church                                                  United Methodist Church
378   Greater New York              [Redacted]                [Redacted] v. Greater New York            950133/2020   Supreme Court of
      Councils; Brooklyn                                      Councils, Boy Scouts of America;                        the State of New
      Council; Holy Cross High                                Brooklyn Council, Boy Scouts of                         York, New York
      School; The Diocese of                                  America; Holy Cross High School; and                    County
      Brooklyn                                                The Diocese of Brooklyn
379   Westchester-Putnam            [Redacted]                [Redacted] v. Westchester-Putnam          56144/2020    Supreme Court of
      Council, Inc.; Washington                               Council, Inc., Boy Scouts of America;                   the State of New
      Irving Council                                          and Washington Irving Council                           York, Westchester
                                                                                                                      County
380   Greater New York              [Redacted]                [Redacted] v. Greater New York            950134/2020   Supreme Court of
      Councils; Brooklyn                                      Councils, Boy Scouts of America;                        the State of New
      Council; Holy Cross High                                Brooklyn Council, Boy Scouts of                         York, New York
      School; The Diocese of                                  America; Holy Cross High School; and                    County
      Brooklyn                                                The Diocese of Brooklyn
381   Greater Niagara Frontier      [Redacted]                [Redacted] v. Greater Niagara Frontier    805607/2020   Supreme Court of
      Council, Inc.; Buffalo Area                             Council, Inc., Boy Scouts of America;                   the State of New
      Council; Seneca Waterways                               Buffalo Area Council; and Seneca                        York, Erie County
      Council, Inc.                                           Waterways Council, Inc., Boy Scouts of
                                                              America
382   Greater New York              [Redacted]                [Redacted] v. Greater New York            950132/2020   Supreme Court of
      Councils; Brooklyn Council                              Councils, Boy Scouts of America; and                    the State of New
                                                              Brooklyn Council, Boy Scouts of                         York, New York
                                                              America                                                 County
                                       Case 20-50527-LSS         Doc 107-1      Filed 10/22/20        Page 106 of 165




                                     Underlying Plaintiff(s)
      Non-Debtor Defendants(s)       (last, first)             Case Caption                               Case Number     Court or Agency
383   Indian Waters Council, Inc.    [Redacted]                [Redacted] v. Indian Waters Council,       2020CP4002741   In the Court of
                                                               Boy Scouts of America, Inc.                                Common Pleas for
                                                                                                                          the Fifth Judicial
                                                                                                                          District, State of
                                                                                                                          South Carolina
                                                                                                                          County of
                                                                                                                          Richland
384   Greater Niagara Frontier       [Redacted]                [Redacted] v. Greater Niagara Frontier     805818/2020     Supreme Court of
      Council, Inc.                                            Council, Inc., Boy Scouts of America                       the State of New
                                                                                                                          York, Erie County
385   Twin Rivers Council, Inc.;     [Redacted]                [Redacted] v. Twin Rivers Council, Inc.,   904010-20       Supreme Court of
      Schenectady County                                       Boy Scouts of America; Schenectady                         the State of New
      Council; Bradt Primary                                   County Council; Bradt Primary School;                      York, Albany
      School; Mohonasen Central                                and Mohonasen Central School District                      County
      School District
386   Greater Niagara Frontier       [Redacted]                [Redacted] v. Greater Niagara Frontier     805819/2020     Supreme Court of
      Council, Inc.; Orchard Park                              Council, Inc., Boy Scouts of America;                      the State of New
      United Methodist Church;                                 Orchard Park United Methodist Church;                      York, Erie County
      The Upper New York                                       and The Upper New York Conference of
      Conference of the United                                 the United Methodist Church
      Methodist Church
387   Greater Niagara Frontier       LG 40 Doe                 LG 40 Doe v. Greater Niagara Frontier      805763/2020     Supreme Court of
      Council, Inc.                                            Council, Inc., Boy Scouts of America                       the State of New
                                                                                                                          York, Erie County
388   Massawepie Scout Camps;        [Redacted]                [Redacted] v. Massawepie Scout Camps;      950201/2020     Supreme Court of
      Otetiana Council, Inc.;                                  Otetiana Council, Inc., Boy Scouts of                      the State of New
      Seneca Waterways Council,                                America; Seneca Waterways Council,                         York, New York
      Inc; The New York                                        Inc., Boy Scouts of America; The New                       County
      Province of the Society of                               York Province of the Society of Jesus;
      Jesus; U.S.A. Northeast                                  U.S.A. Northeast Province of the Jesuit
      Province of the Jesuit                                   Fathers and Brothers, a/k/a, U.S.A.
      Fathers and Brothers, a/k/a,                             Northeast Province; The USA Northeast
      U.S.A. Northeast Province;                               Province of the Society of Jesus, Inc.,
      The USA Northeast
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                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                             Case Number       Court or Agency
      Province of the Society of                              d/b/a, McQuaid Jesuit Community; and
      Jesus, Inc., d/b/a, McQuaid                             McQuaid Jesuit High School
      Jesuit Community; and
      McQuaid Jesuit High
      School
389   Westchester-Putnam            [Redacted]                [Redacted] v. Westchester-Putnam         56272/2020        Supreme Court of
      Council, Inc.; St.                                      Council, Inc., Boy Scouts of America;                      the State of New
      Washington Irving Council;                              St. Washington Irving Council;                             York, Westchester
      Lawrence School;                                        Lawrence School; and Archdiocese of                        County
      Archdiocese of New York                                 New York
390                                 [Redacted]                [Redacted] v. Boy Scouts of America;     CAM-L-002144-20   Superior Court of
                                                              John & Jane Does (1-10); and ABC                           New Jersey,
                                                              Entities (1-10)                                            Camden County
                                                                                                                         Law Division –
                                                                                                                         Civil Part
391   Rip Van Winkle Council,       [Redacted]                [Redacted] v. Rip Van Winkle Council,    EF2020-1413       Supreme Court of
      Inc.                                                    Inc., Boy Scouts of America                                the State of New
                                                                                                                         York, Ulster
                                                                                                                         County
392   Longhouse Council, Inc.;      [Redacted]                [Redacted] v. Longhouse Council, Inc.,   003789/2020       Supreme Court of
      Hiawatha Council, Inc.;                                 Boy Scouts of America; Hiawatha                            the State of New
      Hiawatha Seaway Council,                                Council, Inc., Boy Scouts of America;                      York, Onondaga
      Inc.                                                    and Hiawatha Seaway Council, Inc.,                         County
                                                              Boy Scouts of America
393   Greater New York              [Redacted]                [Redacted] v. Greater New York           950222/2020       Supreme Court of
      Councils; Queens Council                                Councils, Boy Scouts of America; and                       the State of New
                                                              Queens Council, Boy Scouts of America                      York, New York
                                                                                                                         County
394   Suffolk County Council,       [Redacted]                [Redacted] v. Suffolk County Council,    607768/2020       Supreme Court of
      Inc.; St. Mary Roman                                    Inc., Boy Scouts of America; St. Mary                      the State of New
      Catholic Church; The                                    Roman Catholic Church; and The                             York, Suffolk
      Diocese of Rockville Centre                             Diocese of Rockville Centre                                County
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                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                             Case Number     Court or Agency
395   Greater New York              [Redacted]                [Redacted] v. Greater New York           950223/2020     Supreme Court of
      Councils; Redeemer                                      Councils, Boy Scouts of America; and                     the State of New
      Lutheran Church                                         Redeemer Lutheran Church                                 York, New York
                                                                                                                       County
396   Hudson Valley Council,        [Redacted]                [Redacted] v. Hudson Valley Council,     EF003086-2020   Supreme Court of
      Inc.; Dutchess County                                   Inc., Boy Scouts of America; Dutchess                    the State of New
      Council, Inc.; Millerton                                County Council of Boy Scouts of                          York, Orange
      Elementary School;                                      America, Inc.; Millerton Elementary                      County
      Webtuck Central School                                  School; and Webtuck Central School
      District                                                District
397   Hudson Valley Council,        [Redacted]                [Redacted] v. Hudson Valley Council,     EF003085-2020   Supreme Court of
      Inc.; Hudson Delaware                                   Inc., Boy Scouts of America; and                         the State of New
      Council                                                 Hudson Delaware Council                                  York, Orange
                                                                                                                       County
398   Allegheny Highlands           [Redacted]                [Redacted] v. Allegheny Highlands        EK12020000679   Supreme Court of
      Council, Inc.; Seneca                                   Council, Inc.; and Seneca Coucnil                        the State of New
      Council                                                                                                          York, Chautauqua
                                                                                                                       County
399   Suffolk County Council,     [Redacted]                  [Redacted] v. Suffolk County Council,    608020/2020     Supreme Court of
      Inc.; Baden-Powell                                      Inc., Boy Scouts of America; Baden-                      the State of New
      Council, Inc.; Susquenango                              Powell Council, Inc., Boy Scouts of                      York, Suffolk
      Council; Birchwood                                      America; Susquenango Council;                            County
      Intermediate School; South                              Birchwood Intermediate School; South
      Huntington School District;                             Huntington School District; and West
      West Hills United                                       Hills United Methodist Church
      Methodist Church
400   Connecticut Yankee          [Redacted]                  [Redacted] v. Connecticut Yankee         E012020015758   Supreme Court of
      Council, Mauwehu Council;                               Council, Boy Scouts of America;                          the State of New
      Fairfield County Council                                Mauwehu Council; and Fairfield County                    York, Columbia
                                                              Council                                                  County
401   Greater Niagara Frontier      [Redacted]                [Redacted] v. Greater Niagara Frontier   806370/2020     Supreme Court of
      Council, Inc.; Buffalo Area                             Council, Inc., Boy Scouts of America;                    the State of New
      Council                                                 and Buffalo Area Council                                 York, Erie County
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                                   Underlying Plaintiff(s)
      Non-Debtor Defendants(s)     (last, first)             Case Caption                               Case Number   Court or Agency
402   Seneca Waterways Council,    [Redacted]                [Redacted] v. Seneca Waterways             E2020004188   Supreme Court of
      In. Otetiana Council;                                  Council, Inc., Boy Scouts of America;                    the State of New
      Seneca Elementary School;                              Otetiana Council; Seneca Elementary                      York, Monroe
      and West Irondeqoit School                             School; and West Irondequoit School                      County
      District                                               District
403   Seneca Waterways Council     PC-6 Doe                  PC-6 Doe v. Boy Scouts of America,         E2020004263   Supreme Court of
                                                             and Seneca Waterways Council, Boy                        the State of New
                                                             Scouts of America                                        York, Monroe
                                                                                                                      County
404   Suffolk County Council;      [Redacted]                [Redacted] v. Suffolk County Council,      608068/2020   Supreme Court of
      Suffolk County Council,                                BSA, Suffolk County Council, Inc., and                   the State of New
      Inc.; Learning for Life                                Learning for Life Corporation                            York, Suffolk
      Corporation                                                                                                     County
405   Greater Niagara Frontier     [Redacted]                [Redacted] v. John C. Bobeck v. Greater    806601/2020   Supreme Court of
      Council, Inc.                                          Niagara Frontier Council, Inc., Boy                      the State of New
                                                             Scouts of America; Robert L. Eberhardt                   York, Erie County
406   Greater New York Councils    [Redacted]                [Redacted] v. Boy Scouts of America        950247/2020   Supreme Court of
                                                             and Greater New York Councils                            the State of New
                                                                                                                      York, New York
                                                                                                                      County
407   Greater New York             [Redacted]                [Redacted] v. Greater New York             950257/2020   Supreme Court of
      Councils; Bronx Council                                Councils, Boy Scouts of America, and                     the State of New
                                                             Bronx Council                                            York, New York
                                                                                                                      County
408   Greater Niagara Frontier     [Redacted]                [Redacted] v. Greater Niagara Frontier     806672/2020   Supreme Court of
      Council, Inc.; Knights of                              Council, Inc., Boy Scouts of America;                    the State of New
      Columbus, Father Baker                                 and Knights of Columbus, Father Baker                    York, Erie County
      Council #2243                                          Council #2243
409   Twin Rivers Council, Inc,;   [Redacted]                [Redacted] v. Twin Rivers Council, Inc.,   904388-20     Supreme Court of
      Mohican Council; Big                                   Boy Scouts of America; Mohican                           the State of New
      Cross Street Elementary                                Council; Big Cross Street Elementary                     York, Albany
      School; Glen Falls City                                School; and Glen Falls City Schools                      County
      Schools
                                        Case 20-50527-LSS         Doc 107-1      Filed 10/22/20      Page 110 of 165




                                      Underlying Plaintiff(s)
      Non-Debtor Defendants(s)        (last, first)             Case Caption                              Case Number     Court or Agency
410   Iroquois Trail Council, Inc.;   [Redacted]                [Redacted] v. Iroquois Trail Council,     E68425          Supreme Court of
      Genesee Council; Town of                                  Inc., Boy Scouts of America; Genesee                      the State of New
      York; York Town Hall                                      Council; Town of York; and York Town                      York, Genesee
                                                                Hall                                                      County
411   Hudson Valley Council,          [Redacted]                [Redacted] v. Hudson Valley Council,      EF003242-2020   Supreme Court of
      Inc.; Dutchess County                                     Inc., Boy Scouts of America; Dutchess                     the State of New
      Council; Hudson Delaware                                  County Council of Boy Scouts of                           York, Orange
      Council; Circleville                                      America, Inc.; Hudson Delaware                            County
      Elementary School; Pine                                   Council; Circleville Elementary School;
      Bush Central School                                       and Pine Bush Central School District
      District
412   Westchester-Putnam              [Redacted]                [Redacted] v. Westchester-Putnam          56944/2020      Supreme Court of
      Council                                                   Council, Boy Scouts of America                            the State of New
                                                                                                                          York, Westchester
                                                                                                                          County
413   Longhouse Council, Inc.         PC-11 Doe                 PC-11 Doe v. Boy Scouts of America        E2020-0552      Supreme Court of
                                                                and Longhouse Council, Inc., Boy                          the State of New
                                                                Scouts of America                                         York, Cayuga
                                                                                                                          County
414   Westchester-Putnam              [Redacted]                [Redacted] v. Westchester-Putnam          57296/2020      Supreme Court of
      Council, Inc.; St. Paul’s                                 Council, Inc., Boy Scouts of America;                     the State of New
      Episcopal Church                                          and St. Paul’s Episcopal Church                           York, Westchester
                                                                                                                          County
415   Westchester-Putnam              [Redacted]                [Redacted] v. Boy Scouts of America,      57298/2020      Supreme Court of
      Council, Inc.; Knights of                                 Westchester-Putnam Council, Inc., Boy                     the State of New
      Columbus Council 462                                      Scouts of America, and Knights of                         York, Westchester
                                                                Columbus Council 462                                      County
416   Westchester-Putnam              [Redacted]                [Redacted] v. Westchester-Putnam          57295/2020      Supreme Court of
      Council, Inc.; Washington                                 Council, Inc., Boy Scouts of America;                     the State of New
      Irving Council; and The                                   Washington Irving Council, and The                        York, Westchester
      Children’s Village, Inc.                                  Children’s Village, Inc.                                  County
417   Greater Niagara Frontier        [Redacted]                [Redacted] v. Greater Niagara Frontier    807102/2020     Supreme Court of
      Council, Inc.; First Baptist                              Council, Inc., Boy Scouts of America;                     the State of New
      Church of East Aurora                                     and First Baptist Church of East Aurora                   York, Erie County
                                     Case 20-50527-LSS         Doc 107-1      Filed 10/22/20      Page 111 of 165




                                   Underlying Plaintiff(s)
      Non-Debtor Defendants(s)     (last, first)             Case Caption                               Case Number     Court or Agency
418   Seneca Waterways Council,    [Redacted]                [Redacted] v. Seneca Waterways             E2020004583     Supreme Court of
      Inc.; Otetiana Council;                                Council, Inc., Boy Scouts of America;                      the State of New
      Kiwanis Club of Webster,                               Otetiana Council; and Kiwanis Club of                      York, Monroe
      New York, Inc.                                         Webster, New York, Inc.                                    County
419   Greater Niagara Frontier     [Redacted]                [Redacted] v. Greater Niagara Frontier     806802/2020     Supreme Court of
      Council, Inc.                                          Council, Inc., Boy Scouts of America                       the State of New
                                                                                                                        York, Erie County
420   Theodore Roosevelt           [Redacted] and            [Redacted] and [Redacted] v. Boy           900089/2020     Supreme Court of
      Council, Inc.                [Redacted]                Scouts of America and Theodore                             the State of New
                                                             Roosevelt Council, Inc., Boy Scouts of                     York, Nassau
                                                             America and Bruce Stegner                                  County
421   Northern New Jersey          [Redacted]                [Redacted] v. Northern New Jersey          BER-L-3846-20   Superior Court of
      Council; The Roman                                     Council Boy Scouts of America Inc.;                        New Jersey, Law
      Catholic Archdiocese of                                The Roman Catholic Archdiocese of                          Division – Bergen
      Newark; St. Catharine’s                                Newark and St. Catharine’s Roman                           County
      Roman Catholic Church                                  Catholic Church
422   Greater Niagara Frontier     LG 63 Doe                 LG 63 Doe v. Greater Niagara Frontier      807625/2020     Supreme Court of
      Council, Inc.                                          Council, Inc., Boy Scouts of America                       the State of New
                                                                                                                        York, Erie County
423   Greater Niagara Frontier     LG 81 Doe                 LG 81 Doe v. Greater Niagara Frontier      807621/2020     Supreme Court of
      Council, Inc.                                          Council, Inc., Boy Scouts of America                       the State of New
                                                                                                                        York, Erie County
424   Twin Rivers Council, Inc.;   [Redacted]                [Redacted] v. Twin Rivers Council, Inc.,   904653-20       Supreme Court of
      Sir William Johnson                                    Boy Scouts of America; Sir William                         the State of New
      Council; McNulty                                       Johnson Council; McNulty Elementary                        York, Albany
      Elementary School ;                                    School; and Greater Amsterdam School                       County
      Greater Amsterdam School                               District
      District
425   Greater New York             [Redacted]                [Redacted] v. Greater New York             950352/2020     Supreme Court of
      Councils; Queens Council;                              Councils, Boy Scouts of America;                           the State of New
      Louis Blum Jewish War                                  Queens Council; and Louis Blum Jewish                      York, New York
      Veterans Post                                          War Veterans Post                                          County
                                        Case 20-50527-LSS         Doc 107-1      Filed 10/22/20      Page 112 of 165




                                      Underlying Plaintiff(s)
      Non-Debtor Defendants(s)        (last, first)             Case Caption                               Case Number   Court or Agency
426   Theodore Roosevelt              [Redacted]                [Redacted] v. Theodore Roosevelt           900097/2020   Supreme Court of
      Council, Inc.; Grace                                      Council, Inc., Boy Scouts of America;                    the State of New
      Lutheran Church                                           and Grace Lutheran Church                                York, Nassau
                                                                                                                         County
427   Greater New York                [Redacted]                [Redacted] v. Greater New York             950351/2020   Supreme Court of
      Councils; Brooklyn                                        Councils, Boy Scouts of America;                         the State of New
      Council; Bethesda                                         Brooklyn Council; and Bethesda                           York, New York
      Memorial Baptist Church,                                  Memorial Baptist Church, Inc.                            County
      Inc.
428   Twin Rivers Council, Inc.;      [Redacted]                [Redacted] v. Twin Rivers Council, Inc.,   904652-20     Supreme Court of
      Schenectady County                                        Boy Scouts of America; and                               the State of New
      Council, Inc.                                             Schenectady County Council, Inc., Boy                    York, Albany
                                                                Scouts of America                                        County
429   Iroquois Trail Council, Inc.;   [Redacted]                [Redacted] v. Iroquois Trail Council,      807548/2020   Supreme Court of
      Greater Niagara Frontier                                  Inc., Boy Scouts of America; Greater                     the State of New
      Council, Inc.; Exley United                               Niagara Frontier Council, Inc., Boy                      York, Erie County
      Methodist Church                                          Scouts of America; and Exley United
                                                                Methodist Church
430   N/A                             [Redacted]                [Redacted] v. Boy Scouts of America        200701520     Court of Common
                                                                                                                         Pleas Philadelphia
                                                                                                                         County Civil Trial
                                                                                                                         Division
431   The City of Los Angeles;        John C Doe                John C Doe v. The City of Los Angeles,     20STCV25957   Superior Court of
      Western Los Angeles                                       a local public entity; Western Los                       the State of
      County Council, Inc.                                      Angeles County Council, Inc., a                          California, County
                                                                California domestic non-profit; George                   of Los Angeles
                                                                Julian Stan, an individual; and Does 1-
                                                                50, inclusive
432   Westchester-Putnam              [Redacted]                [Redacted] v. Westchester-Putnam           57751/2020    Supreme Court of
      Council, Inc.                                             Council, Inc., Boy Scouts of America                     the State of New
                                                                                                                         York, Westchester
                                                                                                                         County
                                      Case 20-50527-LSS         Doc 107-1     Filed 10/22/20      Page 113 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                              Case Number     Court or Agency
433   Westchester-Putnam            [Redacted]                [Redacted] v. Westchester-Putnam          57750/2020      Supreme Court of
      Council, Inc.; Washington                               Council, Inc., Boy Scouts of America;                     the State of New
      Irving Council, Inc.                                    and Washington Irving Council, Inc.,                      York, Westchester
                                                              Boy Scouts of America                                     County
434   Allegheny Highlands           [Redacted]                [Redacted] v. Allegheny Highlands         EK12020000825   Supreme Court of
      Council, Inc.; French Creek                             Council, Inc.; French Creed Council,                      the State of New
      Council; First Presbyterian                             Boy Scouts of America; and First                          York, Chautauqua
      Church                                                  Presbyterian Church                                       County
435   Westchester-Putnam            [Redacted]                [Redacted] v. Westchester-Putnam          57752/2020      Supreme Court of
      Council, Inc.; Hutchinson                               Council, Inc., Boy Scouts of America;                     the State of New
      River Council, Inc.                                     and Hutchinson River Council, Inc., Boy                   York, Westchester
                                                              Scouts of America                                         County
436   Greater New York              [Redacted]                [Redacted] v. Greater New York            950423/2020     Supreme Court of
      Councils; Manhattan                                     Councils, Boy Scouts of America; and                      the State of New
      Council                                                 Manhattan Council, Boy Scouts of                          York, New York
                                                              America                                                   County
437   Theodore Roosevelt            [Redacted]                [Redacted] v. Theodore Roosevelt          900104/2020     Supreme Court of
      Council, Inc.; Bowling                                  Council, Inc., Boy Scouts of America;                     the State of New
      Green Elementary School;                                Bowling Green Elementary School; and                      York, Nassau
      and East Meadow School                                  East Meadow School District                               County
      District
438   Longhouse Council, Inc.;      [Redacted]                [Redacted] v. Longhouse Council, Inc.,    004550/2020     Supreme Court of
      St. Lawrence Council, Inc.;                             Boy Scouts of America; St. Lawrence                       the State of New
      First Presbyterian Church                               Council, Inc., Boy Scouts of America;                     York, Onondaga
                                                              and First Presbyterian Church                             County
439   Allegheny Highlands           AB 417 Doe                AB 417 Doe v. Allegheny Highlands         EK12020000844   Supreme Court of
      Council, Inc.; River’s Edge                             Council, Inc.; River’s Edge United                        the State of New
      United Methodist Church                                 Methodist Church f/k/a Portville                          York, Chautauqua
      f/k/a Portville Methodist                               Methodist Church; and Does 1-5 whose                      County
      Church                                                  identities are unknown to Plaintiff
440   Greater New York              JA-017 Doe                JA-017 Doe v. Greater New York            950451/2020     Supreme Court of
      Councils; Brooklyn                                      Councils, Boy Scouts of America;                          the State of New
      Council; YMCA of Greater                                Brooklyn Council, Boy Scouts of                           York, New York
      New York                                                America; YMCA of Greater New York;                        County
                                       Case 20-50527-LSS         Doc 107-1      Filed 10/22/20     Page 114 of 165




                                     Underlying Plaintiff(s)
      Non-Debtor Defendants(s)       (last, first)             Case Caption                              Case Number     Court or Agency
                                                               and Does 1-5 whose identities are
                                                               unknown to Plaintiff
441   Allegheny Highlands            [Redacted]                [Redacted] v. Allegheny Highlands         EK12020000843   Supreme Court of
      Council, Inc.; The                                       Council, Inc.; The Lakewood Memorial                      the State of New
      Lakewood Memorial Post                                   Post No. 1286, Inc., American Legion,                     York, Chautauqua
      No. 1286, Inc., American                                 Department of New York                                    County
      Legion, Department of New
      York
442   Seneca Waterways Council,      AB 410 Doe                AB 410 Doe v. Seneca Waterways            E2020005486     Supreme Court of
      Inc.; First United Methodist                             Council, Inc., Boy Scouts of America;                     the State of New
      Church a/k/a Newark First                                First United Methodist Church a/k/a                       York, Monroe
      United Methodist Church                                  Newark First United Methodist Church;                     County
                                                               and Does 1-5 whose identities are
                                                               unknown to Plaintiff
443   Greater New York Councils      [Redacted]                [Redacted] v. Greater New York            950565/2020     Supreme Court of
                                                               Councils, Boy Scouts of America                           the State of New
                                                                                                                         York, New York
                                                                                                                         County
444   Longhouse Council, Inc.        [Redacted]                [Redacted] v. Longhouse Council, Inc.,    004585/2020     Supreme Court of
                                                               Boy Scouts of America                                     the State of New
                                                                                                                         York, Onondaga
                                                                                                                         County
445   Greater New York Councils      [Redacted]                [Redacted] v. Greater New York            004585/2020     Supreme Court of
                                                               Councils, Boy Scouts of America                           the State of New
                                                                                                                         York, New York
                                                                                                                         County
446   Greater New York               [Redacted]                [Redacted] v. Greater New York            TBD             Supreme Court of
      Councils; Archdiocese of                                 Councils, Boy Scouts of America;                          the State of New
      New York; Our Lady of                                    Archdiocese of New York; Our Lady of                      York, New York
      Refuge Church                                            Refuge Church                                             County
447   Westchester-Putnam             [Redacted]                [Redacted] v. Westchester-Putnam          57805/2020      Supreme Court of
      Council; Trinity Episcopal                               Council, Boy Scouts of America; Trinity                   the State of New
      Church; Episcopal Diocese                                Episcopal Church; Episcopal Diocese of                    York, Westchester
      of New York                                              New York                                                  County
                                      Case 20-50527-LSS         Doc 107-1      Filed 10/22/20      Page 115 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                             Case Number      Court or Agency
448   Greater New York Councils     [Redacted]                [Redacted] v. Greater New York           TBD              Supreme Court of
                                                              Councils, Boy Scouts of America                           the State of New
                                                                                                                        York, New York
                                                                                                                        County
449   Greater New York Councils     [Redacted]                [Redacted] v. Greater New York           TBD              Supreme Court of
                                                              Councils, Boy Scouts of America                           the State of New
                                                                                                                        York, New York
                                                                                                                        County
450   91st Sojourners Scout         [Redacted]                [Redacted] v. 91st Sojourners Scout      EFCA2020001461   Supreme Court of
      Group – Baden Powell                                    Group – Baden Powell Service                              the State of New
      Service Association, a/k/a                              Association, a/k/a Baden Powell                           York, Broome
      Baden Powell Council, Inc.,                             Council, Inc., Boy Scouts of America;                     County
      Boy Scouts of America;                                  First United Methodist Church; St.
      First United Methodist                                  Mary’s Church
      Church; St. Mary’s Church
451   Greater New York              [Redacted]                [Redacted] v. Greater New York           513780/2020      Supreme Court of
      Councils; Our Lady of the                               Councils, Boy Scouts of America; Our                      the State of New
      Snows Church; Diocese of                                Lady of the Snows Church; Diocese of                      York, Kings
      Brooklyn                                                Brooklyn                                                  County
452   Greater Niagara Frontier      [Redacted]                [Redacted] v. Greater Niagara Frontier   808160/2020      Supreme Court of
      Council, Inc.; St. Amelia                               Council, Inc., Boy Scouts of America;                     the State of New
      Catholic Church                                         St. Amelia Catholic Church                                York, Erie County
453   Greater New York Councils     [Redacted]                [Redacted] v. Greater New York           TBD              Supreme Court of
                                                              Councils, Boy Scouts of America                           the State of New
                                                                                                                        York, New York
                                                                                                                        County
454   Greater New York Councils     [Redacted]                [Redacted] v. Greater New York           TBD              Supreme Court of
                                                              Councils, Boy Scouts of America                           the State of New
                                                                                                                        York, New York
                                                                                                                        County
455   Greater New York Councils     [Redacted]                [Redacted] v. Greater New York           TBD              Supreme Court of
                                                              Councils, Boy Scouts of America                           the State of New
                                                                                                                        York, New York
                                                                                                                        County
                                       Case 20-50527-LSS         Doc 107-1      Filed 10/22/20         Page 116 of 165




                                     Underlying Plaintiff(s)
      Non-Debtor Defendants(s)       (last, first)             Case Caption                                Case Number      Court or Agency
456   Longhouse Council, Inc.;       [Redacted]                [Redacted] v. Longhouse Council, Inc.,      004600/2020      Supreme Court of
      Basilica of the Sacred Heart                             Boy Scouts of America; and Basilica of                       the State of New
      of Jesus                                                 the Sacred Heart of Jesus                                    York, Onondaga
                                                                                                                            County
457   Theodore Roosevelt             [Redacted]                [Redacted] v. Theodore Roosevelt            TBD              Supreme Court of
      Council, Inc.                                            Council, Inc., Boy Scouts of America                         the State of New
                                                                                                                            York, Nassau
                                                                                                                            County
458   Baden-Powell Council, Inc.     [Redacted]                [Redacted] v. Baden-Powell Council,         EFCA2020001444   Supreme Court of
                                                               Inc., Boy Scouts of America                                  the State of New
                                                                                                                            York, Broome
                                                                                                                            County
459   Greater New York               [Redacted]                [Redacted] v. Greater New York              TBD              Supreme Court of
      Councils; St. Sylvester                                  Councils, Boy Scouts of America; St.                         the State of New
      Roman Catholic Church;                                   Sylvester Roman Catholic Church;                             York, New York
      Archdiocese of New York                                  Archdiocese of New York                                      County
460   Theodore Roosevelt             [Redacted]                [Redacted] v. Theodore Roosevelt            900123/2020      Supreme Court of
      Council, Inc.                                            Council, Inc., Boy Scouts of America                         the State of New
                                                                                                                            York, County of
                                                                                                                            Nassau
461   Longhouse Council, Inc.        [Redacted]                [Redacted] v. Longhouse Council, Inc.,      004607/2020      Supreme Court of
                                                               Boy Scouts of America                                        the State of New
                                                                                                                            York, Onondaga
                                                                                                                            County
462   Iroquois Trail Council, Inc.   [Redacted]                [Redacted] v. Iroquois Trail Council,       E68487           Supreme Court of
                                                               Inc., Boy Scouts of America                                  the State of New
                                                                                                                            York, Genesee
                                                                                                                            County
463   Longhouse Council, Inc.,       [Redacted]                [Redacted] v. Longhouse Council, Inc.,      004771/2020      Supreme Court of
      a/k/a Seaway Valley                                      Boy Scouts of America a/k/a Seaway                           the State of New
      Council a/k/a Hiawatha                                   Valley Council #403 a/k/a Hiawatha                           York, Onondaga
      Council a/k/a Hiawatha                                   Council a/k/a Hiawatha Seaway Council                        County
      Seaway Council
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                                   Underlying Plaintiff(s)
      Non-Debtor Defendants(s)     (last, first)             Case Caption                               Case Number   Court or Agency
464   Twin River Council, a/k/a    [Redacted]                [Redacted] v. Twin River Council, Boy      904964-20     Supreme Court of
      Governor Clinton Council,                              Scouts of America a/k/a Governor                         the State of New
      Saratoga Council,                                      Clinton Council, Saratoga Council,                       York, Albany
      Schenectady County                                     Schenectady County Council, Sir                          County
      Council, Sir William                                   William Johnson Council, Mohican
      Johnson Council, Mohican                               Council, and/or Adirondack Council
      Council, and/or Adirondack
      Council
465   Seneca Waterways Council,    [Redacted]                [Redacted] v. Seneca Waterways             E2020005544   Supreme Court of
      Inc.                                                   Council, Inc., Boy Scouts of America                     the State of New
                                                                                                                      York, Monroe
                                                                                                                      County
466   Twin Rivers Council, Inc.;   [Redacted]                [Redacted] v. Twin Rivers Council, Inc.,   904949-20     Supreme Court of
      Sacred Heart Church;                                   Boy Scouts of America; Sacred Heart                      the State of New
      Roman Catholic Diocese of                              Church; Roman Catholic Diocese of                        York, Albany
      Albany                                                 Albany                                                   County
467   Greater New York             [Redacted]                [Redacted] v. Greater New York             513875/2020   Supreme Court of
      Councils, Inc.; Mary Queen                             Councils, Inc., Boy Scouts of America;                   the State of New
      of Heaven Church; Diocese                              Mary Queen of Heaven Church; Diocese                     York, Kings
      of Brooklyn                                            of Brooklyn                                              County
468   Longhouse Council, Inc.      [Redacted]                [Redacted] v. Longhouse Council, Inc.,     004731/2020   Supreme Court of
                                                             Boy Scouts of America                                    the State of New
                                                                                                                      York, Onondaga
                                                                                                                      County
469   Longhouse Council, Inc.      [Redacted]                [Redacted] v. Longhouse Council, Inc.,     004733/2020   Supreme Court of
                                                             Boy Scouts of America                                    the State of New
                                                                                                                      York, Onondaga
                                                                                                                      County
470   Greater Niagara Frontier     AB 400 Doe                AB 400 Doe v. Greater Niagara Frontier     808074/2020   Supreme Court of
      Council, Inc.; American                                Council, Inc., Boy Scouts of America;                    the State of New
      Medical Response, Inc.                                 American Medical Response, Inc. d/b/a                    York, Erie County
      d/b/a Western NY AMR                                   Western NY AMR f/k/a Rural/Metro
      f/k/a Rural/Metro                                      Ambulance; and Does 1-5 whose
      Ambulance                                              identities are unknown to Plaintiff
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                                  Underlying Plaintiff(s)
      Non-Debtor Defendants(s)    (last, first)             Case Caption                             Case Number   Court or Agency
471   Greater Niagara Frontier    AB 401 Doe                AB 401 Doe v. Greater Niagara Frontier   808139/2020   Supreme Court of
      Council, Inc.; American                               Council, Inc., Boy Scouts of America;                  the State of New
      Medical Response, Inc.                                American Medical Response, Inc. d/b/a                  York, Erie County
      d/b/a Western NY AMR                                  Western NY AMR f/k/a Rural/Metro
      f/k/a Rural/Metro                                     Ambulance; and Does 1-5 whose
      Ambulance                                             identities are unknown to Plaintiff
472   Greater Niagara Frontier    AB 402 Doe                AB 402 Doe v. Greater Niagara Frontier   808140/2020   Supreme Court of
      Council, Inc.; Rescue                                 Council, Inc., Boy Scouts of America;                  the State of New
      Volunteer Hose Company                                Rescue Volunteer Hose Company No. 1                    York, Erie County
      No. 1 of Cheektowga a/k/a                             of Cheektowga a/k/a Rescue Hose Co.;
      Rescue Hose Co.                                       and Does 1-5 whose identities are
                                                            unknown to Plaintiff
473   Greater Niagara Frontier    AB 403 Doe                AB 403 Doe v. Greater Niagara Frontier   808118/2020   Supreme Court of
      Council, Inc.; Rescue                                 Council, Inc., Boy Scouts of America;                  the State of New
      Volunteer Hose Company                                Rescue Volunteer Hose Company No. 1                    York, Erie County
      No. 1 of Cheektowga a/k/a                             of Cheektowga a/k/a Rescue Hose Co.;
      Rescue Hose Co.                                       and Does 1-5 whose identities are
                                                            unknown to Plaintiff
474   Greater Niagara Frontier    AB 404 Doe                AB 404 Doe v. Greater Niagara Frontier   808093/2020   Supreme Court of
      Council, Inc.; Rescue                                 Council, Inc., Boy Scouts of America;                  the State of New
      Volunteer Hose Company                                Rescue Volunteer Hose Company No. 1                    York, Erie County
      No. 1 of Cheektowga a/k/a                             of Cheektowga a/k/a Rescue Hose Co.;
      Rescue Hose Co.                                       and Does 1-5 whose identities are
                                                            unknown to Plaintiff
475   Greater Niagara Frontier    AB 405 Doe                AB 405 Doe v. Greater Niagara Frontier   808092/2020   Supreme Court of
      Council, Inc.; Our Mother                             Council, Inc., Boy Scouts of America;                  the State of New
      of Good Counsel a/k/a Our                             Our Mother of Good Counsel a/k/a Our                   York, Erie County
      Mother of Good Counsel                                Mother of Good Counsel Church; and
      Church                                                Does 1-5 whose identities are unknown
                                                            to Plaintiff
476   Greater Niagara Frontier    AB 406 Doe                AB 406 Doe v. Greater Niagara Frontier   808117/2020   Supreme Court of
      Council, Inc.; Our Mother                             Council, Inc., Boy Scouts of America;                  the State of New
      of Good Counsel a/k/a Our                             Our Mother of Good Counsel a/k/a Our                   York, Erie County
                                                            Mother of Good Counsel Church; and
                                        Case 20-50527-LSS         Doc 107-1      Filed 10/22/20      Page 119 of 165




                                      Underlying Plaintiff(s)
      Non-Debtor Defendants(s)        (last, first)             Case Caption                                Case Number   Court or Agency
      Mother of Good Counsel                                    Does 1-5 whose identities are unknown
      Church                                                    to Plaintiff
477   Greater Niagara Frontier        AB 407 Doe                AB 407 Doe v. Greater Niagara Frontier      808120/2020   Supreme Court of
      Council, Inc.                                             Council, Inc., Boy Scouts of America;                     the State of New
                                                                and Does 1-5 whose identities are                         York, Erie County
                                                                unknown to Plaintiff
478   Greater Niagara Frontier        AB 408 Doe                AB 408 Doe v. Greater Niagara Frontier      808094/2020   Supreme Court of
      Council, Inc.; St. Barnabas                               Council, Inc., Boy Scouts of America;                     the State of New
      Church; St. Martha Parish                                 St. Barnabas Church; St. Martha Parish;                   York, Erie County
                                                                and Does 1-5 whose identities are
                                                                unknown to Plaintiff
479   Greater Niagara Frontier        AB 409 Doe                AB 409 Doe v. Greater Niagara Frontier      808095/2020   Supreme Court of
      Council, Inc.; Father Baker                               Council, Inc., Boy Scouts of America;                     the State of New
      Council #2243 a/k/a                                       Father Baker Council #2243 a/k/a                          York, Erie County
      Knights of Columbus                                       Knights of Columbus Father Baker
      Father Baker Council #2243                                Council #2243; and Does 1-5 whose
                                                                identities are unknown to Plaintiff
480   Seneca Waterways Council,       AB 412 Doe                AB 412 Doe v. Seneca Waterways              E2020005541   Supreme Court of
      Inc.; Park Presbyterian                                   Council, Inc., Boy Scouts of America;                     the State of New
      Church                                                    Park Presbyterian Church; and Does 1-5                    York, Monroe
                                                                whose identities are unknown to Plaintiff                 County
481   Seneca Waterways Council,       AB 415 Doe                AB 415 Doe v. Seneca Waterways              E2020005545   Supreme Court of
      Inc.; St. Augustine’s                                     Council, Inc., Boy Scouts of America;                     the State of New
      Church; St. Monica Church                                 St. Augustine’s Church; St. Monica                        York, Monroe
                                                                Church; and Does 1-5 whose identities                     County
                                                                are unknown to Plaintiff
482   Iroquois Trail Council, Inc.;   AB 418 Doe                AB 418 Doe v. Iroquois Trial Council,       E68488        Supreme Court of
      Attica Lodge #462 F. &                                    Inc., Boy Scouts of America; Attica                       the State of New
      A.M.                                                      Lodge #462 F. & A.M.; and Does 1-5                        York, Genesee
                                                                whose identities are unknown to Plaintiff                 County
483   Greater Niagara Frontier        AB 422 Doe                AB 422 Doe v. Greater Niagara Frontier      808141/2020   Supreme Court of
      Council, Inc.; St. Paul’s                                 Council, Inc., Boy Scouts of America;                     the State of New
                                                                St. Paul’s; and Does 1-5 whose identities                 York, Erie County
                                                                are unknown to Plaintiff
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                                      Underlying Plaintiff(s)
      Non-Debtor Defendants(s)        (last, first)             Case Caption                              Case Number   Court or Agency
484   Greater Niagara Frontier        AB 423 Doe                AB 423 Doe v. Greater Niagara Frontier    808266/2020   Supreme Court of
      Council, Inc.; St. Francis                                Council, Inc., Boy Scouts of America;                   the State of New
      Xavier; Assumption                                        St. Francis Xavier; Assumption; and                     York, Erie County
                                                                Does 1-5 whose identities are unknown
                                                                to Plaintiff
485   Greater Niagara Frontier        AB 424 Doe                AB 424 Doe v. Greater Niagara Frontier    808218/2020   Supreme Court of
      Council, Inc.                                             Council, Inc., Boy Scouts of America;                   the State of New
                                                                and Does 1-5 whose identities are                       York, Erie County
                                                                unknown to Plaintiff
486   Greater Niagara Frontier        AB 425 Doe                AB 425 Doe v. Greater Niagara Frontier    808217/2020   Supreme Court of
      Council, Inc.                                             Council, Inc., Boy Scouts of America;                   the State of New
                                                                and Does 1-5 whose identities are                       York, Erie County
                                                                unknown to Plaintiff
487   Seneca Waterways Council,       AB 426 Doe                AB 426 Doe v. Seneca Waterways            E2020005537   Supreme Court of
      Inc.; First Baptist Church of                             Council, Inc., Boy Scouts of America;                   the State of New
      Rochester                                                 First Baptist Church of Rochester; and                  York, Monroe
                                                                Does 1-5 whose identities are unknown                   County
                                                                to Plaintiff
488   Seneca Waterways Council,       AB 427 Doe                AB 427 Doe v. Seneca Waterways            E2020005538   Supreme Court of
      Inc.; West Irondequoit                                    Council, Inc., Boy Scouts of America;                   the State of New
      Central School District                                   West Irondequoit Central School                         York, Monroe
                                                                District; and Does 1-5 whose identities                 County
                                                                are unknown to Plaintiff
489   Westchester-Putnam              JA-001 Doe                JA-001 Doe v. Westchester-Putnam          57841/2020    Supreme Court of
      Council, Inc.; Hitchcock                                  Council, Inc., Boy Scouts of America;                   the State of New
      Presbyterian Church                                       Hitchcock Presbyterian Church; and                      York, Westchester
                                                                Does 1-5 whose identities are unknown                   County
                                                                to Plaintiff
490   Theodore Roosevelt              JA-005 Doe                JA-005 Doe v. Theodore Roosevelt          900116/2020   Supreme Court of
      Council, Inc.; Our Holy                                   Council, Inc., Boy Scouts of America;                   the State of New
      Redeemer Roman Catholic                                   Our Holy Redeemer Roman Catholic                        York, Nassau
      Church                                                    Church; and Does 1-5 whose identities                   County
                                                                are unknown to Plaintiff
                                      Case 20-50527-LSS         Doc 107-1      Filed 10/22/20      Page 121 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                                Case Number   Court or Agency
491   Greater New York              JA-007 Doe                JA-007 Doe v. Greater New York              950453/2020   Supreme Court of
      Councils; Queens Council;                               Councils, Boy Scouts of America;                          the State of New
      Christ Evangelical Lutheran                             Queens Council Boy Scouts of America,                     York, New York
      Church                                                  Inc.; Christ Evangelical Lutheran                         County
                                                              Church; and Does 1-5 whose identities
                                                              are unknown to Plaintiff
492   Greater New York              JA-008 Doe                JA-008 Doe v. Greater New York              950476/2020   Supreme Court of
      Councils; Queens Council;                               Councils, Boy Scouts of America;                          the State of New
      Sacred Heart of Jesus                                   Queens Council Boy Scouts of America,                     York, New York
                                                              Inc.; Sacred Heart of Jesus; and Does 1-                  County
                                                              5 whose identities are unknown to
                                                              Plaintiff
493   Greater New York              JA-009 Doe                JA-009 Doe v. Greater New York              950478/2020   Supreme Court of
      Councils; Queens Council;                               Councils, Boy Scouts of America;                          the State of New
      Dads Club of Troop 1,                                   Queens Council Boy Scouts of America,                     York, New York
      Flushing, Inc.                                          Inc.; Dads Club of Troop 1, Flushing,                     County
                                                              Inc.; and Does 1-5 whose identities are
                                                              unknown to Plaintiff
494   Greater New York              JA-010 Doe                JA-010 Doe v. Greater New York              950493/2020   Supreme Court of
      Councils; Queens Council                                Councils, Boy Scouts of America;                          the State of New
                                                              Queens Council Boy Scouts of America,                     York, New York
                                                              Inc.                                                      County
495   Greater New York              JA-011 Doe                JA-011 Doe v. Greater New York              950488/2020   Supreme Court of
      Councils; Queens Council;                               Councils, Boy Scouts of America;                          the State of New
      Incarnation Parish                                      Queens Council Boy Scouts of America,                     York, New York
                                                              Inc.; Incarnation Parish; and Does 1-5                    County
                                                              whose identities are unknown to Plaintiff
496   Greater New York              JA-012 Doe                JA-012 Doe v. Greater New York              950460/2020   Supreme Court of
      Councils; Queens Council;                               Councils, Boy Scouts of America;                          the State of New
      St. Benedict Joseph Labre                               Queens Council Boy Scouts of America,                     York, New York
      Church                                                  Inc.; St. Benedict Joseph Labre Church;                   County
                                                              and Does 1-5 whose identities are
                                                              unknown to Plaintiff
                                       Case 20-50527-LSS         Doc 107-1      Filed 10/22/20      Page 122 of 165




                                     Underlying Plaintiff(s)
      Non-Debtor Defendants(s)       (last, first)             Case Caption                                Case Number   Court or Agency
497   Greater New York               JA-013 Doe                JA-013 Doe v. Greater New York              950475/2020   Supreme Court of
      Councils; Manhattan                                      Councils, Boy Scouts of America;                          the State of New
      Council a/k/a Manhattan                                  Manhattan Council, Boy Scouts of                          York, New York
      Council, Boy Scouts of                                   America a/k/a Manhattan Council, Boy                      County
      America, Inc.; St. Bernard’s                             Scouts of America, Inc.; St. Bernard’s
      Church; Our Lady of                                      Church; Our Lady of Guadalupe; and
      Guadalupe                                                Does 1-5 whose identities are unknown
                                                               to Plaintiff
498   Greater New York               JA-014 Doe                JA-014 Doe v. Greater New York              950494/2020   Supreme Court of
      Councils; Manhattan                                      Councils, Boy Scouts of America;                          the State of New
      Council a/k/a Manhattan                                  Manhattan Council, Boy Scouts of                          York, New York
      Council, Boy Scouts of                                   America a/k/a Manhattan Council, Boy                      County
      America, Inc.                                            Scouts of America Inc.; and Does 1-5
                                                               whose identities are unknown to Plaintiff
499   Greater New York               JA-016 Doe                JA-016 Doe v. Greater New York              950454/2020   Supreme Court of
      Councils; Bronx Council                                  Councils, Boy Scouts of America; Bronx                    the State of New
                                                               Council Boy Scouts of America, Inc.;                      York, New York
                                                               and Does 1-5 whose identities are                         County
                                                               unknown to Plaintiff
500   Greater New York               JA-018 Doe                JA-018 Doe v. Greater New York              950461/2020   Supreme Court of
      Councils; Brooklyn Council                               Councils, Boy Scouts of America;                          the State of New
                                                               Brooklyn Council, Boy Scouts of                           York, New York
                                                               America; and Does 1-5 whose identities                    County
                                                               are unknown to Plaintiff
501   Greater New York               JA-019 Doe                JA-019 Doe v. Greater New York              950463/2020   Supreme Court of
      Councils; Brooklyn                                       Councils, Boy Scouts of America;                          the State of New
      Council; St. John the                                    Brooklyn Council, Boy Scouts of                           York, New York
      Evangelist; Saint John the                               America; St. John the Evangelist; Saint                   County
      Evangelist-Saint Rocco                                   John the Evangelist-Saint Rocco Roman
      Roman Catholic Church                                    Catholic Church; and Does 1-5 whose
                                                               identities are unknown to Plaintiff
502   Greater New York               JA-020 Doe                JA-020 Doe v. Greater New York              950470/2020   Supreme Court of
      Councils; Brooklyn                                       Councils, Boy Scouts of America;                          the State of New
                                                               Brooklyn Council, Boy Scouts of
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                                   Underlying Plaintiff(s)
      Non-Debtor Defendants(s)     (last, first)             Case Caption                                Case Number   Court or Agency
      Council; New Utrecht                                   America; New Utrecht Reformed                             York, New York
      Reformed Church                                        Church; and Does 1-5 whose identities                     County
                                                             are unknown to Plaintiff
503   Greater New York             JA-022 Doe                JA-022 Doe v. Greater New York              950472/2020   Supreme Court of
      Councils; Brooklyn                                     Councils, Boy Scouts of America;                          the State of New
      Council; Holy Family                                   Brooklyn Council, Boy Scouts of                           York, New York
      Church                                                 America; Holy Family Church; and                          County
                                                             Does 1-5 whose identities are unknown
                                                             to Plaintiff
504   Greater New York             JA-023 Doe                JA-023 Doe v. Greater New York              950473/2020   Supreme Court of
      Councils; Brooklyn                                     Councils, Boy Scouts of America;                          the State of New
      Council; St. Peter’s                                   Brooklyn Council, Boy Scouts of                           York, New York
      Lutheran Church f/k/a St.                              America; St. Peter’s Lutheran Church                      County
      Peter’s Evangelical Church                             f/k/a St. Peter’s Evangelical Church; and
                                                             Does 1-5 whose identities are unknown
                                                             to Plaintiff
505   Greater New York             JA-024 Doe                JA-024 Doe v. Greater New York              950477/2020   Supreme Court of
      Councils; Brooklyn                                     Councils, Boy Scouts of America;                          the State of New
      Council; Holy House of                                 Brooklyn Council, Boy Scouts of                           York, New York
      Prayer for All People                                  America; Holy House of Prayer for All                     County
                                                             People; and Does 1-5 whose identities
                                                             are unknown to Plaintiff
506   Greater New York Councils    JA-025 Doe                JA-025 Doe v. Greater New York              950452/2020   Supreme Court of
                                                             Councils, Boy Scouts of America; and                      the State of New
                                                             Does 1-5 whose identities are unknown                     York, New York
                                                             to Plaintiff                                              County
507   Greater New York Councils    JA-026 Doe                JA-026 Doe v. Greater New York              950483/2020   Supreme Court of
                                                             Councils, Boy Scouts of America; and                      the State of New
                                                             Does 1-5 whose identities are unknown                     York, New York
                                                             to Plaintiff                                              County
508   Greater New York Councils    JA-027 Doe                JA-027 Doe v. Greater New York              950492/2020   Supreme Court of
                                                             Councils, Boy Scouts of America; and                      the State of New
                                                             Does 1-5 whose identities are unknown                     York, New York
                                                             to Plaintiff                                              County
                                       Case 20-50527-LSS         Doc 107-1      Filed 10/22/20      Page 124 of 165




                                     Underlying Plaintiff(s)
      Non-Debtor Defendants(s)       (last, first)             Case Caption                                Case Number   Court or Agency
509   Longhouse Council, Inc.;       JA-038 Doe                JA-038 Doe v. Longhouse Council, Inc.,      004608/2020   Supreme Court of
      First Presbyterian Church                                Boy Scouts of America; First                              the State of New
      a/k/a Weedsport First                                    Presbyterian Church a/k/a Weedsport                       York, Onondaga
      Presbyterian Church                                      First Presbyterian Church; and Does 1-5                   County
                                                               whose identities are unknown to Plaintiff
510   Longhouse Council, Inc.;       JA-040 Doe                JA-040 Doe v. Longhouse Council, Inc.,      004736/2020   Supreme Court of
      St. Margaret’s Church d/b/a                              Boy Scouts of America; St. Margaret’s                     the State of New
      Holy Name Society                                        Church d/b/a Holy Name Society; and                       York, Onondaga
                                                               Does 1-5 whose identities are unknown                     County
                                                               to Plaintiff
511   Longhouse Council, Inc.        JA-041 Doe                JA-041 Doe v. Longhouse Council, Inc.,      004742/2020   Supreme Court of
                                                               Boy Scouts of America; and Does 1-5                       the State of New
                                                               whose identities are unknown to Plaintiff                 York, Onondaga
                                                                                                                         County
512   Longhouse Council, Inc.;       JA-042 Doe                JA-042 Doe v. Longhouse Council, Inc.,      004745/2020   Supreme Court of
      St. John the Baptist Church;                             Boy Scouts of America; St. John the                       the State of New
      St. John the Baptist/Holy                                Baptist Church; St. John the                              York, Onondaga
      Trinity Church                                           Baptist/Holy Trinity Church; and Does                     County
                                                               1-5 whose identities are unknown to
                                                               Plaintiff
513   Longhouse Council, Inc.;       JA-043 Doe                JA-043 Doe v. Longhouse Council, Inc.,      004724/2020   Supreme Court of
      First United Church of East                              Boy Scouts of America; First United                       the State of New
      Syracuse                                                 Church of East Syracuse; and Does 1-5                     York, Onondaga
                                                               whose identities are unknown to Plaintiff                 County
514   Longhouse Council, Inc.;       JA-044 Doe                JA-044 Doe v. Longhouse Council, Inc.,      004743/2020   Supreme Court of
      Basilica of the Sacred Heart                             Boy Scouts of America; Basilica of the                    the State of New
                                                               Sacred Heart; and Does 1-5 whose                          York, Onondaga
                                                               identities are unknown to Plaintiff                       County
515   Twin Rivers Council, Inc.;     JA-053 Doe                JA-053 Doe v. Twin Rivers Council,          904904-20     Supreme Court of
      Christ Episcopal Church                                  Inc., Boy Scouts of America; Christ                       the State of New
      a/k/a Christ Church                                      Episcopal Church a/k/a Christ Church;                     York, Albany
                                                               and Does 1-5 whose identities are                         County
                                                               unknown to Plaintiff
                                     Case 20-50527-LSS         Doc 107-1      Filed 10/22/20      Page 125 of 165




                                   Underlying Plaintiff(s)
      Non-Debtor Defendants(s)     (last, first)             Case Caption                                Case Number       Court or Agency
516   Five Rivers Council, Inc.;   JA-057 Doe                JA-057 Doe v. Five Rivers Council, Inc.,    2020-5417         Supreme Court of
      Emmanuel Episcopal                                     Boy Scouts of America; Emmanuel                               the State of New
      Church                                                 Episcopal Church; and Does 1-5 whose                          York, Chemung
                                                             identities are unknown to Plaintiff                           County
517   Leatherstocking Council;     JA-058 Doe                JA-058 Doe v. Leatherstocking Council       EFCA2020-001447   Supreme Court of
      New Hartford Presbyterian                              of the Boy Scouts of America, Inc.; New                       the State of New
      Church                                                 Hartford Presbyterian Church; and Does                        York, Oneida
                                                             1-5 whose identities are unknown to                           County
                                                             Plaintiff
518   Longhouse Council, Inc.      JA-063 Doe                JA-063 Doe v. Longhouse Council, Inc.,      004744/2020       Supreme Court of
                                                             Boy Scouts of America; and Does 1-5                           the State of New
                                                             whose identities are unknown to Plaintiff                     York, Onondaga
                                                                                                                           County
519   Greater New York             JA-067 Doe                JA-067 Doe v. Greater New York              950482/2020       Supreme Court of
      Councils; Bronx Council                                Councils, Boy Scouts of America; Bronx                        the State of New
                                                             Council Boy Scouts of America, Inc.;                          York, New York
                                                             and Does 1-5 whose identities are                             County
                                                             unknown to Plaintiff
520   Longhouse Council, Inc.; A   JA-070 Doe                JA-070 Doe v. Longhouse Council, Inc.,      004668/2020       Supreme Court of
      Group of Citizens                                      Boy Scouts of America; A Group of                             the State of New
                                                             Citizens; and Does 1-5 whose identities                       York, Onondaga
                                                             are unknown to Plaintiff                                      County
521   Hudson Valley Council,       JA-071 Doe                JA-071 Doe v. Hudson Valley Council,        EF004007-2020     Supreme Court of
      Inc.; St. James’ Episcopal                             Inc., Boy Scouts of America; St. James’                       the State of New
      Church                                                 Episcopal Church; and Does 1-5 whose                          York, Orange
                                                             identities are unknown to Plaintiff                           County
522   Greater New York             [Redacted]                [Redacted] v. Greater New York              950498/2020       Supreme Court of
      Councils, Boy Scouts of                                Councils, Boy Scouts of America a/k/a                         the State of New
      America a/k/a Queens                                   Queens Borough Council, Greater New                           York, New York
      Borough Council, Greater                               York Councils, Boy Scouts of America                          County
      New York Councils, Boy
      Scouts of America
                                     Case 20-50527-LSS         Doc 107-1      Filed 10/22/20      Page 126 of 165




                                   Underlying Plaintiff(s)
      Non-Debtor Defendants(s)     (last, first)             Case Caption                                Case Number   Court or Agency
523   Greater New York Councils    [Redacted]                [Redacted] v. Thomas Glenn v. Greater       513870/2020   Supreme Court of
                                                             New York Councils, Boy Scouts of                          the State of New
                                                             America                                                   York, Kings
                                                                                                                       County
524   Greater New York             [Redacted]                [Redacted] v. Greater New York              950499/2020   Supreme Court of
      Councils, Boy Scouts of                                Councils, Boy Scouts of America a/k/a                     the State of New
      America a/k/a Queens                                   Queens Borough Council, Greater New                       York, New York
      Borough Council, Greater                               York Councils, Boy Scouts of America                      County
      New York Councils, Boy
      Scouts of America
525   Greater Niagara Frontier     LG 82 Doe                 LG 82 Doe v. Greater Niagara Frontier       808289/2020   Supreme Court of
      Council, Inc.                                          Council, Inc., Boy Scouts of America                      the State of New
                                                                                                                       York, Erie County
526   Seneca Waterways Council,    AB 414 Doe                AB 414 Doe v. Seneca Waterways              E2020005629   Supreme Court of
      Inc.                                                   Council, Inc., Boy Scouts of America;                     the State of New
                                                             and Does 1-5 whose identities are                         York, Monroe
                                                             unknown to Plaintiff                                      County
527   Seneca Waterways Council,    AB 411 Doe                AB 411 Doe v. Seneca Waterways              E2020005632   Supreme Court of
      Inc.; Sacred Heart                                     Council, Inc., Boy Scouts of America;                     the State of New
      Cathedral a/k/a The                                    Sacred Heart Cathedral a/k/a The                          York, Monroe
      Cathedral Community                                    Cathedral Community; and Does 1-5                         County
                                                             whose identities are unknown to Plaintiff
528   Seneca Waterways Council,    AB 413 Doe                AB 413 Doe v. Seneca Waterways              E2020005633   Supreme Court of
      Inc.; Park Presbyterian                                Council, Inc., Boy Scouts of America;                     the State of New
      Church                                                 Park Presbyterian Church; and Does 1-5                    York, Monroe
                                                             whose identities are unknown to Plaintiff                 County
529   Seneca Waterways Council,    AB 416 Doe                AB 416 Doe v. Seneca Waterways              E2020005638   Supreme Court of
      Inc.; Lions Club of Chili,                             Council, Inc., Boy Scouts of America;                     the State of New
      Inc.                                                   Lions Club of Chili, Inc.; and Does 1-5                   York, Monroe
                                                             whose identities are unknown to Plaintiff                 County
530   Seneca Waterways Council,    AB 421 Doe                AB 421 Doe v. Seneca Waterways              E2020005640   Supreme Court of
      Inc.; South Presbyterian                               Council, Inc., Boy Scouts of America;                     the State of New
      Church a/k/a Community of                              South Presbyterian Church a/k/a                           York, Monroe
      the Savior                                                                                                       County
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                                     Underlying Plaintiff(s)
      Non-Debtor Defendants(s)       (last, first)             Case Caption                                Case Number   Court or Agency
                                                               Community of the Savior; and Does 1-5
                                                               whose identities are unknown to Plaintiff
531   Iroquois Trail Council, Inc.   AB 419 Doe                AB 419 Doe v. Iroquois Trail Council,       E68502        Supreme Court of
                                                               Inc., Boy Scouts of America; and Does                     the State of New
                                                               1-5 whose identities are unknown to                       York, Genesee
                                                               Plaintiff                                                 County
532   Iroquois Trail Council, Inc.   AB 420 Doe                AB 420 Doe v. Iroquois Trail Council,       E68501        Supreme Court of
                                                               Inc., Boy Scouts of America; and Does                     the State of New
                                                               1-5 whose identities are unknown to                       York, Genesee
                                                               Plaintiff                                                 County
533   Westchester-Putnam             JA-002 Doe                JA-002 Doe v. Westchester-Putnam            58051/2020    Supreme Court of
      Council, Inc.; Hitchcock                                 Council, Inc., Boy Scouts of America;                     the State of New
      Presbyterian Church                                      Hitchcock Presbyterian Church; and                        York, Westchester
                                                               Does 1-5 whose identities are unknown                     County
                                                               to Plaintiff
534   Westchester-Putnam             JA-003 Doe                JA-003 Doe v. Westchester-Putnam            58052/2020    Supreme Court of
      Council, Inc.; The                                       Council, Inc., Boy Scouts of America;                     the State of New
      Community Church of the                                  The Community Church of the Pelhams;                      York, Westchester
      Pelhams                                                  and Does 1-5 whose identities are                         County
                                                               unknown to Plaintiff
535   Westchester-Putnam             JA-004 Doe                JA-004 Doe v. Westchester-Putnam            58053/2020    Supreme Court of
      Council, Inc.                                            Council, Inc., Boy Scouts of America;                     the State of New
                                                               and Does 1-5 whose identities are                         York, Westchester
                                                               unknown to Plaintiff                                      County
536   Twin Rivers Council, Inc.      JA-028 Doe                JA-028 Doe v. Twin Rivers Council,          905023-20     Supreme Court of
                                                               Inc., Boy Scouts of America; and Does                     the State of New
                                                               1-5 whose identities are unknown to                       York, Albany
                                                               Plaintiff                                                 County
537   Greater New York               JA-029 Doe                JA-029 Doe v. Greater New York              950518/2020   Supreme Court of
      Councils; Manhattan                                      Councils, Boy Scouts of America;                          the State of New
      Council, Boy Scouts of                                   Manhattan Council, Boy Scouts of                          York, New York
      America a/k/a Manhattan                                  America a/k/a Manhattan Council, Boy                      County
      Council, Boy Scouts of                                   Scouts of America Inc.; and Does 1-5
      America Inc.                                             whose identities are unknown to Plaintiff
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                                     Underlying Plaintiff(s)
      Non-Debtor Defendants(s)       (last, first)             Case Caption                                Case Number   Court or Agency
538   Greater New York               JA-030 Doe                JA-030 Doe v. Greater New York              950519/2020   Supreme Court of
      Councils; Queens Council;                                Councils, Boy Scouts of America;                          the State of New
      St. Bartholomew’s Roman                                  Queens Council Boy Scouts of America,                     York, New York
      Catholic Church                                          Inc.; St. Bartholomew’s Roman Catholic                    County
                                                               Church; and Does 1-5 whose identities
                                                               are unknown to Plaintiff
539   Greater New York               JA-031 Doe                JA-031 Doe v. Greater New York              950520/2020   Supreme Court of
      Councils; Brooklyn                                       Councils, Boy Scouts of America;                          the State of New
      Council; Central Queens                                  Brooklyn Council, Boy Scouts of                           York, New York
      Young Men’s and Young                                    America; Central Queens Young Men’s                       County
      Women’s Hebrew                                           and Young Women’s Hebrew
      Association, Inc. f/k/a East                             Association, Inc. f/k/a East New York
      New York Young Men’s                                     Young Men’s and Young Women’s
      and Young Women’s                                        Hebrew Association, Inc.; and Does 1-5
      Hebrew Association, Inc.                                 whose identities are unknown to Plaintiff
540   Greater New York               JA-032 Doe                JA-032 Doe v. Greater New York              950521/2020   Supreme Court of
      Councils; Brooklyn Council                               Council, Boy Scouts of America;                           the State of New
                                                               Brooklyn Council, Boy Scouts of                           York, New York
                                                               America; and Does 1-5 whose identities                    County
                                                               are unknown to Plaintiff
541   Greater New York               JA-035 Doe                JA-035 Doe v. Greater New York              950522/2020   Supreme Court of
      Councils; Queens Council;                                Councils, Boy Scouts of America;                          the State of New
      Blessed Virgin Mary, Help                                Queens Council Boy Scouts of America,                     York, New York
      of Christians a/k/a Blessed                              Inc.; Blessed Virgin Mary, Help of                        County
      Virgin Mary, Help of                                     Christians a/k/a Blessed Virgin Mary,
      Christians R.C. Church                                   Help of Christians R.C. Church; and
                                                               Does 1-5 whose identities are unknown
                                                               to Plaintiff
542   Longhouse Council, Inc.;       JA-036 Doe                JA-036 Doe v. Longhouse Council, Inc.,      004667/2020   Supreme Court of
      First Presbyterian Church                                Boy Scouts of America; First                              the State of New
      a/k/a Weedsport First                                    Presbyterian Church a/k/a Weedsport                       York, Onondaga
      Presbyterian Church                                      First Presbyterian Church; and Does 1-5                   County
                                                               whose identities are unknown to Plaintiff
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                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                                Case Number       Court or Agency
543   Longhouse Council, Inc.;      JA-039 Doe                JA-039 Doe v. Longhouse Council, Inc.,      004732/2020       Supreme Court of
      Blessed Sacrament                                       Boy Scouts of America; Blessed                                the State of New
                                                              Sacrament; and Does 1-5 whose                                 York, Onondaga
                                                              identities are unknown to Plaintiff                           County
544   Leatherstocking Council;      JA-046 Doe                JA-046 Doe v. Leatherstocking Council       EFCA2020-001489   Supreme Court of
      American Legion Post 1287                               of the Boy Scouts of America, Inc.;                           the State of New
      a/k/a William H. Cain Post                              American Legion Post 1287 a/k/a                               York, Oneida
      1287                                                    William H. Cain Post 1287; and Does 1-
                                                              5 whose identities are unknown to
                                                              Plaintiff
545   Twin Rivers Council, Inc.     JA-054 Doe                JA-054 Doe v. Twin Rivers Council,          905028-20         Supreme Court of
                                                              Inc., Boy Scouts America; and Does 1-5                        the State of New
                                                              whose identities are unknown to Plaintiff                     York, Albany
                                                                                                                            County
546   Twin Rivers Council, Inc.;    JA-055 Doe                JA-055 Doe v. Twin Rivers Council,          905029-20         Supreme Court of
      St. Joseph’s Church;                                    Inc., Boy Scouts of America; St.                              the State of New
      Immaculate Heart of Mary                                Joseph’s Church; Immaculate Heart of                          York, Albany
                                                              Mary; and Does 1-5 whose identities are                       County
                                                              unknown to Plaintiff
547   Leatherstocking Council;      JA-059 Doe                JA-059 Doe v. Leatherstocking Council       EFCA2020-001491   Supreme Court of
      Stone Presbyterian Church                               of the Boy Scouts of America, Inc.;                           the State of New
                                                              Stone Presbyterian Church; and Does 1-                        York, Oneida
                                                              5 whose identities are unknown to                             County
                                                              Plaintiff
548   Leatherstocking Council;      JA-060 Doe                JA-060 Doe v. Leatherstocking Council       EFCA2020-001490   Supreme Court of
      First United Methodist                                  of the Boy Scouts of America, Inc.; First                     the State of New
      Church a/k/a Herkimer First                             United Methodist Church a/k/a                                 York, Oneida
      United Methodist                                        Herkimer First United Methodist; and                          County
                                                              Does 1-5 whose identities are unknown
                                                              to Plaintiff
549   Greater New York              JA-073 Doe                JA-073 Doe v. Greater New York              950523/2020       Supreme Court of
      Councils; Bronx Council;                                Councils, Boy Scouts of America; Bronx                        the State of New
      The City of New York;                                   Council Boy Scouts of America, Inc.;                          York, New York
                                                              The City of New York ; New York City                          County
                                    Case 20-50527-LSS         Doc 107-1      Filed 10/22/20      Page 130 of 165




                                  Underlying Plaintiff(s)
      Non-Debtor Defendants(s)    (last, first)             Case Caption                                Case Number   Court or Agency
      New York City Department                              Department of Education; and Does 1-5
      of Education                                          whose identities are unknown to Plaintiff
550   Greater New York            JA-074 Doe                JA-074 Doe v. Greater New York              950524/2020   Supreme Court of
      Councils; Bronx Council;                              Councils, Boy Scouts of America; Bronx                    the State of New
      The City of New York;                                 Council Boy Scouts of America, Inc.;                      York, New York
      New York City Department                              The City of New York ; New York City                      County
      of Education                                          Department of Education; and Does 1-5
                                                            whose identities are unknown to Plaintiff
551   Greater New York            JA-077 Doe                JA-077 Doe v. Greater New York              950526/2020   Supreme Court of
      Councils; Queens Council;                             Councils, Boy Scouts of America;                          the State of New
      The City of New York;                                 Queens Council Boy Scouts of America,                     York, New York
      New York City Department                              Inc.; The City of New York ; New York                     County
      of Education                                          City Department of Education; and Does
                                                            1-5 whose identities are unknown to
                                                            Plaintiff
552   Greater New York            JA-078 Doe                JA-078 Doe v. Greater New York              950527/2020   Supreme Court of
      Councils; Bronx Council;                              Councils, Boy Scouts of America; Bronx                    the State of New
      The City of New York;                                 Council Boy Scouts of America, Inc.;                      York, New York
      New York City Department                              The City of New York ; New York City                      County
      of Education                                          Department of Education; and Does 1-5
                                                            whose identities are unknown to Plaintiff
553   Westchester-Putnam          JA-080 Doe                JA-080 Doe v. Westchester-Putnam            58054/2020    Supreme Court of
      Council, Inc.                                         Council, Inc., Boy Scouts of America;                     the State of New
                                                            and Does 1-5 whose identities are                         York, Westchester
                                                            unknown to Plaintiff                                      County
554   Twin Rivers Council, Inc.;  JA-081 Doe                JA-081 Doe v. Twin Rivers Council,          905026-20     Supreme Court of
      Knights of Columbus,                                  Inc., Boy Scouts of America; Knights of                   the State of New
      Saratoga Council #246 a/k/a                           Columbus, Saratoga Council #246 a/k/a                     York, Albany
      Saratoga Knights of                                   Saratoga Knights of Columbus; South                       County
      Columbus; South Wilton                                Wilton Methodist; and Does 1-5 whose
      Methodist                                             identities are unknown to Plaintiff
555   Greater New York            [Redacted]                [Redacted] v. Greater New York              950516/2020   Supreme Court of
      Councils; Queens Council;                             Councils, Boy Scouts of America;                          the State of New
      Richmond Hill South Lions                             Queens Council Boy Scouts of America,
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                                     Underlying Plaintiff(s)
      Non-Debtor Defendants(s)       (last, first)             Case Caption                               Case Number      Court or Agency
      Club a/k/a Lions Club of                                 Inc.; Richmond Hill South Lions Club                        York, New York
      Richmond Hill South                                      a/k/a Lions Club of Richmond Hill                           County
                                                               South; and Does 1-5 whose identities are
                                                               unknown to Plaintiff
556   Iroquois Trail Council, Inc.   [Redacted]                [Redacted] v. Iroquois Trail Council,      E172679/2020     Supreme Court of
                                                               Inc., Boy Scouts of America                                 the State of New
                                                                                                                           York, Niagara
                                                                                                                           County
557   Greater Niagara Frontier       LG 80 Doe                 LG 80 Doe v. Greater Niagara Frontier      808458/2020      Supreme Court of
      Council, Inc.                                            Council, Inc., Boy Scouts of America                        the State of New
                                                                                                                           York, Erie County
558   Greater Niagara Frontier       LG 95 Doe                 LG 95 Doe v. Greater Niagara Frontier      808459/2020      Supreme Court of
      Council, Inc.                                            Council, Inc., Boy Scouts of America                        the State of New
                                                                                                                           York, Erie County
559   Baden Powell Council, Inc.     [Redacted]                [Redacted] v. Baden Powell Council,        EFCA2020001528   Supreme Court of
      a/k/a Susquenango Council                                Inc., Boy Scouts of America a/k/a                           the State of New
                                                               Susquenango Council                                         York, Broome
                                                                                                                           County
560   Greater New York Councils      [Redacted]                [Redacted] v. Greater New York             950515/2020      Supreme Court of
      a/k/a Manhattan Borough                                  Councils, Boy Scouts of America a/k/a                       the State of New
      Council, Greater New York                                Manhattan Borough Council, Greater                          York, New York
      Councils, Boy Scouts of                                  New York Councils, Boy Scouts of                            County
      America                                                  America
561   Greater New York Councils      [Redacted]                [Redacted] v. Greater New York             950514/2020      Supreme Court of
      a/k/a Queens Borough                                     Councils, Boy Scouts of America a/k/a                       the State of New
      Council, Greater New York                                Queens Borough Council, Greater New                         York, New York
      Councils, Boy Scouts of                                  York Councils, Boy Scouts of America                        County
      America
562   Longhouse Council, Inc.;       [Redacted]                [Redacted] v. Longhouse Council, Inc.,     004786/2020      Supreme Court of
      Onondaga Council, Inc.;                                  Boy Scouts of America; Onondaga                             the State of New
      Lincoln Middle School;                                   Council, Inc., Boy Scouts of America;                       York, Onondaga
      Syracuse City School                                     Lincoln Middle School; and Syracuse                         County
      District                                                 City School District
                                      Case 20-50527-LSS         Doc 107-1      Filed 10/22/20      Page 132 of 165




                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                               Case Number   Court or Agency
563   Twin Rivers Council, Inc.,;   [Redacted]                [Redacted] v. Twin Rivers Council, Inc.,   905042-20     Supreme Court of
      Adirondack Council, Inc.;                               Boy Scouts of America; Adirondack                        the State of New
      Plattsburgh United                                      Council, Inc., Boy Scouts of America;                    York, Albany
      Methodist Church                                        and Plattsburgh United Methodist                         County
                                                              Church
564   Greater New York              [Redacted]                [Redacted] v. Greater New York             950531/2020   Supreme Court of
      Councils; Queens Council;                               Councils, Boy Scouts of America;                         the State of New
      Lutheran Church of the                                  Queens Council Boy Scouts of America,                    York, New York
      Redeemer                                                Inc.; and Lutheran Church of the                         County
                                                              Redeemer
565   Greater New York              [Redacted]                [Redacted] v. Greater New York             950512/2020   Supreme Court of
      Councils; The City of New                               Councils, Boy Scouts of America, The                     the State of New
      York; The City of New                                   City of New York, and The New York                       York, New York
      York Department of                                      City Department of Education                             County
      Education
566   Greater New York Councils     MGD-3 Doe                 MGD-3 Doe v. Greater New York              950457/2020   Supreme Court of
                                                              Councils, Boy Scouts of America                          the State of New
                                                                                                                       York, New York
                                                                                                                       County
567   All Saints Roman Catholic     MGD-4 Doe                 MGD-4 Doe v. All Saints Roman              808260/2020   Supreme Court of
      Parish Church; Greater                                  Catholic Parish Church and Greater                       the State of New
      Niagara Frontier Council,                               Niagara Frontier Council, Inc., Boy                      York, Erie County
      Inc.                                                    Scouts of America
568   Central Synagogue; Greater    [Redacted]                [Redacted] v. Central Synagogue and        950505/2020   Supreme Court of
      New York Councils                                       Greater New York Councils, Boy Scouts                    the State of New
                                                              of America                                               York, New York
                                                                                                                       County
569   Greater New York              [Redacted]                [Redacted] v. Greater New York             950517/2020   Supreme Court of
      Councils; Brooklyn Council                              Councils, Boy Scouts of America;                         the State of New
                                                              Brooklyn Council, Boy Scouts of                          York, New York
                                                              America; and Does 1-5 whose identities                   County
                                                              are unknown to Plaintiff
570   Twin Rivers Council, Inc.     [Redacted]                [Redacted] v. Twin Rivers Council, Inc.,   905101-20     Supreme Court of
                                                              Boy Scouts of America                                    the State of New
                                     Case 20-50527-LSS         Doc 107-1      Filed 10/22/20      Page 133 of 165




                                   Underlying Plaintiff(s)
      Non-Debtor Defendants(s)     (last, first)             Case Caption                               Case Number   Court or Agency
                                                                                                                      York, Albany
                                                                                                                      County
571   Greater New York Councils    [Redacted]                [Redacted] v. Greater New York             950555/2020   Supreme Court of
                                                             Councils, Inc., Boy Scouts of America                    the State of New
                                                                                                                      York, New York
                                                                                                                      County
572   Twin Rivers Councils, Inc.   JA-065 Doe                JA-065 Doe v. Twin Rivers Council,         905027-20     Supreme Court of
                                                             Inc., Boy Scouts of America; and Does                    the State of New
                                                             1-5 whose identities are unknown to                      York, Albany
                                                             Plaintiff                                                County
573   Twin Rivers Councils, Inc.   JA-066 Doe                JA-066 Doe v. Twin Rivers Council,         905025-20     Supreme Court of
                                                             Inc., Boy Scouts of America; and Does                    the State of New
                                                             1-5 whose identities are unknown to                      York, Albany
                                                             Plaintiff                                                County
574   Greater New York             JA-076 Doe                JA-076 Doe v. Greater New York             950525/2020   Supreme Court of
      Councils; Brooklyn                                     Councils, Boy Scouts of America;                         the State of New
      Council; The City of New                               Brooklyn Council, Boy Scouts of                          York, New York
      York; New York City                                    America; The City of New York; New                       County
      Department of Education                                York Department of Education; and
                                                             Does 1-5 whose identities are unknown
                                                             to Plaintiff
575   Redeemer Lutheran            [Redacted]                [Redacted] v. Redeemer Lutheran            950551/2020   Supreme Court of
      Church; Greater New York                               Church, and Greater New York                             the State of New
      Councils                                               Councils, Boy Scouts of America                          York, New York
                                                                                                                      County
576   Greater New York              [Redacted]               [Redacted] v. Greater New York             514279/2020   Supreme Court of
      Councils, Inc.; St. Elizabeth                          Councils, Inc., Boy Scouts of America;                   the State of New
      Parish; Diocese of Brooklyn                            St. Elizabeth Parish; Diocese of                         York, Kings
                                                             Brooklyn                                                 County
577   Twin Rivers Councils, Inc.   [Redacted]                [Redacted] v. Twin Rivers Council, Inc.,   905001-20     Supreme Court of
                                                             Boy Scouts of America                                    the State of New
                                                                                                                      York, Albany
                                                                                                                      County
                                    Case 20-50527-LSS         Doc 107-1      Filed 10/22/20         Page 134 of 165




                                  Underlying Plaintiff(s)
      Non-Debtor Defendants(s)    (last, first)             Case Caption                                Case Number     Court or Agency
578   Roman Catholic Parish of    [Redacted]                [Redacted] v. Roman Catholic Parish of      950458/2020     Supreme Court of
      St. Brendan and St. Ann;                              St. Brendan and St. Ann, Roman                              the State of New
      Roman Catholic                                        Catholic Archdiocese of New York, and                       York, New York
      Archdiocese of New York;                              Greater New York Councils, Boy Scouts                       County
      Greater New York Councils                             of America
579   Seneca Waterways Council,   [Redacted]                [Redacted] v. Seneca Waterways              E2020005888     Supreme Court of
      Inc.                                                  Council, Inc., Boy Scouts of America                        the State of New
                                                                                                                        York, Monroe
                                                                                                                        County
580   Greater New York            JA-021 Doe                JA-021 Doe v. Greater New York              950503/2020     Supreme Court of
      Councils; Brooklyn                                    Councils, Boy Scouts of America;                            the State of New
      Council; St. John the                                 Brooklyn Council, Boy Scouts of                             York, New York
      Baptist Church                                        America; St. John the Baptist Church;                       County
                                                            and Does 1-5 whose identities are
                                                            unknown to Plaintiff
581   Westchester-Putnam          [Redacted]                [Redacted] v. Westchester-Putnam            58530/2020      Supreme Court of
      Council, Inc.                                         Council, Inc., Boy Scouts of America                        the State of New
                                                                                                                        York, Westchester
                                                                                                                        County
582   Suffolk County Council,     [Redacted]                [Redacted] v. Suffolk County Council,       610257/2020     Supreme Court of
      Inc.                                                  Inc., Boy Scouts of America                                 the State of New
                                                                                                                        York, Suffolk
                                                                                                                        County
583   Twin Rivers Council, Inc.   [Redacted]                [Redacted] v. Twin Rivers Council, Inc.,    905115-20       Supreme Court of
                                                            Boy Scouts of America                                       the State of New
                                                                                                                        York, Albany
                                                                                                                        County
584   Hudson Valley Council,      [Redacted]                [Redacted] v. Hudson Valley Council,        EF004229-2020   Supreme Court of
      Inc.                                                  Inc., Boy Scouts of America                                 the State of New
                                                                                                                        York, Orange
                                                                                                                        County
585   Greater Niagara Frontier    [Redacted]                [Redacted] v. Greater Niagara Frontier      808665/2020     Supreme Court of
      Council, Inc.; St. Agnes                              Council, Inc., Boy Scouts of America;                       the State of New
      Parish                                                and St. Agnes Parish                                        York, Erie County
                                    Case 20-50527-LSS         Doc 107-1      Filed 10/22/20        Page 135 of 165




                                  Underlying Plaintiff(s)
      Non-Debtor Defendants(s)    (last, first)             Case Caption                               Case Number   Court or Agency
586   Westchester-Putnam          [Redacted]                [Redacted] v. Westchester-Putnam           58529/2020    Supreme Court of
      Council, Inc.                                         Council, Inc., Boy Scouts of America                     the State of New
                                                                                                                     York, Westchester
                                                                                                                     County
587   Greater New York            [Redacted]                [Redacted] v. Greater New York             950556/2020   Supreme Court of
      Councils, Inc.                                        Councils, Boy Scouts of America                          the State of New
                                                                                                                     York, New York
                                                                                                                     County
588   Greater New York            [Redacted]                [Redacted] v. Greater New York             950557/2020   Supreme Court of
      Councils, Inc.                                        Councils, Boy Scouts of America                          the State of New
                                                                                                                     York, New York
                                                                                                                     County
589   Suffolk County Council,     [Redacted]                [Redacted] v. Suffolk County Council,      610256/2020   Supreme Court of
      Inc.                                                  Inc., Boy Scouts of America                              the State of New
                                                                                                                     York, Suffolk
                                                                                                                     County
590   Theodore Roosevelt          [Redacted]                [Redacted] v. Theodore Roosevelt           900142/2020   Supreme Court of
      Council, Inc.                                         Council, Inc., Boy Scouts of America                     the State of New
                                                                                                                     York, Nassau
                                                                                                                     County
591   Longhouse Council, Inc.     John Doe                  John Doe v. Boy Scouts of America and      E2020-0655    Supreme Court of
                                                            Longhouse Council, Inc., BSA                             the State of New
                                                                                                                     York, Cayuga
                                                                                                                     County
592   Seneca Waterways Council,   [Redacted]                [Redacted] v. Seneca Waterways             E2020006023   Supreme Court of
      Inc.                                                  Council, Inc., Boy Scouts of America                     the State of New
                                                                                                                     York, Monroe
                                                                                                                     County
593   Greater New York            [Redacted]                [Redacted] v. Greater New York             950560/2020   Supreme Court of
      Councils, Inc.                                        Councils, Boy Scouts of America                          the State of New
                                                                                                                     York, New York
                                                                                                                     County
                                     Case 20-50527-LSS         Doc 107-1      Filed 10/22/20       Page 136 of 165




                                   Underlying Plaintiff(s)
      Non-Debtor Defendants(s)     (last, first)             Case Caption                               Case Number   Court or Agency
594   Five Rivers Council, Inc.;   [Redacted]                [Redacted] v. Five Rivers Council, Inc.;   47784         Supreme Court of
      Union University Church                                Union University Church; Edward W.                       the State of New
                                                             Derowitsch                                               York, Allegany
                                                                                                                      County
595   Greater New York             [Redacted]                [Redacted] v. Greater New York             950560/2020   Supreme Court of
      Councils, Inc.                                         Councils, Boy Scouts of America                          the State of New
                                                                                                                      York, New York
                                                                                                                      County
596   Greater New York             [Redacted]                [Redacted] v. Greater New York             950563/2020   Supreme Court of
      Councils, Inc.                                         Councils, Boy Scouts of America                          the State of New
                                                                                                                      York, New York
                                                                                                                      County
597   Greater New York             [Redacted]                [Redacted] v. Greater New York             950562/2020   Supreme Court of
      Councils, Inc.                                         Councils, Boy Scouts of America                          the State of New
                                                                                                                      York, New York
                                                                                                                      County
598   Hudson Valley Council,       JMRCPC Doe                JMRCPC Doe v. Boy Scouts of America        033595/2020   Supreme Court of
      Inc.                                                   and Hudson Valley Council, Inc., Boy                     the State of New
                                                             Scouts of America                                        York, Rockland
                                                                                                                      County
599   Golden Empire Council,       JMNYC1 Doe                JMNYC1 Doe v. Boy Scouts of                950582/2020   Supreme Court of
      Inc.; Mount Diablo                                     America, Golden Empire Council, Inc.,                    the State of New
      Silverado Council, Inc.; The                           Boy Scouts of America, Mount Diablo                      York, New York
      Church of Jesus Christ of                              Silverado Council, Inc., Boy Scouts of                   County
      Latter-Day Saints                                      America, The Church of Jesus Christ of
                                                             Latter-Day Saints, and William
                                                             Hassenbrock
600   Greater New York             JMBX1 Doe                 JMBX1 Doe v. Boy Scouts of America,        70107/2020E   Supreme Court of
      Councils; Ten Mile River                               Greater New York Councils, Boy Scouts                    the State of New
      Scout Camps; William                                   of America, Ten Mile River Scout                         York, Bronx
      Howard Taft High School;                               Camps, William Howard Taft High                          County
      Christ the King Church                                 School, Christ the King Church, and
                                                             Michael Grazino
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                                     Underlying Plaintiff(s)
      Non-Debtor Defendants(s)       (last, first)             Case Caption                               Case Number   Court or Agency
601   Twin Rivers Council;           John Doe                  John Doe v. Boy Scouts of America,         905302-20     Supreme Court of
      Woodworth Lake Scout                                     Twin Rivers Council of the Boy Scouts                    the State of New
      Reservation                                              of America, Woodworth Lake Scout                         York, Albany
                                                               Reservation and Garth Hahn                               County
602   Greater New York Council       John Doe                  John Doe v. Boy Scouts of America,         400066/2020   Supreme Court of
      of the Boy Scouts of                                     Greater New York Council of the Boy                      the State of New
      America; Boys & Girls                                    Scouts of America, and Boys & Girls                      York, Queens
      Club of Metro Queens f/k/a                               Club of Metro Queens f/k/a The South                     County
      The South Queens Boys                                    Queens Boys Club
      Club
603   Patriots Path Council, Inc.;   John Doe                  John Doe v. Boy Scouts of America,         E2020-1143    Supreme Court of
      Monmouth Council, Inc.;                                  Patriots Path Council, Inc., Boy Scouts                  the State of New
      Forestburg Scout                                         of America, Monmouth Council Inc.,                       York, Sullivan
      Reservation Summer Camp                                  Boy Scouts of America, Forestburg                        County
                                                               Scout Reservation Summer Camp and
                                                               Richard Lee
604   Greater New York Council       John Doe                  John Doe v. Boy Scouts of America,         950603/2020   Supreme Court of
      of the Boy Scouts of                                     Greater New York Council of the Boy                      the State of New
      America; St. James                                       Scouts of America, St. James                             York, New York
      Presbyterian Church;                                     Presbyterian Church, Presbytery of New                   County
      Presbytery of New York                                   York City
      City
605   Greater New York Council       John Doe                  John Doe v. Boy Scouts of America,         400065/2020   Supreme Court of
      of the Boy Scouts of                                     Greater New York Council of the Boy                      the State of New
      America                                                  Scouts of America, and Walter Ford                       York, Queens
                                                                                                                        County
606   Twin Rivers Council, Inc.      [Redacted]                [Redacted] v. Twin Rivers Council, Inc.,   905261-20     Supreme Court of
                                                               Boy Scouts of America                                    the State of New
                                                                                                                        York, Albany
                                                                                                                        County
607   Greater New York               [Redacted]                [Redacted] v. Greater New York             950610/2020   Supreme Court of
      Councils, Inc.                                           Councils, Inc., Boy Scouts of America                    the State of New
                                                                                                                        York, New York
                                                                                                                        County
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                                      Underlying Plaintiff(s)
      Non-Debtor Defendants(s)        (last, first)             Case Caption                                Case Number      Court or Agency
608   Baden Powell Council, Inc.      [Redacted]                [Redacted] v. Baden Powell Council,         EFCA2020001590   Supreme Court of
                                                                Inc., Boy Scouts of America                                  the State of New
                                                                                                                             York, Broome
                                                                                                                             County
609   Twin Rivers Council, Inc.;      [Redacted]                [Redacted] v. Boy Scouts of America,        905296-20        Supreme Court of
      Rotary Scout Reservation;                                 Twin Rivers Council, Inc. Boy Scouts of                      the State of New
      Congregational Christian                                  America, Rotary Scout Reservation,                           York, Albany
      Church                                                    Congregational Christian Church, and                         County
                                                                Michael Matson
610   Greater New York                PC-45-Doe                 PC-45-Doe v. Greater New York               950590/2020      Supreme Court of
      Councils; Ten Mile River                                  Councils, and Ten Mile River Scout                           the State of New
      Scout Camp                                                Camp                                                         York, New York
                                                                                                                             County
611   Suffolk County Council,         [Redacted]                [Redacted] v. Suffolk County Council,       610600/2020      Supreme Court of
      Inc.; St. Philip Neri Parish;                             Inc., Boy Scouts of America; St. Philip                      the State of New
      Diocese of Rockville Centre                               Neri Parish; Diocese of Rockville Centre                     York, Suffolk
                                                                                                                             County
612   Iroquois Trail Council, Inc.    [Redacted]                [Redacted] v. Boy Scouts of America         000456-2020      Supreme Court of
                                                                and Iroquois Trail Council, Inc., Boy                        the State of New
                                                                Scouts of America                                            York, Livingston
                                                                                                                             County
613   Greater New York                [Redacted]                [Redacted] v. Boy Scouts of America         950583/2020      Supreme Court of
      Councils, Inc.                                            and Greater New York Councils, Inc.,                         the State of New
                                                                Boy Scouts of America                                        York, New York
                                                                                                                             County
614   Greater New York                [Redacted]                [Redacted] v. Greater New York              950589/2020      Supreme Court of
      Councils, Inc.; Holy Trinity                              Councils, Inc., Boy Scouts of America;                       the State of New
      Episcopal Church; The                                     Holy Trinity Episcopal Church; The                           York, New York
      Episcopal Diocese of New                                  Episcopal Diocese of New York                                County
      York
615   Monmouth Council of the         [Redacted]                [Redacted] v. Boy Scouts of America,        E2020-1137       Supreme Court of
      Boy Scouts of America;                                    Monmouth Council of the Boy Scouts of                        the State of New
      Forestburg Scout                                          America, Forestburg Scout Reservation                        York, Sullivan
      Reservation                                                                                                            County
                                     Case 20-50527-LSS         Doc 107-1      Filed 10/22/20     Page 139 of 165




                                   Underlying Plaintiff(s)
      Non-Debtor Defendants(s)     (last, first)             Case Caption                              Case Number     Court or Agency
616   Longhouse Council, Inc.;     [Redacted]                [Redacted] v. Boy Scouts of America,      005037/2020     Supreme Court of
      Camp Woodland; First                                   Longhouse Council, Inc. Boy Scouts of                     the State of New
      United Church of East                                  America, Camp Woodland, and First                         York, Onondoga
      Syracuse                                               United Church of East Syracuse                            County
617   Greater Niagara Frontier     [Redacted]                [Redacted] v. Boy Scouts of America;      808973/2020     Supreme Court of
      Council                                                Greater Niagara Frontier Council of the                   the State of New
                                                             Boy Scouts of America                                     York, Erie County
618   Allegheny Highlands          [Redacted]                [Redacted] v. Boy Scouts of America,      EK12020000896   Supreme Court of
      Council, Inc.; Elk Lick                                Allegheny Highlands Council, Inc., Boy                    the State of New
      Scout Reserve                                          Scouts of America, Elk Lick Scout                         York, Chautauqua
                                                             Reserve, and Richard Roll                                 County
619   Greater Niagara Frontier     [Redacted]                [Redacted] v. Boy Scouts of America       809123/2020     Supreme Court of
      Council, Inc.                                          and Greater Niagara Frontier Council,                     the State of New
                                                             Inc., Boy Scouts of America                               York, Erie County
620   Twin River Council Boy       [Redacted]                [Redacted] v. Twin River Council, Boy     905390-20       Supreme Court of
      Scouts of America a/k/a                                Scouts of America a/l/a Governor                          the State of New
      Governor Clinton Council,                              Clinton Council, Saratoga Council,                        York, Albany
      Saratoga Council,                                      Schenectady County Council, Sir                           County
      Schenectady County                                     William Johnson Council, Mohican
      Council, Sir William                                   Council, and/or Adirondack Council
      Johnson Council, Mohican
      Council, and/or Adirondack
      Council
621   Greater New York             [Redacted]                [Redacted] v. Greater New York            950622/2020     Supreme Court of
      Councils, a/k/a Bronx                                  Councils, Boy Scouts of America a/k/a                     the State of New
      Borough Council, Greater                               Bronx Borough Council, Greater New                        York, New York
      New York Councils, Boy                                 York Councils, Boy Scouts of America                      County
      Scouts of America
622   Suffolk County Council,      [Redacted]                [Redacted] v. Suffolk County Council,     611541/2020     Supreme Court of
      Inc.                                                   Inc., Boy Scouts of America                               the State of New
                                                                                                                       York, Suffolk
                                                                                                                       County
623   Greater New York             [Redacted]                [Redacted] v. Greater New York            950628/2020     Supreme Court of
      Councils, Inc.                                         Councils, Inc., Boy Scouts of America                     the State of New
                                       Case 20-50527-LSS         Doc 107-1      Filed 10/22/20        Page 140 of 165




                                     Underlying Plaintiff(s)
      Non-Debtor Defendants(s)       (last, first)             Case Caption                               Case Number         Court or Agency
                                                                                                                              York, New York
                                                                                                                              County
624   Greater New York               [Redacted]                [Redacted] v. Greater New York             950627/2020         Supreme Court of
      Councils, Inc.                                           Councils, Inc., Boy Scouts of America                          the State of New
                                                                                                                              York, New York
                                                                                                                              County
625   Seneca Waterways               [Redacted]                [Redacted] v. Seneca Waterways             E2020006469         Supreme Court of
      Councils, Inc.                                           Council, Inc., Boy Scouts of America                           the State of New
                                                                                                                              York, Monroe
                                                                                                                              County
626   Greater Niagara Frontier       [Redacted]                [Redacted] v. Greater Niagara Frontier     809396/2020         Supreme Court of
      Council, Inc.                                            Council, Inc., Boy Scouts of America                           the State of New
                                                                                                                              York, Erie County
627   Westark Area Council, Inc.     [Redacted]                [Redacted] v. Westark Area Council,        2:20-cv-02157-PKH   United States
                                                               Inc., Boy Scouts of America                                    District Court
                                                                                                                              Western District of
                                                                                                                              Arkansas, Fort
                                                                                                                              Smith Division
628   Hudson Valley Council,         [Redacted]                [Redacted] v. Hudson Valley Council,       EF004279-2020       Supreme Court of
      Inc.                                                     Inc., Boy Scouts of America                                    the State of New
                                                                                                                              York, Orange
                                                                                                                              County
629   Greater Niagara Frontier       [Redacted]                [Redacted] v. Greater Niagara Frontier     809308/2020         Supreme Court of
      Council, Inc.; Our Lady of                               Council, Inc., Boy Scouts of America;                          the State of New
      Czestochowa Parish                                       and Our Lady of Czestochowa Parish                             York, Erie County
630   Rotterdam Boys & Girls         [Redacted]                [Redacted] v. Rotterdam Boys & Girls       202021906           Supreme Court of
      Club; Boys and Girls Clubs                               Club; Boys and Girls Clubs of                                  the State of New
      of Schenectady, Inc.; and                                Schenectady, Inc.; and Boys & Girls                            York, Schenectady
      Boys & Girls Clubs of                                    Clubs of America, Inc.                                         County
      America, Inc.
631   Town of Russell; Russell       [Redacted]                [Redacted] v. Town of Russell; Russell     EFCV-20-158112      Supreme Court of
      Town Hall; Knox Memorial                                 Town Hall; Knox Memorial Central                               the State of New
      Central School District; and                             School District; and Edwards-Knox                              York, St.
                                                               Central School District                                        Lawrence County
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                                        Underlying Plaintiff(s)
       Non-Debtor Defendants(s)         (last, first)              Case Caption                               Case Number       Court or Agency
       Edwards-Knox Central
       School District
632    People’s Institutional           [Redacted]                 [Redacted] v. People’s Institutional       512949/2020       Supreme Court of
       A.M.E. Church                                               A.M.E. Church                                                the State of New
                                                                                                                                York, Kings
                                                                                                                                County
633    Northern New Jersey              [Redacted]                 [Redacted] v. Northern New Jersey          ESX-L-005894-20   Superior Court of
       Council f/k/a Bayonne                                       Council, Boy Scouts of America, Inc.                         New Jersey Civil
       Council                                                     f/k/a Bayonne Council                                        Division, Essex
                                                                                                                                County
6343   Westchester-Putnam               OCVAWCM-Doe                OCVAWCM-Doe v. City of Rye, Rye            52333/2020        Supreme Court of
       Council; City of Rye; Rye                                   Fire Department and Rye Department of                        the State of New
       Fire Department; Rye                                        Public Works v. Boy Scouts of America                        York, Westchester
       Department of Public                                        and Westchester-Putnam Council, Inc.,                        County
       Works                                                       Boy Scouts of America
635    Longhouse Council, Inc.          [Redacted]                 [Redacted] v. Longhouse Council, Inc.,     005867/2020       Supreme Court of
                                                                   Boy Scouts of America a/k/a Seaway                           the State of New
                                                                   Valley Council #403 a/k/a Hiawatha                           York, Onondaga
                                                                   Council a/k/a Hiawatha Seaway Council                        County
636    Greater Niagara Frontier         John Doe                   John Doe v. Boy Scouts of America and      810324/2020       Supreme Court of
       Council of the Boy Scouts                                   Greater Niagara Frontier Council of the                      the State of New
       of America                                                  Boy Scouts of America                                        York, Erie County
637    Longhouse Council, Inc.;         [Redacted]                 [Redacted] v. Boy Scouts of America,       005001/2020       Supreme Court of
       Church of the Most Holy                                     Longhouse Council, Inc., Boy Scouts of                       the State of New
       Rosary                                                      America, and Church of the Most Holy                         York, Onondaga
                                                                   Rosary                                                       County
638    Allegheny Highlands              [Redacted]                 [Redacted] v. Allegheny Highlands          47844/2020        Supreme Court of
       Council, Inc.                                               Council, Inc., Boy Scouts of America                         the State of New
                                                                                                                                York, Allegany
                                                                                                                                County
639    Greater New York Councils        [Redacted]                 [Redacted] v. Greater New York             950675/2020       Supreme Court of
                                                                   Councils, Boy Scouts of America a/k/a                        the State of New

        3
            Further Abuse Action 634 is a third party complaint.
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                                      Underlying Plaintiff(s)
      Non-Debtor Defendants(s)        (last, first)             Case Caption                               Case Number     Court or Agency
                                                                Brooklyn Borough Council, Greater                          York, New York
                                                                New York Councils, Boy Scouts of                           County
                                                                America
640   Longhouse Council, Inc.         [Redacted]                [Redacted] v. Longhouse Council, Inc.,     006158/2020     Supreme Court of
                                                                Boy Scouts of America a/k/a Seaway                         the State of New
                                                                Valley Council #403 a/k/a Hiawatha                         York, Onondaga
                                                                Council a/k/a Hiawatha Seaway Council                      County
641   Westchester-Putnam              [Redacted]                [Redacted] v. Westchester-Putnam           61171/2020      Supreme Court of
      Council, Inc.                                             Council, Inc., Boy Scouts of America                       the State of New
                                                                a/k/a Westchester County Council,                          York, Westchester
                                                                Siwanoy Council, Mount Vernon                              County
                                                                Council, Hendrick Hudson Council,
                                                                Bronx Valley Council, James Fenimore
                                                                Cooper Council, Siwanoy-Bronx Valley
                                                                Council, Hutchinson River Council,
                                                                Washington Irving Council, and/or
                                                                Yonkers Council
642   Watchung Area Council;          [Redacted]                [Redacted] v. Watchung Area Council,       MID-L-6864-20   Superior Court of
      Patriots’ Path Council, Inc.;                             Patriots’ Path Council, Inc., Boy Scouts                   New Jersey Law
      Russell Hulsizer                                          of America, Russell Hulsizer, John Does                    Division,
                                                                1-10                                                       Middlesex County
643   Theodore Roosevelt              [Redacted]                [Redacted] v. Boy Scouts of America,       900176/2020     Supreme Court of
      Council, Inc.; Onteora                                    Theodore Roosevelt Council, Inc., Boy                      the State of New
      Scout Reservation                                         Scouts of America, and Onteora Scout                       York, Nassau
                                                                Reservation                                                County
644   Seneca Waterways Council,       [Redacted]                [Redacted] v. Otetiana Council, Inc.,      E2020007517     Supreme Court of
      Inc.                                                      Boy Scouts of America n/k/a Seneca                         the State of New
                                                                Waterways Council, Inc., Boy Scouts of                     York, Monroe
                                                                America                                                    County
645   Doe Defendant 1; Doe            John Doe                  John Doe v. Doe Defendant 1; Doe           20STCV35252     Superior Court of
      Defendant 2; Doe                                          Defendant 2; Doe Defendant 3; Doe                          the State of
      Defendant 3; Doe                                          Defendant 4; Doe Defendant 5; and                          California, County
      Defendant 4; Doe                                          Does 6 through 10, inclusive                               of Los Angeles,
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                                    Underlying Plaintiff(s)
      Non-Debtor Defendants(s)      (last, first)             Case Caption                               Case Number    Court or Agency
      Defendant 5; and Does 6                                                                                           Central Judicial
      through 10, inclusive                                                                                             District
646   Doe Defendant 1; Doe          [Redacted]                [Redacted] v. Doe Defendant 1; Doe         20STCV35201    Superior Court of
      Defendant 2; Doe                                        Defendant 2; Doe Defendant 3; Doe                         the State of
      Defendant 3; Doe                                        Defendant 4; and Does 5 through 10,                       California, County
      Defendant 4; and Does 5                                 inclusive                                                 of Los Angeles,
      through 10, inclusive                                                                                             Central Judicial
                                                                                                                        District
647   Doe Defendant 1; Doe          John Doe                  John Doe v. Doe Defendant 1; Doe           20STCV35213    Superior Court of
      Defendant 2; Doe                                        Defendant 2; Doe Defendant 3; and                         the State of
      Defendant 3; and Does 4                                 Does 4 through 10, inclusive                              California, County
      through 10, inclusive                                                                                             of Los Angeles,
                                                                                                                        Central Judicial
                                                                                                                        District
648   N/A                           [Redacted]                [Redacted] v. Boy Scouts of America        TBD            Court of Common
                                                                                                                        Pleas Philadelphia
                                                                                                                        County Civil Trial
                                                                                                                        Division
649   Garden State Council;         [Redacted]                [Redacted] v. Boy Scouts of America;       003274-20      Superior Court of
      Bethel Commandment                                      Garden State Council, Boy Scouts of                       New Jersey,
      Church of the Living God                                America; Bethel Commandment Church                        Camden County L
      of New Jersey, Inc.                                     of the Living God of New Jersey, Inc.;                    Division
                                                              Vincent Watkins; Clyde Watkins a/k/a
                                                              Kallad Watkins Cepada; John and Janes
                                                              Does (1-10); and ABC Entities (1-10)
650   Connecticut Rivers Council,   [Redacted]                [Redacted] v. Connecticut Rivers           TBD            Superior Court
      Inc.                                                    Council, Inc., Boy Scouts of America                      Judicial District of
                                                                                                                        New Haven at
                                                                                                                        New Haven
651   Defendant Doe 2, Council      [Redacted]; [Redacted];   [Redacted], an individual proceeding       20STCV-04299   Superior Court of
                                    [Redacted]                under a pseudonym; [Redacted], an                         the State of
                                                              individual proceeding under a                             California, for the
                                                              pseudonym; and [Redacted], an                             County of Los
                                                              individual proceeding under a                             Angeles
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                                 Underlying Plaintiff(s)
      Non-Debtor Defendants(s)   (last, first)             Case Caption                           Case Number     Court or Agency
                                                           pseudonym v. Defendant Doe 1,
                                                           Scouting Organization; Defendant Doe
                                                           2, Council; and Does 3 through 100,
                                                           inclusive
652   Boston Minuteman Council   [Redacted]                [Redacted] v. Boston Minuteman         0481 CV 02059   Commonwealth of
                                                           Council, Inc.                                          Massachusetts
                                                                                                                  Trial Court
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                         Schedule 2

                     BSA Related Parties
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   I.      BSA Affiliated Organizations

Learning for Life

   II.     Active Local Councils

Katahdin Area Council                            Longhouse Council

Pine Tree Council                                Five Rivers Council

Cape Cod and Islands Council                     Iroquois Trail Council

Spirit of Adventure Council                      Greater Niagara Frontier Council

Heart of New England Council                     Seneca Waterways Council

Mayflower Council                                Leatherstocking Council

Daniel Webster Council                           Green Mountain Council

Narragansett Council                             Allegheny Highlands Council

Connecticut Rivers Council                       Juniata Valley Council

Greenwich Council                                Moraine Trails Council

Housatonic Council                               Columbia-Montour Council

Connective Yankee Council                        Bucktail Council

Western Massachusetts Council                    Westmoreland-Fayette Council

Hudson Valley Council                            Laurel Highlands Council

Theodore Roosevelt Council                       French Creek Council

Westchester-Putnam Council                       Susquehanna Council

Suffolk County Council                           Chief Cornplanter Council

Rip Van Winkle Council                           Northern New Jersey Council

Greater New York Council                         Jersey Shore Council

Twin Rivers Council                              Monmouth Council

Baden-Powell Council                             Patriot’s Path Council
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Northeastern Pennsylvania Council                 Pushmataha Area Council

Minsi Trail Council                               Gulf Coast Council

Cradle of Liberty Council                         Norwela Council

Puerto Rico Council                               Texas Trails Council

Garden State Council                              Golden Spread Council

Washington Crossing Council                       Circle Ten Council

Transatlantic Council                             Caddo Area Council

Del-Mar-Va Council                                East Texas Area Council

National Capital Area Council                     Northwest Texas Council

Baltimore Area Council                            Longhorn Council

Mason-Dixon Council                               South Plains Council

Pennsylvania Dutch Council                        Capitol Area Council

Hawk Mountain Council                             Buffalo Trail Council

Chester County Council                            Bay Area Council

New Birth of Freedom Council                      Sam Houston Area Council

Alabama-Florida Council                           South Texas Council

Mobile Area Council                               Three Rivers Council

Calcasieu Area Council                            Alamo Area Council

Istrouma Area Council                             Texas Southwest Council

Evangeline Area Council                           Rio Grande Council

Louisiana Purchase Council                        Central Florida Council

Southeast Louisiana Council                       South Florida Council

Choctaw Area Council                              Gulf Stream Council

Andrew Jackson Council                            North Florida Council

Pine Burr Area Council                            Southwest Florida Council
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Greater Tampa Bay Area Council                 East Carolina Council

Suwannee River Area Council                    Old Hickory Council

Georgia-Carolina Council                       Colonial Virginia Council

Daniel Boone Council                           Tidewater Council

Mecklenburg County Council                     Shenandoah Area Council

Central North Carolina Council                 Blue Ridge Mountains Council

Piedmont Council                               Heart of Virginia Council

Palmetto Council                               Stonewall Jackson Area Council

Coastal Carolina Council                       De Soto Area Council

Blue Ridge Council                             Westark Area Council

Pee Dee Area Council                           Quapaw Area Council

Indian Waters Council                          Arbuckle Area Council

Blue Grass Council                             Cherokee Area Council

Lincoln Heritage Council                       Cimarron Council

Cherokee Area Council                          Last Frontier Council

Great Smoky Mountain Council                   Indian Nations Council

Chickasaw Council                              Greater Alabama Council

West Tennessee Area Council                    Tukabatchee Area Council

Middle Tennessee Council                       Black Warrior Council

Sequoyah Council                               Chattahoochee Council

Yocona Area Council                            Atlanta Area Council

Old North State Council                        Flint River Council

Occoneechee Council                            Central Georgia Council

Tuscarora Council                              South Georgia Council

Cape Fear Council                              Coastal Georgia Council
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Northwest Georgia Council                   Winnebago Council

Northeast Georgia Council                   Northeast Iowa Council

Northern Star Council                       Greater St. Louis Area Council

Twin Valley Council                         Great Trail Council

Voyageurs Area Council                      Buckeye Council

Central Minnesota Council                   Lake Erie Council

Gamehaven Council                           Simon Kenton Council

Northern Lights Council                     Muskigum Valley Council

Gateway Area Council                        Mountaineer Area Council

Samoset Council                             Buckskin Council

Bay-Lakes Council                           Ohio River Valley Council

Chippewa Valley Council                     Mid-Iowa Council

Black Hills Area Council                    Coronado Area Council

Sioux Council                               Santa Fe Trail Council

Michigan Crossroads Council                 Jayhawk Area Council

President Ford FSC Council                  Quivira Council

Water and Woods FSC Council                 Ozark Trails Council

Southern Shores FSC Council                 Heart of America Council

Great Lakes FSC Council                     Pony Express Council

Prairielands Council                        Overland Trails Council

Illowa Council                              Cornhusker Council

W.D. Boyce Council                          Mid-America Council

Mississippi Valley Council                  Great Rivers Council

Abraham Lincoln Council                     Hoosier Trails Council

Hawkeye Area Council                        Buffalo Trace Council
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Anthony Wayne Area Council                    Pacific Harbors Council

Crossroads of America Council                 Grand Columbia Council

Sagamore Council                              Midnight Sun Council

La Salle Council                              Oregon Trail Council

Dan Beard Council                             Pikes Peak Council

Tecumseh Council                              Denver Area Council

Miami Valley Council                          Longs Peak Council

Black Swamp Area Council                      Rocky Mountain Council

Erie Shores Council                           Grand Teton Council

Three Fires Council                           Snake River Council

Northeast Illinois Council                    Montana Council

Pathway to Adventure Council                  Trapper Trails Council

Glacier’s Edge Council                        Great Salt Lake Council

Three Harbors Council                         Utah National Parks Council

Potawatomi Area Council                       Greater Wyoming Council

Blackhawk Area Council                        Sequoia Council

Rainbow Council                               Pacific Skyline Council

Ore-Ida Council                               Marin Council

Crater Lake Council                           Redwood Empire Council

Cascade Pacific Council                       Piedmon Council

Blue Mountain Council                         Golden Empire Council

Mount Baker Council                           Silicon Valley Monterey Bay Council

Chief Seattle Council                         Greater Yosemite Council

Great Alaska Council                          Nevada Area Council

Inland Northwest Council                      Southern Sierra Council
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Long Beach Area Council

Greater Los Angeles Area Council

Orange County Council

California Inland Empire Council

Western Los Angeles County Council

Los Padres Council

Ventura County Council

Verdugo Hills Council

Grand Canyon Council

Catalina Council

San Diego-Imperial Council

Aloha Council

Las Vegas Area Council

Great Southwest Council

Conquistador Council

Yucca Council

Far East Council

Finger Lakes Council
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   III.    Defunct Local Councils

Alameda Council                                Schenectady County Council

San Francisco-Bay Area Council                 Otetiana Council

Mount Diablo Silverado Council                 Hiawatha Council

Land of the Oneidas Council                    Hiawatha Seaway Council

Fort Stanwix Council                           Fairfield County Council

Burlington County Council                      Chicago Area Council

Manhattan Council                              Essex County Council

Nassau County Council                          Mohican Council

Washington Irving Council                      Genesee Council

Brooklyn Council                               Hudson Delaware Council

Queens Council                                 Siwanoy Council

St. Lawrence Council                           Mount Vernon Council

Seaway Valley Council                          Hendrick Hudson Council

Olympic Area Council                           Bronx Valley Council

Bronx Council                                  James Fenimore Cooper Council

Steuben Area Council                           Siwanoy-Bronx Valley Council

Sullivan Trail Council                         Hutchinson River Council

Adirondack Council                             Yonkers Council

Jefferson-Lewis Council                        Brooklyn Borough Council

Governor Clinton Council                       Bayonne Council

Watchung Area Council                          Bronx Borough Council

Buffalo Area Council                           Saratoga Council

Dutchess County Council                        Sir William Johnson Council

Onondaga Council                               Manhattan Borough Council
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Susquenango Council

French Creed Council

Boston Minuteman Council
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   IV.     Named Chartered Organizations

Archdiocese of New York                             Mohawk District of the Northern New York

Audubon Baptist Church                              Annual Conference of the Methodist

Big Cross Elementary School                         Episcopal Church of New York

Capuchin Franciscans                                Our Lady of Lourdes Catholic School

Capuchin Franciscans Custody of Star of the         Our Savior Lutheran Church
Sea
                                                    Reformation Lutheran Church
Capuchin Franciscans Province of St. Mary
                                                    Regis High School
Carmel of the Immaculate Concepcion
                                                    Roman Catholic Archdiocese of New York,
Church of the Holy Innocents                        Archdiocese of New York

City of Bloomingdale, Georgia                       Roman Catholic Parish of St. Frances
                                                    Xavier Cabrini, Rochester NY (formerly
Corporation of the President of the Church          "Church of the Annunciation of Rochester,
of Jesus Christ of Latter-Day Saints                New York"), a religious corporation

Diocese of Brooklyn                                 Saint John the Baptist Church

Diocese of Buffalo                                  School Sisters of Notre Dame Central
                                                    Pacific Province, Inc.
Discalced Carmelite Nuns (O.C.D.) a.k.a.
Order of Discalced Carmelites                       School Sisters of Notre Dame, Region of
                                                    Guam
First Baptist Church of Danville d/b/a Boy
Scout Troop 354
                                                    Silver Springs Shores Presbyterian Church,
                                                    Inc.
First Baptist Church of Gainesville
                                                    St. Ambrose Church
Glens Falls City School District
                                                    St. Benedict Joseph Labre Church
Greek Orthodox Archdiocese of America
                                                    St. Benedict Joseph Labre School
Holy Family Church

House of Hope Presbyterian Church
                                                    St. Catherine's Roman Catholic Church
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St. Catherine's Roman Catholic Church
School                                            Weedsport Central School District Board of
                                                  Education
St. Demetrios Greek Orthodox Church
                                                  Faith Lutheran Church
St. Francis of Assisi Roman Catholic
Church                                            New Hope Lutheran Church

St. Francis Xavier Church                         Montana Synod of the Evangelical Lutheran
                                                  Church in America Inc.
St. Helena Parish
                                                  Moose Lodge Libby
St. Nicholas of Tolentine
                                                  Moose International
St. Paul’s R.C. Church
                                                  St. Michael’s Church
St. Pius V
                                                  Sarah Jane United Methodist Church
St. Pius X Catholic Church of Rochester,
Minnesota                                         Church of the Holy Trinity

St. Teresa Parish a/k/a Church of St. Teresa      St. Stanislaus Kostka Catholic Church
of the Infant Jesus
                                                  Alliance Church
The Diocese of Rochester (a/k/a "Roman            Catholic Church of St. John the Baptist and
Catholic Diocese of Rochester"), a religious      Transfiguration of Our Lord Parish
corporation
                                                  Bethel Commandment Church of the Living
The Foundation of the Roman Catholic              God of New Jersey, Inc.
Diocese of Buffalo N.Y., Inc.
                                                  Mount Laurel Fire Department
The Pingry School
                                                  Our Lady of Guadalupe at St. Bernard
The Roman Catholic Diocese of Syracuse
                                                  Fork Lane School
The School Sisters of Notre Dame,
Milwaukee Province, Inc.                          Dutch Lane School

                                                  Lee Avenue Elementary School
Town Of Deerfield
                                                  Hicksville Union Free School District
University Heights Presbyterian Church
                                                  Archer Street School
USA Northeast Province of the Society of
Jesus                                             Freeport Union Free School District

Weedsport Central School District                 Our Holy Redeemer School
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Diocese of Rockville Centre                       Rescue Volunteer Hose Company No. 1 of
                                                  Cheektowga, N.Y.
St. Patrick’s Catholic Academy
                                                  Steele Elementary School
St. Mary and St. Antonios Coptic Orthodox
Church                                            Baldwin Union Free School District

The Coptic Orthodox Diocese of New York           Trinity United Methodist Church
and New England
                                                  United Methodist Church, NewYork-
Smithtown Central School District                 Connecticut District

St. James Elementary School                       Greenburgh Junior High School

White Plains School District                      Greenburgh Central School District

George Washington Elementary School               School 23, Yonkers Public School

Town of Russell                                   Edward Smith School

Russell Town Hall                                 Syracuse City School District

Russell Methodist Church                          Higbie Lane School

Knox Memorial Central School                      Secatogue School

Edwards-Knox Central School District              West Islip School District

Bethal Grange No. 404                             St. Ann’s Episcopal Church

Holy Rosary Church                                West Hills United Methodist Church

Alexander Fire Department                         Holy Cross High School

Catholic Guardian Services A.K.A. Catholic        Bradt Primary School
Guardian Society
                                                  Mohonasen Central School District
Grange Hall
                                                  Orchard Park United Methodist Church
Our Lady of Lourdes
                                                  Upper New York Conference of the United
First Presbyterian Church of Watervliet,          Methodist Church
N.Y.
                                                  The New York Province of the Society of
Veterans of Foreign Wars #6763                    Jesus

Veterans of Foreign Wars of the United            U.S.A. Northeast Province of the Jesuit
States                                            Father and Brothers, a/k/a, U.S.A. Northeast
                                                  Province
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The USA Northeast Province of the Society           Our Mother of Good Counsel
of Jesus, Inc., d/b/a McQuaid Jesuit
Community                                           St. Barnabas Church

McQuaid Jesuit High School                          St. Martha Parish

Lawrence School                                     Park Presbyterian Church

St. Mary Roman Catholic Church                      St. Augustine’s Church

Redeemer Lutheran Church                            St. Monica Church

Seneca Elementary School                            Attica Lodge #462 F&AM

West Irondequoit School District                    St. Paul’s

Knights of Columbus, Father Baker Council           Assumption
#2243
                                                    First Baptist Church of Rochester
Big Cross Street Elementary SchoolGlen
Falls City Schools                                  Hitchcock Presbyterian Church

Town of York                                        Christ Evangelical Lutheran Church

York Town Hall                                      Dads Club of Troop 1, Flushing Inc.

Circleville Elementary School                       Incarnation Parish

Pine Bush Central School District                   St. Bernard’s Church

St. Paul’s Episcopal Church                         St. John the Evangelist

Knights of Columbus Council 462                     Saint Rocco Roman Catholic Church

The Children’s Village, Inc.                        St. Peter’s Lutheran Church

First Baptist Church of East Aurora                 Holy House of Prayer for all People

Kiwanis Club of Webster, New York, Inc.             First Presbyterian Church

Sacred Heart Church                                 St. Margaret’s Church

Sacred Heart of Jesus                               St. John the Baptist Church

Roman Catholic Diocese of Albany                    First United Church of East Syracuse

Mary Queen of Heaven Church                         Basilica of the Sacred Heart

American Medical Response, Inc.                     Christ Episcopal Church
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Emmanuel Episcopal Church                        St. Elizabeth Parish

New Hartford Presbyterian Church                 Roman Catholic Church of Brendan and St.
                                                 Ann
A Group of Citizens
                                                 St. Agnes Parish
St. James’ Episcopal Church
                                                 Union University Church
Sacred Heart Cathedral
                                                 The Church of Jesus Christ of Latter-Day
Lions Club of Chili, Inc.                        Saints

South Presbyterian Church                        Ten Mile Rivers Scout Camps

The Community Church of Pelhams                  William Howard Taft High School
St. Bartholomew’s Roman Catholic Church          Christ the King Church

Central Queens Young Men’s and Young             Woodworth Lake Scout Reservation
Women’s Hebrew Association, Inc.
                                                 Boys & Girls Club of Metro Queens
Blessed Virgin Mary, Help of Christians
                                                 Forestburg Scout Reservation Summer
Blessed Sacrament                                Camp

American Legion Post 1287                        St. James Presbyterian Church

St. Joseph’s Church                              Presbytery of New York City

Immaculate Heart of Mary                         Rotary Scout Reservation

Stone Presbyterian Church                        Congregational Christian Church

First United Methodist Church                    St. Philip Neri Parish
Knights of Columbus, Saratoga Council            Holy Trinity Episcopal Church
#246
                                                 The Episcopal Diocese of New York
Richmond Hill South Lions Club
                                                 Camp Woodland
Lincoln Middle School
                                                 Elk Lick Scout Reserve
Plattsburgh United Methodist Church
                                                 Our Lady of Czestochowa Parish
Lutheran Church of the Redeemer
                                                 Rotterdam Boys & Girls Club
All Saints Roman Catholic Parish Church
                                                 Boys and Girls Club of Schenectady, Inc.
Central Synagogue
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Boys & Girls Clubs of America, Inc.             Amsterdam School District

People’s Institutional A.M.E. Church            The Roman Catholic Archdiocese of
                                                Newark
Onteora Scout Reservation
                                                St. Catharine’s Roman Catholic Church
Church of the Most Holy Rosary

City of Rye

Rye Fire Department

Rye Department of Public Works

South Wilton Methodist

New Utrecht Reformed Church

St. Sylvester Roman Catholic Church

St. Amelia Catholic Church

Our Lady of the Snows Church

St. Mary’s Church

Our Lady of Refuge Church

The Lakewood Memorial Post No. 1286,
Inc.

YMCA of Greater New York

River’s Edge United Methodist Church f/k/a
Portville Methodist Church

Bowling Green Elementary School

East Meadow School District

Exley United Methodist Church

Bethesda Memorial Baptist Church, Inc.

Grace Lutheran Church

Louis Blum Jewish War Veterans Post

McNulty Elementary School
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                          Exhibit 1

                       October 6 Letter
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                       Ad Hoc Committee of Local Councils


                                                                      October 6, 2020

Dear Local Councils of the Boy Scouts of America:

             My name is Ricky Mason, and I am writing you on behalf of the Ad Hoc
Committee of Local Councils, of which I am honored to be the volunteer Chair.

               In January, I sent a letter to all Local Councils asking that you voluntarily provide
information regarding your council’s properties and restricted assets. The response was
impressive — about 90% of Local Councils provided asset information. Those efforts have been
absolutely essential to the progress that we have made in the National BSA’s bankruptcy to date.

               I am writing today to ask your council for additional assistance. In particular, we
are seeking information about Local Council insurance and additional information about
properties and restricted assets.

Insurance information

               The National BSA’s advisors have recently discovered that Local Councils may
have more insurance than previously believed. This is excellent news. The Ad Hoc Committee
firmly believes that insurance should be the primary source of recovery for tort claimants.

                 All Local Councils became co-insureds on the BSA policies beginning in 1978
but, prior to that, Local Councils may have purchased insurance individually. To the extent your
council can find evidence of that insurance, it can provide a source of recovery for tort claimants
without weighing on your council’s finances. To be clear, if a policy is in your council’s name,
it is an asset of your council and your rights to that insurance cannot be contributed to a National
BSA trust without your consent. Finding this information directly benefits your council.

                 To help, one of the National BSA’s insurance advisors — KCIC — has put
together a list of tips for finding policies and other evidence of insurance. Please review that list
— attached as Exhibit A to this letter — and look for any relevant information. Even if you
can’t find the policy itself, it may be possible to establish coverage with other evidence.

               If you find insurance policies or other evidence of coverage, you can email them
to KCIC using the address below and the National BSA’s advisors will help analyze the
information for your council:

                                       BSA@KCIC.com
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Asset information

                  If we are going to reach a global settlement of abuse claims against the National
BSA that includes protection for Local Councils, both the National BSA’s financial advisors and
the Tort Claimants’ Committee need an even more complete picture of Local Council assets. It
is critical that donor restrictions on assets be supported (particularly for high-value assets for
which the Tort Claimants Committee will want to confirm) and that any limitations on the use of
assets (e.g., conservation easements on real property) are identified as well. All of this
information is needed to ensure that parties have realistic settlement expectations.

               While many Local Councils responded to our January request with both an asset
information chart and supporting documentation, the information remains incomplete for certain
Local Councils. And, in reviewing the information provided, the National BSA’s advisors have
identified gaps even for some Local Councils that provided both an information chart and
supporting documentation.

                 To address these gaps, the National BSA’s financial advisors have created a
fillable chart for your council focused on real properties and restricted assets. To the extent your
council already provided information in response to our previous request, that information
should already be reflected in this chart — we want to avoid duplicating work. We are asking
each Local Council to review this chart, confirm that there have been no changes, and complete
the missing fields. If you have other real properties or restricted assets that are not already
reflected on the chart, there is a place to add those as well.

              Under section 3 of the Protective Order in the National BSA’s bankruptcy case,
any information that you provide can only be used in connection with the bankruptcy case — it
cannot be used for any other purpose.

               You will receive a separate email soon containing your council’s fillable asset
information chart and instructions. Please fill out that chart and send it back in Excel
spreadsheet (.xls or .xlsx) form — not as a PDF — to:

                                   SE.Legal@Scouting.org

                When you submit your chart, you should also provide supporting documentation.
For real properties, this may include the deed and any evidence of limitations on the property’s
use. For restricted assets other than real property, this could include documents such as
donation/gift agreements or trust agreements. It is particularly important that your council
provide evidence of the restrictions on assets with a value of $250,000 or greater. If you
previously submitted documentation along with your response to our January asset information
request, you do not need to resubmit those documents.



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               Time is short. If we are going to negotiate a global resolution of these claims, we
need to do so quickly, given the National BSA’s liquidity constraints and the continued strain that
the overhang of the bankruptcy imposes on Local Council finances. Please provide the information
requested by November 6, 2020.

                To be clear: providing this information in no way obligates your Local Council to
contribute to or participate in a global resolution on the abuse claims. If we are able to reach a
global deal with the tort plaintiffs — and I hope that we will — your council will have to consider
that deal and, consistent with your fiduciary duties to your council’s mission, decide whether or
not to participate. But if we do not receive the information requested above from Local Councils,
it will be very difficult, if not impossible, to reach such a resolution.

                Finally, I know that Local Council resources are under a tremendous amount of
pressure right now between COVID-related activity restrictions and resulting financial and staffing
limits. Responding to these requests adds further burden and diverts resources that would
otherwise be used to further your council’s mission; the same is true of my council as well. I
would not be making this request if I did not think collecting the information requested was
essential to successfully and finally resolving these liabilities with respect to both the National
BSA and all Local Councils. If we are to continue the mission of Scouting, we need to do our very
best to put these liabilities and this case behind us.

               Thank you in advance for your help in this effort. And thank you for all that you
do for the youth we all serve.

                                                     Yours in Scouting,




                                                     Richard G. Mason
                                                     Chair
                                                     Ad Hoc Committee of Local Councils




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                            Exhibit 2

                    Certificate of Compliance
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                                            Certificate of Compliance1

        __________________ (“Local Council”)2 hereby certifies that it has (a) used its best
efforts to conduct a reasonable search for evidence of potentially applicable insurance coverage
as requested in the October 6 Letter, (b) completed the Local Council Asset Chart referenced in
the October 6 Letter, and (c) caused all documents and information identified or prepared in
response to such inquiries to be produced and made available to the BSA and the Committees.

      Nothing in this certificate of compliance shall be deemed to be a consent by Local
Council to the jurisdiction of any court, including the U.S. Bankruptcy Court for the District of
Delaware or U.S. District Court for the District of Delaware.


Dated: __________, 2020
                                                           Signature


                                                           Printed Name


                                                           Title


                                                           Email




1
  All capitalized terms used but not otherwise defined in this certificate of compliance shall have the meanings
ascribed to such terms in the Third Stipulation extending the Termination Date of the preliminary injunction, as
entered by the Bankruptcy Court in the chapter 11 case of the Boy Scouts of America.
2
  As used in this certificate of compliance, “Local Council” shall also include any entity in which Local Council has
a legal interest or right to exercise control. This includes subsidiaries or affiliates to the extent Local Council has the
right to exercise control over the affairs of the entity, including, but not limited to, the right to appoint board
members, the legal right to royalties, income or other funds.
